Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 1 of 148



                                                                           l

   1    THE UNITED STATES SECURITIES AND EXCHANGE COMMISSION

   2

   3    In the Matter of:              )

   4                                   ) File No . FL-04347-A

   5    LOCATION VENTURES, LLC         )
   6

   7    WITNESS : Rishi Kapoor

   8    PAGES :    l Through 129

   9    PLACE :    Securities and Exchange Commission

  10               Miami Regional Office

  11               80l Brickell Ave ., Suite 1950

  12               Miami , FL 33131

  13    DATE :     Tuesday , August 22 , 2023

  14

  15

  16         The above entitled matter came on for hearing ,

  17    pursuant to notice , at 9 :54 a .m .

  18

  l9

  20

  21

  22

  23

  24                Diversified Reporting Services, Inc .       EXHIBIT
  25                             (2O2) 467-92O0                   Y


         (8/22/2023 9:54 AMq Kapoor, Rishi - Vol. 1.20230822.460473-M ...
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 2 of 148




        APPEARANCES :



         On behalf of the Securities and Exchange Commission :

              JORDAN CORTEZ, ESQ., SENIOR COUNSEL

              JOHN HOUCHIN, ESQ., SENIOR COUNSEL

              ERIC BUSTO, ESQ., ASSISTANT REGIONAL DIRECTOR

              MARK DEE (VIA WEBEX), SENIOR ACCOUNTANT
              Securities and Exchange Commission

              Miam i Regional Office

              801 Brickell Ave ., Suite 1950

              Miam i, FL 33131

              (305)982-6300


         On behalf of the Witness:

              BRIAN     MILLER, ESQ .

              ROSS E. LINZER, ESQ .

              King & Spalding

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              Miami, FL 33131

  20          (305)462-6029
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  22



  24

  25
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 3 of 148




                                    C O N T E N T S



         WITNESS                                         EXAMINATION

         Rishi Kapoor                                               5



         EXHIBITS :        DESCRIPTION                     IDENTIFIED

                      Form 1662                                      6

                      Subpoena

                      Second Amended and Restated Operating         45

                      Agreement dated

                      (FL-4347 Kleyner LV LLC 0001101)

                      2022 Budget                                   67

                      Transaction Summary

                      (FL-4347 Kleyner LVLLC 0004657)
                      Amended and Restated Limited Liab ility       92

                      Company Agreement of 551 Bayshore Partners,

                      LLC dated 6.1 .22

                      FL-4347 Kleyner LVLLC 0000225)
                      Amended and Restated Operating Agreement    10O

                      of Urbin Coconut Grove Partners, LLC

                      dated 1.1.22 (LV0001080O)




  24
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 4 of 148




                                 C E E D I N G S

                   MR . CORTEZ : So we are on the record at

         9:54 a .m . Eastern Standard Time on August 22nd , 2023 .

         We are located in the office of the Miami Regional

         Office of the United States Securities and Exchange

         Commission in Miami, Florida . My name is Jordan

         Cortez.      senior counsel with the U .S . Securities

         and Exchange Commispion. With me is John Houchin,
         also senior' counsel . We have two people that are

         attending this testimony via WebEx .      your right,

        you can see the name Eric Busto . He is th8 assistant

         regional director . And with him is Mark Dee, who is

         a senior accountant . We are a11 members of the staff

         of the Enforcement'Division of the Miam i Regional

         Office of the SEC and are officers for      of the

         Commission for purposes of this proceeding . We will

         swear in the witness now .

                   Can you please raise your right hand?

        Whereupon ,

                               RISHI KAPOOR

         was called as a witness and , having been first duly

         sworn , was examined and testified as follows:

                                EXAMINATION

  24               BY MR . CORTEZ :

  25          Q    Please state your full name and spell your



                                Kapoor,
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 5 of 148



                                                                                   5

         name for the record .

                     Rishi Kumar Kapoor .

         name ; K-U-M -A -R , middle name; and K-A -P-O -O-R , last

   4     n ame .

               Q     And , ,Mr . Kapoor , are you represented by

         counsel today?

                     Yes, sir .

                     MR . CORTEZ: Would counsel please identify

         yourself and state your full name , your firm 's name,

         your firm 's address, and its telephone number?

                     MR . MILLER : Brian Miller and Ross Linzer

         from King and Spalding representing the witness . The

         address is 200 South Bisdayne Boulevard, and my phone

         number            462-6028.

                     MR . CORTEZ : Okay . And Mr . Miller, are you

         representing Mr . Kapoor in his personal capacity as

         counsel today?

                     MR . MILLER : We are .

                     MR . CORTEZ: Do you represent anyone else

  20               investigation?

                     MR . MILLER : We represent Location

  22     Ventures,

                     MR . CORTEZ : Okay . And this applies for

  24     both you and Mr . Linzer, correct?

  25                 MR . MILLER : That 's correct .



                                                            1 .2 0230822 .4 60473 -M ...
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 6 of 148




                  BY MR . CORTEZ:

                  Okay. Let me just provide a brief
        description of these proceedings. So this is an

        investigation by the United States Securities

        Exchange Commission in the matter of Location

        Ventures, LLC, file number FL-04347 , to determine

        whether there have been violations of certain

        provisions of the federal securities laws . However,

        the facts developed in this investigation might

        constitute violations of other federal or state ,

        civil or criminal laws .

                  Prior to opening of the record you were

        provided with a copy of the Formal Order of

        Investigation and Supplemental Order in this matter .

         These documents will be ayailable for your

        examination during the course of this testimony .

                       Kapoor, have you had an opportunity to

        review the Formal Order and Supplemental Order?



                  MR . CORTEZ: Okay . Could I see Exhibit 17

                             (SEC Exhibit No. 1 was marked

                             for identification .)

                  BY MR . CORTEZ :

             Q    Okay. I am handing you, on the record,

        what has been previously marked as Exhibit 1, wh ich



                                                        1 .2 0230822 .460473 -M ...
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 7 of 148




        is a copy of the Commission 's Supplemental

        Informatiop Form 1662. Prior to opening the record,

        you were provided with a copy of this -- of the

        Commission 's Supplemental Information Form 1662 .

                  Have you had the opportunity to read or

        review Exhibit 1?

             A    Yes.

             Q    And do you have any questions concerning

        the notice?

             A    No , sir .

                  Okay .

                  MR . CORTEZ: Do you mind marking this

        Exhibit l0?

                               (SEC Exhibit No. 10 was marked

                               for identification.)
                  BY MR . CORTEZ :

             Q    Mr. Kapoor,        handing you what has been

        marked as Exhibit       which is       the subpoena that

        was directed to you , Rishi Kapoor .

                   If you want to take a minute to review it .

                  This is what I had prev iously received?

             Q    Yes,

                  Okay . Got it.

             Q        this a copy of the subpoena that yourre

        appearing pursuant to here today?



                      9 :54 AM1 Kapoor,         - vol .
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 8 of 148



                                                                               8

                   Okay .

              Q    Yes?

                   Yeah . I 'm sorry . I didn 't hear the

        question . I îm sor'
                           ry .

              Q    M d so , to speak on some housekeeping

        procedural matters that I think will benefit you , as

        well as us and the court reporter, let me just
        explain some of the procedures that we lre going to be

        using here today .

                   So during your testimony , I and other

        offiéers of the Commission, John, Eric, and Mark, who

        are present here today, may ask a question or series

        of questions.     If you don 't understand a question ,

        please 1et me know that you do not understand it, and

         I and others will try and clarify the question and

        ask it another way .           go ahead and answer a

        question , we will assume that you understand the

        question being asked .

                      you see, the court reporter takes down

         everything we say , but she cannot record gestures,

        head nods , and , you know, other nonverbal responses.

  22      So we ask that you indicate your response

         affirmatively , verbally . Again , if you .do not hear

  24     question, please just ask and         repeat
                   As mentioned prior to going on the record,



                                                         1 .2023 0822 .4604 73-M ...
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 9 of 148




         only the staff can authorize the court reporter to go

         off the record . So if you want to take a break and

         go off the record for any reason, just tell me so I
         can let the court reporter know that we 're going off

         the record .

                       Also, any substantive conversations that we

         have off the record with you or y6ur counsel will be

         summarized when we go back on the record .

                           you understand?

                        I do .

                       Okay . You may tell me at any time during

         the course of your testimony if you would like to

         change or modify a previous answer . At the end of

         your testimony I will offer your counsel an

         opportunity to ask any clarifying questions, and you

         can add to your statements at that time, if you so

         desire . But,           addition , you can   me at any

         time         you 'd like to change or modify a previous

         an sW er .

  20                    During the course of your testimony today

         we 're going to ask you questions about things that

         happened or may have happened in the past .

         Obviously , time has gone by since those events and

  24     you are likely to have a better and more complete

  25     memory of some events than others .          answering a



                                      Kapoor,
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 10 of 148



                                                                          10

         question about these events, however , you should tell

         us about al1 of your memories or recollections that

         are responsive to the question, not just those that
                  )
    4    are specific or perfectly clear, those that you are a

         hundred percent sure .

                      Do you understand?

                      Yes.

              Q       So therefore, if you answer, ul don't

         recalll
               ï or 'I don 't remember'' or ''l forget,l' we will

         assume that you have no memory or recollection

         whatsoever that is responsive to the question asked ,

         not even fuzzy or less than crystal clear memories .

                      Do you understand?

                      I do .

                      It may be that rev iewing certain documents

         refreshes your recollection as '
                                        to the events you 're

         questioned about. Again , in such a case, we 're

         asking for your testimony on everything that 's

         responsive to the question, not just clear specific
         recollections .

                      Do you understand that?

   22

                      Okay . This next question is a standard one

   24    that we ask every witness.

                      Are you currently taking any medication or



                                  Kapoor,
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 11 of 148




         under the influence of any substance that would

         prevent you from testifying truthfully here today?

                     No .

              Q         there any reason why you cannot give

         full and complete testimony today?

              A      No .

                     Okay . And do you understand that you are

         under oath for the duration of this testimony

         session ?



              Q      Okay. Mr. Kapoor,      would like to ask you

         some general background questions .

                     Can you provide us your date of birth?

                                1984 .

                            where were you born?

                     Atlanta, Georgia .

              Q      And what is your current residential

         address?

                            Los Pinos Boulevard .

              Q      And how long have you lived in that -- at

         that address?

              A      Roughly , two years.

                     Okay . And do you OWn your Current

         residential address?

                     Yes, sir .
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 12 of 148



                                                                          12

                  Q      Are there any other residential properties

            that you own ?

                         No .

                  Q      Do you own any commercial or business

            properties?

                         A variety through my business .

                         And can you just tell us what those are
            through your business?

                         And when you say through your business, can
        '
            you specify what business or entity you 're referring

            to?

                         Location Ventures and Urbin .

                  Q      Location Ventures, LLC?



                  Q      And just so that the record is clear, we '
            may refer to Location Ventures, LLC just as Location
            Ventures .

                         Okay .

                  Q      And you referred to Urbin. Are you

            referring to Urbin , LLC?

                         Yes, sir .

                  Q      And similarly, we may just refer to Urbin,
            LLC as Urbin .

                         Okay .

                  Q      M d what commercial business properties do
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 13 of 148




         you own through either Location Ventures, LLC or

         Urbin?

                   MR. MILLER: I'm going to interject here.
         Obviously , this is early in the investigative

         process . Mr . Kapoor also recently hired other

         counsel to represent him individually, not

         copnection w ith the SEC investigation,      with

         respect to other matters. And we and his counsel

         have advised Mr . Kapoor that he should invoke his

         Fifth Amendment right not to answer questions given

             early stage of things and where we are here .

                   So I would adv ise you , with respect to any

         questions about Location Ventures , LLC , you should

         invoke your Fifth Amendment rights to decline

         answer these questions at this time .

                   THE WITNESS: Okay .

                   MR . CORTEZ: Okay . Does that, Mr . Miller,

         include questions that are not about Location

         Ventures and Urbin?

                       you adv ising your client to assert h is

         Fifth Amendment right with respect to questions

         outside the scope of Location Ventures and Urbin?

                   MR . MILLER :   think we have to take them

         question by question, if there were something that

         did not relate to those subjects.


                                         Rishi - Vol. 1 .20230822.460473-M ...
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 14 of 148



                                                                           14

                   MR . CORTEZ: Okay . Well, let me ask a

         couple of questions. And if Mr . Kapoor asserts his

         Fifth Amendment rights, then we 'll address it at that

         time .

                   BY MR . CORTEZ :

              Q    What is your home telephone number?

                     don 't have      I don lt have a home

         telephone number . Just a cell phone .

              Q    What is your cell phone number?

                   (404) 449-4931.
                   And other than numbers that may be

         associated with your businesses, Location Ventures or

         Urbin , do you utilize any other tèlephone numbers?

                   Not that I can think of .

                   And what is your email address?

                   The    it 's rkapoor@location .ventures .

              Q    Is that the only email address that you've

   18    used?

                   I had to open a personal account recently .

          So a Gmail account.

                   And what is that email address?

   22              Therishikapoor@gmail .com .

                   And, again, without getting into the

   24    substance of Location Ventures or Urbin , have you

         used your Location Ventures email address for



                                           Rishi - Vol. 1.20230822 .460473-M ...
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 15 of 148



                                                                          15

         business and personal matters in the past?

                          just trying to think it through. Yes.
          Yeah .

              Q       And this -- this recent Gmail email

         address, do you use that 50th for personal and

         business?

              A               mean, at this point,     just
         personal .

              Q       Okay . Do you have any social media

         accounts?

              A       Yes .

              Q       And what are those?

                      I have a Facebook and an Instagram .

              Q       Okay . Any others?

                                                             I can ït

         think of anything else .

              Q       Okay . Mr. Kapoor, what year did you

         graduate high school?

              A       What year was that?   2002 .

                      Okay . And did you go to high school in

         Florida?

                      In Georgia.

                      In Georgia.

                      And you attended gollege?

                      Yes, sir .
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 16 of 148



                                                                          16

                   And where did you attend college?

                   University of Miami .

                   What year did you graduate from the

         University of Miami?

              A    Undergrad , I graduated in 2006 , and law

         school in 2009 .

                   And what degrees did you obtain with your

         undergrad degree?

                   Finance and management . Those were my

         degrees there .

              Q    And you mentioned you went to law school at

         University of Miami?

                   Yes,

                   And I think you said you graduated in 2009?

              A    Correct .

              Q    While you were in law school, did you take

         any business law courses?

                   I can 't remember all my courses, but I 'm

         pretty sure, yes .

              Q    Did you ever take a course concerning

         eorporations or something akin to that?

   22         A    Yes.

                   Did you ever take a securities regulation

   24    course?

   25                  pretty              remember if it was a
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 17 of 148




         course that was a dedicated class for securities

         regulation,            it was just part of a     one of the
         business law classes.         don 't remember fully .

              Q       And you          graduated in 2009 from the

         University of Miami with a JD degree, correct?

                      Correct.

                      Okay . Subsequent to your graduation , did

         yOu ever sit for a state bar exam ?



              Q       In what state?

              A       Florida.

              Q       And are you licensed to practice 1aw in the

         State of Florida?

                      No .

                      Have you ever been licensed to practice 1aw

         in any state?

              A       No .

              Q       Do you hold any professional licenses?

              A       Professional licenses, no .        that I can

         think of .

                      Okay . After you graduated from 1aw school,

         can you please describe your employment, you know ,

         starting with your first          after law school until

         you started Location Ventures?

                        had started        took some time off after



                                AM4 Kapoor, Rishi - Vol . 1.20230822 .460473-M ...
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 18 of 148



                                                                          18

         law school and then started a marketing agency .

              Q    And if you could

              A    Yeah .

              Q       describe what    what that marketing

         agency 's business entailed at that time?

                   We worked for a variety of local businesses

         and discovery networks and their clients helping

         produce marketing and advertising content . And then ,

         started to work quite a bit with local real estate

         professionals and developers, and that became the

         main focus of our marketing agency .

              Q    Okay. What year did you start this

         marketing agency ,
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 19 of 148



                                                                             19

              Q      And do you still own that marketing

         company?

              A      No .   It îs inactive .

              Q      Okay. If you could just provide a little
         more detail as to what happened and why it became

         inactive?

              A      My mother passed away , and it was a life

         change -- changing event. And I ultimately just
         wanted to do something different with my life . And

            led me to wanting to pursue real estate

         development . She died very young , and it was very

         traumatic, and it was the reason for the change .

              Q      I 'm sorry to hear about your mom .

              A      I appreciate it .

                     When you said after she passed away you

         wanted to make a change, approximately what time

         frame are we talking about?

                            been eight ot nine years .

                     Okay . So 2013, 2014 time frame?

                     Sorry. I'm just trying to -- difficult
         event . Around 2015, 2016.

                     Okay . And you mentioned you wanted

         real estate development . And I think during the time

         that you owned your marketing company you said some

         of your clients were real estate developers?



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                               vlq                   Vol . 1.20230822 .460473-M ...
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 20 of 148



                                                                          20

                     Correct .

                Q    Was that the first time when you

         guess, through then your clients were sort

         involved in the real estate world hère in Florida?

                     Could you restate the question?

                Q    Sure. You mentioned that your marketing

         company had some real estate clients .

                     Were those real estate development clients?

                     Brokerages and developers, correct .

                Q    Okay. And was that the first time that you

         were       that you had experience   or gained

         experience in the real estate development world as

         having those businesses as your clients of your

         marketing company?

                     No .   had grown up with a family that did

         real estate investment to then worked for a developer

         while in college and law school.

                     Okay . And through -- you mentioned that

         you wanted to transition into real estate

         development . Fair to say you 've always had some

         interest in real estate?

                     Yes.

                     Based upon your fam ily experience and

   24    experience you had in college and 1aw school?

                     Yes/
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 21 of 148



                                                                          21

                 Q    So then,        could -- after you

         transitioned, is that when you started Location

         Ventures?

                     Yes .

              Q      Was there any prior iterations of Location

         Ventures or

                     Not that I can think of .

              Q      Okay. And we 'll get back. I want to ask

         some other sort of questions.

                     But just, if you could,            what year
         did you start Location Ventures?

                      I believe it was 2016 or 2017 .

              Q      Okay.          get back to that        second.

          And obv iously I understand that your client --

         sorry       your counsel has counseled you to assert

         your Fifth Amendment right, and we 'll address that at

                 time, but let me just ask you some other general
         background questions that don 't necessarily have

         do with Location Ventures or Urbin .

                     Other than a minor traffic v iolation , have

         you ever been convicted of a crim inal offense?

   22                No.

                     Have you ever been charged with a criminal

   24    offense?

                     No.



                                  Kapoor, Rishi - Vol. 1.20230822.460473-M ...
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 22 of 148



                                                                          22

              Q    Okay . Have you ever testified in a -- in a

         proceeding conducted by the staff of the Securities

         and Exchange Commission?

                   No .

              Q    Have you ever testified before any federal

         or state agency concerning any securities matters?

                   No .

              Q    Have

              A    No .

              Q    Have you ever testified in any state court

         proceeding?

                   Not that I can think of .

              Q    Okay . Have you ever been deposed in

         connection with any court proceeding?     Been part of a

         deposition ?

                   Not that I can think of .

              Q    Okay. And we are aware that you have been

         named as a defendant in certain lawsuits, but just sè
         the record is clear and so that all of us are clear,

         can you just        the lawsuits for which you've been
         named as a party or as a defendant?

                        can't.       just trying to think. We
         have the one with                 and           .

   24    That 's the             .

   25              You 're asking about me personally?
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 23 of 148




              Q     You personally. Yes.
                                                      1

                    Okay .    IIm sorry . Just taking a minute to

         th ink . Personally?

                    There was a lawsuit from a few             few

         investors in our Urbin Coconut Grove project that
         named me incorrectly personally .                think

         anything else .

              Q     So other than the lawsuit relating to the

         investors in the Coconut        the Urbin Coconut Grove

         Partners, LLC lawsuit , and the other lawsuit that

                       and his wife               have brought,

         those are the only two lawsuits that you can recall

         being named as a party or as a defendant?

                    A s a person .

                    Individually?

              A              Individually that 's what I can

         remember right now .

              Q     Okay . Mr. Kapoor, are you now or have you

         ever been an officer or director of any publicly held

         company?

                    No .

              Q     Are you now or have you ever been

         beneficial owner, directly or indirectly , of five

         percent or more of any class of equity securities of

         any publicly held companies?



                      9 :54 AM1 Kapoor, Rishi                1.20230822 .460473-M ...
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 24 of 148



                                                                          24

                     No . Not that I know of . Yeah .

                     Okay . Are you now or have you ever been a

         beneficial owner , directly or indirectly , of any

         privately held company, for example : A corporation ,

         a partnership , a limited liability company , or any

         other corporate form?

              A      Can you just repeat that first part of the
         question?

                             Are yOu nOW Or have you ever been a

         beneficial owner, directly or indirettly , of any

         privately held company?

                     Yes .

              Q      Okay. And are those companies -- include

         Location Ventures and Urbin , correct?



              Q      And the respective subsidiaries?

                     Yes .

              Q      And does it include your former marketing

         company?

                     Yes .

              Q      Besides those companies, are there any

         other companies for which you 've held or currently do

         hold a beneficial ownership interest?

                     I started a staffing company when I was in

         law school . That was an experiment called Pallas
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 25 of 148



                                                                          25

         Staffing Group. That was just a one-year trial of
         something while in school to earn money . I

         think of anything else .

                   Okay . And a similar question , are you now

         or have you ever been a manager or member of any

         privately held company?

              A    Yes .

                   And that includes Location Ventures and

         Urbin , correct?

                   Yes, sir .

                   And their respective subsidiaries?



              Q    Besides Urbin and Location Ventures and its

         respective subsidiaries, have you ever been a manager

         or member of any other privately held company ?

              A    The marketing companies, and then , the

         staffing agency that I talked about .

              Q    Okay .   know that there recently has been

         a change with respect to your role as manager of

         Location Ventures . So I'm going to ask this question

         looking backwards and not necessarily currently .

                   But if you could, provide just a
         all -- all sources of your income, at least at the

         time when you were the manager of Location Ventures

         and Urbin and the other companies?
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 26 of 148



                                                                          26

                    MR . MILLER :    I would advise you to invoke .

                    THE WITNESS: Upon the advice' of counsel , I

         decline to answer .

                    MR . BUSTO : Can we get on the record that

         the declaration not to answer was based on the Fifth

         Amendment?

                    MR . CORTEZ: As Eric asked, can you

         represent that the declination to answer is because

         he 's -- Mr . Kapoor is asserting his Fifth Amendment

         rights?

                    MR . MILLER : That 's correct .

                    BY MR . CORTEZ:

              Q     Okay. So Mr. Kapoor --

                    MR . BUSTO :    Can we get Mr . Kapoor to assert

         the right?

                    THE WITNESS :         sorry . Could you repeat

         that?

                    MR . BUSTO : For the record , can we get

         Mr . Kapoor to assert the right instead of counsel?

                    MR . MILLER : -He wants to Clarify that



         Amendment . So they want to hear you say that for the

         record .

                    THE WITNESS : Okay . I decline to answer

         because of the Fifth Amendment -- or my right to the



                                    Kapoor ,
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 27 of 148




         Fifth Amendment .

                   BY MR . CORTEZ :

              Q    Okay .             Kapoor,     authorized

    4    to compel you to give evidence or testimony as to

         which you assert your privilege against self-

         incrimination , and I have no intention of doing

         In addition , I do not have the authority to compel

         your testimony by granting you immunity from

         prosecution .

                   Any question that I ask hereafter will be

         with the understanding that if you wish to assert

         your privilege, you need merely state that you refuse

         to answer on the grounds that your answer might

         incriminate you . In other words, you 're not

         compelled to answer any further questions

         believe that a truthful answer to the question m ight

         show that you committed a crime and you wish to

         assert your privilege against self-incrimination .

                   Accordingly , if you answer any questions,

         you will be doing so voluntarily .

                   Do you understand this?



              Q    You should be aware that if you refuse

   24    answer a question based on your Fifth Amendment

         privilege, a judge or a jury may take an adverse
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 28 of 148



                                                                          28

         inference against you in a civ il action that the SEC

         may determine to bring against you . That means that

         the judge or jury would be permitted to infer that
         your answer to the questions m ight incriminate you .

                   Do you understand this?

                   I do.

                   MR . CORTEZ : Okay . Brian , going forward,

    8    just to make things more efficient, to the extent
         that Mr . Kapoor is asserting his Fifth Amendment

         right against self-incrimination to any questions

         that I or any other staff member may ask , can we

         agree to an abbreviation that       Kapoor can say,

         such as Hfive'
                      ' or ''fifth,n that woùld be

   14    representative of your advice to him and his ri
                                                       . ghts



   15    under this Fifth Amendment against self-

         incrimination?

                   MR . MILLER : Sure . I think when Mr . Kapoor

         says he declines to answer a question that will be

         based on the Fifth Amendment . If there 's some other

         privilege that may apply, welll interject.
                   BY MR . CORTEZ :

              Q    Okay . So going forward, if it's easier for

                   ask a question and you 're asserting your

   24    Fifth Amendment right against -- excuse me -- Fifth

         Amendment privilege against self-incrimination , you
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 29 of 148




         can just say,        decline to answer the question.''
                   Is that

              A    Okay .

                   MR . CORTEZ:     Is that       so the record 'is

         clear?

                   MR . MILLER :    Yes.

                   BY MR . CORTEZ :

              Q    All right . Mr . Kapoor, do you keep any

         records or documents in electronic format?

              A    I decline to answer .

                   Do you keep any records or documents in

         paper format?

                   Decline to answer .

              Q    Have you produced or are you in the process

         of producing al1 documents and communications

         responsive to the request in the June 28th , 2023

         subpoena that we issued to you in care of your

         counsel, which we just showed you, which is marked as
         Exhibit 1O?

                   Decline to answer .

              Q    Have you withheld or destroyed any

         documents or communications that are or would be

         responsible -- responsive, excuse me, to the request

         in the June 28th , 2023 subpoena that we issued to you

         in care of your counsel?



                       9:54        Kapoor,
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 30 of 148



                                                                           30

                   Decline to answer .

              Q    Mr . Kapoor,     I were to ask you any

         further questions about how and where you keep any

         records, including whether a11 documents and

         communications responsive to the request in the June

         28th , 2023 subpoena we issued to you have been

         produced , or whether you have withheld or destroyed

         any documents or communications responsive to that

         subpoena , would you continue to assert your Fifth

         Amendment rights?

              A        sorry. Can you repeat just the first
         part 'of the question?

                                            any further questions

         about how and where you keep any records, including

         whether all documents and communications responsive

         to the June 28th , 2023 subpoena have been produced or

         whether you have withheld or destroyed any documents

            communications responsive to that subpoena, would

         you continue to assert your Fifth Amendment rights?

                   I would .

              Q    Okay . So, Mr . Kapoor, I would like to now

         turn to ask you questions concerning Location

         Ventures and its business .

                   What is the purpose of Location Ventures or

         the business that it was set up to conduct?



                                  Kapoor,           Vol. 1.20230822.460473-M ...
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 31 of 148



                                                                          31

                   Decline to answer .

              Q    When did you start Location Ventures?

                   MR . MILLER : You Can answer that question .

                   THE WITNESS : I had previously -- I believe

           said 2016, 2017.

                   BY MR . CORTEZ:

                   And how did you -- how did you start
         Location Ventures?

              A    What do you mean by nHow did you start?l'

                  like I filqd online on Sunbiz or

                        me take a step back . Did you start

         Location Ventures with any other -- with any other

         partners or any other people in 2016?

                   MR . MILLER :       think I'd adv ise you

         invoke on those questions .

                    THE WITNESS : Decline to answer .

                    BY MR . CORTEZ :

              Q     Okay. How much money did you use to start

         Location Ventures?

                    Decline to answer .

              Q    What sources did you obtain the money to

         start Location Ventures?

              A     Decline to answer .

              Q         Kapoor, is it true that you            during

         the course of when you were the manager of Location



                      9 :54        Kapoor ,
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 32 of 148



                                                                          32

         Ventures that you maintained two bank accounts in

         which you kept approximately $10 million combined?
              A    Decline to answer .

                   And in those two bank accounts for which

         I 'm referring to , in which you kept approximately

         $1O million, where did you obtain that money?
              A    Decline to answer .

              Q    What is Patriots United, LLC?

                   Decline to answer .

                   And what is Patriot 's line of business?

                   Decline to answer .

                   Who are the owners of Patriots United , LLC ,

         b0th historically and currently?

                   Decline to answer .

              Q    Does Patriots United , LLC have any

         employees?

                   Decline to answer .

              Q    Did Patriots United, LLC make an initial

         capital contribution to Location Ventures?

                   Decline to answer .

              Q    How much was the initial cap ital

         conttibution that Patriots United , LLC made to

         Location Ventures?

                   Decline to answer .

              Q    What were the sources of money or funds



                                Kapoor ,
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 33 of 148



                                                                            33

         used by Patriots United to make that initial capital

         cash -- excuse me -- cash cap ital contribution to

         Location Ventures?

                   Decline to answer .

              Q    Did 'Patriots United, LLC make an

         approximately 13 million capital contribution to

         Location Ventures?

                   Decline to answer .

              Q    Okay . Did Patriots United , LLC make any

         noncash contributions, such as any other assets or

         any other equ ity contribution , to Location Ventures?

                   Decline to answer .

              Q    How was the capital contribution

         Patriots United, LLC entered into Location Ventures ï

         books and records?

                   Decline to answer .

              Q    And where did Patriots United obtain the

         money and/or assets to make the capital contribution
         to Location Ventures?

              A    Decline to answer .

              Q    What percentage of Location Ventures does

         Patriots United own?

              A    Decline to answer .

              Q        anyone else provide any capital

         money to yofz or others that assisted you in starting



                     9 :54 AMq Kapoor, Rishi             1.20230822 .460473-M ...
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 34 of 148



                                                                            34

         Location Ventures?

                   Decline to answer .

                       Kapoor, if I were to ask you any

         further questions concerning when and how you started

         Location Ventures, including the money or other

         assets you obtained to initially invest capital into

         Location Ventures, including from Patriots United ,

         LLC, and others who provided capital to start

         Location Ventures, would you continue to assert your

         Fifth Amendment rights?

                   Yes, sir .

              Q    Okay . Can you describe how Location

         Ventures company was structured at the time that you

         were the manager?

              A    Decline to answer.

              Q    Describe how Location Ventures operations
                                           :
         were structured at the tiïe you were manager?

                   Decline to answer .

                   How many employees were at Location

         Ventures prior to your removal as manager?

                   Decline to answer .

              Q    Who were your direct reports at the time

         you were manager?

                   Decline to answer .

              Q    How mapy div isions or departments were at



                     9 :54 AM! Kapoor, Rishi             1 .20230822 .460473-M ...
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 35 of 148



                                                                          35

         Location Ventures at the time you were the manager?

                   Decline to answer .

                   How many real estate projects does Location
         Ventures have?

                   And by nreal éstate projectsyu going
         forward I 'm going to simply refer to that as 'the

         projects'' for simplicity sake.
                   Decline to answer .

              Q    How many of the projects are currently
         completed?

                   Decline to answer .

              Q        8    is the property that is overseen 'by

         800 Dixie Partners , LLC, which I will refer to going

         forward as ''Orduna Court ,'1 completed?

                   Decline to answer .

              Q        the property that is overseen by 5l5

         Villa Valencia Partners, LLC , which I will refer to

         going forward as just nVilla Valencia,'' completed?
                   Decline to answer .

              Q        the property that 's overseen by 8325

         Cheryl Lane, LLC , which going forward I will refer to

         as 1'8325 Cheryl Lane,n completed?

                   Decline to answer .

              Q    How many Location Venture projects are
   25    currently in development?



                      9:54 AMq Kapoor, Rishi - Vol. 1.20230822.460473-M ...
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 36 of 148



                                                                             36

              A    Decline to answer .

    2         Q    Is the property overseen by 1505 Ponce

         Partners, LLC , which I will refer to as .11505 Ponce,'l

         currently in development?

              A    Decline to answer.

              Q    Is the property overseen by 55l Bayshore

         Partners, LLC , which I will refer to as 1,551

         Bayshore ,'l currently in development?

                   Decline to answer.

              Q    Is the property overseen by Urbin Coconut

         Grove Partners, LLC , which I will refer to as HUrbin

         Coconut Grove ,'' currently in development?

              A    Decline to answer.

              Q    Is the property overseen by Urbin Miami

         Beach Partners , LLC , which I will refer to as ''Urb in

         Miami Beach      currently in development?

              A    Decline to answer.

                   Is the property overseen by Urbin Miam i

         Beach 2 , Phase 1, LLC, which         refer to as

         nUrbin Miami Beach 2,.
                              , currently in development?

                   Decline to answer.

                       the property overseen by Stewart Grove

            LLC, which I will refer to as ''Stewart Grove

         currently in development?

              A    Decline to answer .
                  )


                                                   Vol . 1 .20230822 .460473-M ...
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 37 of 148




              Q    Is the property overseen by Stewart Grove

         2 , LLC , which I will refer to as BStewart Grove 2 ,.'

         currently in development?

              A    Decline to answer .

              Q    How many projects are'currently in the
         planning stage or predevelopment stage?

              A    Decline to answer .

              Q    Is the project overseen by Urbin Coral
         Gables Partners, LLC, which I will refer to as ''Urbin

         Coral Gables ,'
                       l in -- currently in planning stages?

              A    Decline to answer.

              Q    Is the property overseen by Redlands Phase

            LLC, which I will refer to as HRedlands,''

         currently in the planning stages?

              A    Decline to answer.

              Q    Is the project overseen by LV Montana Phase
            LLC, which I will refer to as HMontana,ï' currently

         in the planning stages?

              A    Decline to answer .

                   Is the project overseen by 619 Breakers
         SPE , LLC , which 1 '11 refer to as 1,619 Breakers,''

         currently in the planning stage?

              A    Decline to answer .

                   The Orduna Court project at -- located at
         800 Dixie Highway , that property was sold by Location



                      9:54       Kapoor,
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 38 of 148



                                                                          38

         Ventures, Correct?

                   Decline to answer .

                   Do you know when that property was sold?

                   Decline to answer .

              Q    Do you know for how puch that property was

         sold?

                   Decline to answer .

              Q    Was the Orduna Court project profitable?
                   Decline to answer .

              Q    Did the Orduna Court project make any
         distributions to its members or investors upon the

         sale of the property?

                   Decline to answer .

                   Did the members or investors in the Orduna

         Court project get paid back their principal amounts?
                   Decline to answer .

              Q    Did the investors or members in the Orduna

         Court project get paid back additional monies above

         what was their principal amounts of investment?

                   Decline to answer .

              Q    Mr. Kapoor, if I were to ask you any

         further questions concerning how the business and

         operations of Location Ventures is structured,

   24    including which of Location Ventures î real estate

   25    projects or Urbin real estate projects have been
          t



                      9 :54 AM)          Rishi - Vol . 1.20230822 .460473-M ...
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 39 of 148




         completed, are in development , or are in the planning

         stages, and which projects have been sold, would you
         continue to assert your Fifth Amendment rights?

                   Yes,

              Q    Okay. Mr. Kapoor, can you describe the

         investment opportunity in Location Ventures , meaning

         Location Ventures, LLC?

                   Decline to answer .

              Q    Can you tell us the terms of the investment

         opportunities in Location Ventures?

                   Decline to answer .

              Q    Was there any set percentage or

         return that was represented to investors who invested

         in Location Ventures?

              A    Decline to answer .

              Q    Was there any schedule for distributions

         that were presented to investor; who invested in

         Location Ventures?

                   Decline to answer .

              Q    How were investment -- excuse me . How were

         investment profits generated by Location Ventures?

                   Decline to answer .

              Q    What did you provide investors or

         prospective investors concerning investing

   25    Location Ventures?
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 40 of 148



                                                                          40

                   Decline to answer .

              Q    Did you provide investors ap operating

         agreement for Location Ventures?

                   Decline to answer .

              Q    Did you provide investors an annual budget

         for Location Ventures?

                   Decline to answer .

              Q    Did you provide marketing materials,

         investment brochures, Powerpoint presentations,

         equivalent presentations to investors or prospective

         investors for Location Ventures?

                   Decline to answer .

              Q          true that you emailed prospective

         investors and investors operating agreements , as well

         as budgets and other materials concerning investing

         in Location Ventures?

                   Decline to a'nswer .

                         true that you used websites for

         Location Ventures to advertise its business

         investment opportunities, including the projects that

         we just discussed?
                   Decline to answer .

                   How did you communicate with investors or

         prospective investors?

                   Decline to answer .



                      9:54 AM1 Kapoor, Rishi - Vol. 1.20230822.460473-M ...
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 41 of 148



                                                                          41

              Q    Did you communicate with them in person?

                   Decline to answer .

              Q    Did you communicate v ia email?

                   Decline to answer .

              Q    Did you communicate v ia text messaging?

                   Decline to answer .

                   Did you communicate with them via phone

         calls?

                   Decline to answer .

              Q    Did any other person or entity on behalf of

         Location Ventures solicit prospective investors?

                   Decline to answer .

              Q    Did Location Ventures pay anyone or any

         entity to solicit prospective investors or to raise

         cap ital for the company?

                   Decline to answer .

              Q    What type of investments did Location

         Ventures seek from investors?

                   Decline to answer .

              Q          Location Ventures seek equity interest

         in the company ?

                   Decline to answer .

              Q    Did Location Ventures seek debt interest in

   24    the company?

                   Decline to answer .



                        9:54 AM) Kapoor,
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 42 of 148



                                                                                42

                 Q      And what did investors receive in exchange

            for investing capital in Location Ventures?

                        Decline to answer .

                            investors, upon investing    Location

            Ventures, receive membership units of Location

            Ventures?

                        Decline to answer .

                 Q          Kapoor,    I were to ask you any

            further questions concerning how investments

            Location Ventures is or was structured, including

            documents and materials presented to investors,

            communications and representations you and others

            made concerning such investments, and any other

            information provided to investors concerning
        .
            investment opportunities in Location Ventures, would

            you continue to assert your Fifth Amendment rights?

                        Yes,

                        What did you tell investors the cap ital

            that they contributed to Location Ventures would be

            used for?

                 A      Decline to answer .

                 Q      What were investor funds used for

            Location Ventures?

                        Decline to answer .

                 Q      How many investors does Location Ventures


                          9 :54                             1 .20230822 .4604 73-M ...
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 43 of 148



                                                                          43

         have?

                    Decline to answer.

                    How much money have you raised from

         investors who have invested in Location Ventures?

                    Decline to answer .

              Q     How did Location Ventures track investors,

         t'he capital equity , or the debt raised on behalf of

         the company?

                    Decline to answer .

              Q     Who at Location Ventures tracked investors,

         the capital, the equity , or the debt on behalf of the

         Company?

                    Decline to answer .

                    And did the -- did the overall cap ital,

         equity , and debt structure change over time on behalf

            Location Ventures?

                    Decline to answer .

              Q     Have there been any distributions made by

         Location Ventures to its members?

                    Decline to answer .

              Q     Has any money been paid back to the members

            investors of Location Ventures?

              A     Decline to answer .

              Q     Has Location Ventures redeemed any member

            investors ' interest in Location Ventures?



                        9 :54 AM2 Kapoor, Rishi   Vol. 1 .20230822 .460473-M ...
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 44 of 148



                                                                          44

                      Decline to answer .

                 Q    Mr. Kapoor, if I were to ask you

                      EXAMINATION

                      BY MR . HOUCHIN :

                 Q    Sorry for interrupting. Quick question on

            the use of funds of Location Ventures. During your

            tenure as manager of Location Ventures, did Location

            funds, investor capital get used for any purpose

            other than associated with Location Ventures or

            Location Ventures' projects?
                      Decline to answer .

                 Q    Okay . Thank you .

                      EXAMINATION

                      BY MR . CORTEZ :

                 Q          Kapoor, if we were to ask you any

            further questions concerning how money was raised

            from investors who provided investor capital
        '
            Location Ventures, including how investor funds were

            u sed by Location Ventures , you , or others, how much

            total money has been raised for Location Ventures,

            and whether Location Ventures has made any

   22       distributions           investors or members, would you

            continue to assert your Fifth Amendment rights?

   24                   would .

                 Q    Mr. Kapoor, I am showing you a docùment
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 45 of 148



                                                                          45

         which has previously been marked as Exhibit 4 .

                               (SEC Exhibit No. 4 was marked

                                   identification.)

    4              BY MR . CORTEZ :

              Q    The document is Bates stamped FL-

                                         and the last page ends

         at 1174 . Mr. Kapoor, this is a copy of the Second

         Amended and Restated Operating Agreement for Location

         Ventures, LLC, effective as of April 19th , 2021.

                   Mr. Kapoor, who was principally responsible

         for drafting this agreement?

                   Decline to answer .

                   What was the purpose for this agreement?

                   Decline to answer .

                   Did you or anyone on behalf of Location

         Ventures have a chance to review and negotiate any

         part of this agreement?

                   Decline to answer .

                   If I were to ask you any further questions

         concerning who drafted the Location Ventures

         Operating Agreement, what has been marked as Exhibit

         4 , and what changes were made to this agreement from

         the prior versions, would you continue to assert your

         Fifth Amendment rights?

                   I would .



                                Kapoor ,
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 46 of 148



                                                                          46

              Q     Okay . If we can go to the last     to the

         page with the Bates stamp number ending 1161, please?

          You will see on the page 1161 it says, nExhibit A .

         Schedule of Members as of effective date .'' And then ,

            you turn to page 1162, which goes to page 1163 ,
                                          I
                                          .
         says, ''Exhibit A . Schedule of' Members as of the

         eflective date.n And then, it lists differept

         members on the left-hand column, and then the columns

         to the right list 'initial cap ital contributions ,

         percentage interest , membership units , and member

         principals .''

                    Mr . Kapoor , are these the current members

            investors of Location Ventures?

                    Decline to answer .

              Q     Mr. Kapoor, did you provide this agreement

         to Alex Kleyner and Diana Ulis to sign and execute?

                    Decline to answer .

              Q     Did you provide this agreement to Alex

         Kleyner and Diana Ulis via email?

              A     Decline to answer .

                    Did you provide this agreement to the other

         members listed in this Exhibit A via email for their

         execution of the agreement?

                    Decline to answer .

                    Any changes to the Schedule of Members
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 47 of 148



                                                                          47

         since this agreement was executed as of the effective

         date on April 19th , 2021?

                     Decline to answer .

                     Have there been any changes with respect to

         the amounts invested by the investors listed here on

         Exhibit A , Schedulç of Members?

              A      Decline to answer .

              Q      The investors listed on the schedule, how

         were they introduced to you or others at Location

         Ventures?

              A      Decline to answer .

              Q      Were there any third parties that reached

         out to these investors on behalf of Location

         Ventures?

              A      Decline to answer .

              Q          Location Ventures hire any entity or

         person to solicit these investors?

                     Decline to answer .

                     Are there any other investors that are

         members of Location Ventures that are not listed on

         this Schedule of Members?

              A      Decline to answer .

              Q      Are any of these members that are listed on

         the schedule currently not members or investors of

         Location Ventures?



                       9:54 AMq Kapoor,
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 48 of 148




                   Decline to answer .

              Q    Mr. Kapoor,       I were to ask you any

         further questions concerning the current or past

         members or investors of Location Ventures and how

         those investors or others were solicited by Location

         Ventures , including by you or others on the company 's

         behalf, would you continue to assert your Fifth

         Amendment rights?

                   Yes , sir .

              Q    Okay .

                   MR . MILLER : Jordan , do you mind     we take

           break when you reach é breaking point?

                   MR . CORTEZ : Sure . We can take a break .

         Let 's go off the record at 10:48

                   (Whereupon, a break was taken.)
                   MR . CORTEZ : So we Ire back on the record at

                    on August 22nd.

                      MR . CORTEZ:

                   Mr . Kapoor, did you have any substantive

         discussions with anyone from the Commission staff

         during the break?

              A    No .

                   Okay . So before we went on break , we were

         discussing Exhibit      the Second Amended and Restated

         Operating Agreement for Location Ventures.     I don ït



                                                         1 .2023 0822 .4604 73 -M ...
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 49 of 148



                                                                          49

         know if you have a copy in front of you , but I had a

         few more questions on this document .

                      If you could turn to , actually , page 19 of

         the agreement . The Bates stamp ends in number 1119.

          You '.ll see at the very bottom of this page      Says,

         uArticle 5 . Distributions . Article

         Distributions,n and it continues on to page 20. And

            states that HMembers shall be entitled

         distributions of Distributable Cash Flow and net

         proceeds from the liquidation and winding up of the

         Company in accordance with the following provisions.n

                      And then, it goes on to state under

         Article 5.1(a) 'Non-Liquidating Distributions.l' And

         it says, ''Distributable Cash Flow shall be

         distributed to Members at such times as the Manager

         determines are reasonable .n And then ,      goes on and

         says, Hbut in any event not less than every three

         months .''

                      During your time as manager of Location

         Ventures , did Location Ventures make deistributions to

         members in accordance with Article 5(a)?

              A       Decline to answer .

              Q       Have there been any distributions made to

         Location Ventures ' members?

                      Decline to answer.



                        9:54      Kapoor,
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 50 of 148



                                                                              50

              Q     We rll ask you this in a little bit,

         just wanted to ask you a follow-up question.
                    The various fees that were earned by

         Location Ventures through        subsidiaries for the

         projects, for example: The marketing fees, developer
         fees, management fees, loan guarantee fees, and other

         fees, were those specific type of fees as cash flows

         susceptible to being distributed to Location Ventures

         members?

                    Decline to answer .

                    Are you aware if there 's any expectation

         that distributions will be made in the near future

         with the current liquidation plan?

                    Decline to answer .

                    What information while     when you were

         manager of Location Ventures did you provide to its

         members concerning when distributions would be made?

                    Decline to answer .

                    Mr . Kapoor, if I were to ask you any

         further questions concerning distributions to members

         of Location Ventures , information of representations

         you or others made to members concerning

         distributions, and plans for distributions going

         forward , would you continue to assert your Fifth

         Amendment rights?



                                                 -   Vol . 1 .20230822 .460473-M ..:
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 51 of 148



                                                                          51

                      Yes,

              Q       If youïd just turn a couple of pages.
         page 22 of Exhibit 4, Bates stamp number ending 1122 .

                      You 'll notice , again , at the bottom of this

         page Article         is titled ''Member Decisions .'l And

         6.6(a)       Article 6.6(a) says, ''Notwithstanding any

         other prov ision of this Agreement to the contrary , no

         action may be taken by the Company (including by the

         Manager) in connection with the matters set forth

         below without Member Super Majority Approval.''
                      Member super majority is actually a definez
         term within this agreement, and I w ill represent to

         you that that is defined as at least 75 percent

         Location Ventures member votes on these different

         actions that are then listed on the next page, page

         23 of this agreement.

                      You 'll notice on page 23 of the agreement,

         Subsection          notes HIncurrence of direct

         indebtedness by the Company and/or pledging,
         mortgaging , or otherwise encumbering all or

         substantially        of the assets of the Company .'' And

         then, on that same page, Subsections (v) and (vi)

         reference liquidating , filing bankruptcy of or by the

         company , its subsidiary, or investments .

                   With respect to Subsection            have there



                                   Kapoor,
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 52 of 148



                                                                          52

         been any instances while were you the manager of

         Location Ventures that it had incurred indebtedness?

                   Decline to answer .

    4              Do you know how much debt Location Ventures

         incurred while your time as manager?

                   Decline to answer .

                   What reasons -- what were the reasons why

         Location Ventures incurred debt?

              A    Decline to answer .

              Q    Do you know from which party, entity,

         individual that Location Ventures incurred debt?

                   Decline to answer .

              Q    Isn 't it true that Location Ventures never

         obtained member super majority approval to take on
         additional debt?

                   Can you say the question again ?

                   Isn 't it true that Location Ventures never

         obtained member super majority approval, as defined
         in this operating agreement,    take on additional

         debt?

                   Decline to answer .

   22              Was i
                       't your sole discretion to have

         Location Ventures incur debt?

              A    Decline to answer .

   25         Q    You personally guaranteed certain loans on
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 53 of 148



                                                                          53

         behalf of Location Ventures , correct?

                   Decline to answer .

                   Do you know what the total amount of loans

         that Location Ventures currently has on its books?

              A    Decline to answer .

              Q    With respect to certain debt placed on

         Location Ventures or its subsidiaries, you never

         obtained member super majority approval to repurchase
         A lex Kleyner and Diana Ulis ' interest in Location

         Ventures, correct?

                   Decline to answer .

              Q    And you never obtained mdmber super

         majority approval to repurchase Alex Kleyner or Diana
         Ulisa ' interest in certain projects of Location

         Ventures, correct?

                   Decline to answer .

              Q    You never obtained member super majority
         approval to purchase other Location Venture members '

         interest, correct?

                   Decline to answer .

                   How many Location Ventures members '

   22    interest in the company have been wholly or partially
  :

   23    repurchased or bought out?

                   Decline to answer .

                   Where did you get the money to buy out
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 54 of 148



                                                                          54

         these investors?

                   Decline to answer .

                   Were there instances in which you placed

         debt on other projects, including the Urbin progects,
         to buy out certain investors?

              A    Decline to answer .

                       examp le, did you direct Urbin Coconut

         Grove to incur $12 million of debt in order
         facilitate a payment to Alex Kleyner and Diana Ulis,

         pursuant to 'the December 31st, 2022 Global Interest

         Purchase Agreement you and Location Ventures entered

         into with them and the entities that they controlled?

                   Decline to answer .

                   Mr . Kapoor, did you obtain loans on behalf

         of Urbin Coconut Grove from Marti Halpern or the

         Halpern Family Trust in order to facilitate partial

         payment to Alex Kleyner and Diana

                   Decline to answer .

              Q       in Location Ventures?

                   Decline to answer .

              Q       the time you and Location Venturés

         entered into the Global Interest Purchase Agreement

         with Alex Kleyner and Diana Ulis and the entities

         that they control, you did not disclose

         agreement to other members of Location Ventures ,
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 55 of 148



                                                                          55

         correct?

                    Decline to answer .

              Q     Mr. Kapoor, if I were to ask you any

    4    further questions concerning the instances in which

         you did not obtain 75 percent member super majority
         approval , including times in which you had Location

         Ventures incur debt, incur debt on other projects,
         including Urb in Coconut Grove , to pay out certain

         non-urbin investors, such as Alex Kleyner and Diana

         Ulis, and the current status of outstanding loans for

         Location Ventures, would you continue to assert your

         Fifth Amendment rights?

                    I would , other than telling you that Alex

         Kleyner has, multiple times, threatened my life .

                    EXAMINATION

                    BY MR. HOUCHIN:

              Q     Can you tell us the context of which those

         threats occurred?

                         I1m just going to decline. Yeah.
                    EXAM INATION

                    BY MR . CORTEZ:

              Q     The next page, page 24 of Exhibit

         Article 7 , if you can refer        talks about the

         nRights, Powers, and Duties of the Manager'' and ''The

         Budget .n And then , Article     references the



                      9 :54
    Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 56 of 148



                                                                                56

             manager 's authority to control and operate Location

             Ventures. Article 7.1(a) states that HThe members

             hereby appoint Rishi Kapoor as the initial manager .''

                         How long were you the manager of Location

             Ventures?

                         Decline to answer .

                         Were you voted out by the members of

             Location Ventures on July l4 , 2023?

                         Decline to answer .

                  Q      Article 7.1 (b) states that HThe manager
             cannot deviate from an approved budget by more than

             7 .5 percent without boatd approval.''

                         The Location Venture
                                            's approved budget for

             2020 deviated by more than 7.5 percent , correct?

                  A      Decline to answer .

                  Q      The Location Ventures approved budget for

             2021 deviated by more than 7.5 percent , correct?
1
                         Decline to answer .

                         The Location Ventures approved budget for

             2022 deviated by more than 7 .5 percent , correct?

                         Decline to answer .

                         EXAMINATION

                         BY MR . HOUCHIN :

                  Q      I want to rephrase those questions a little




                                       Kapooy, Rishi - Vol. 1 .20230822 .460473-M ...
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 57 of 148



                                                                          57

                       the actual budget for 2021 deviate by

         more than seven-and-a-half percent compared

         approved budget?

              A    Decline to answer .

              Q    What about the actual budget compared to

         2020 and 20227

              A    Decline to answer .

                   Okay . Thank you .

                   EXAMINATION

                   BY MR . CORTEZ :

              Q    The dev iations in the approved budgets for

         years 2020, 2021, and 2022 for Location Ventures were

         never approved by Location Ventures ' board, correct?

                   Decline to answer.

                   And you never disclosed to Location

         Ventures members the fact that the budget        the

         approved budget for years 2020, 2021, and 2022

         deviated by more than 7 .5 percent , correct?

              A    Decline to answer.

                       Kapoor ,       I were to ask you any

         further questions concerning your role as manager ,

         including the yçars Location Ventures ' budget

         deviated by more than 7 .5 percent without board

         approval and the failure to inform or disclose this

         deviation to Location Ventures ' members, would you



                      9 :54       Kapoor,
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 58 of 148



                                                                          58

         continue to assert your Fifth Amendment rights?

                   Yes .

              Q    Again , keep going to the next page , wh ich

    4    is page 25 of the agreement . You 'll notice Article

         7.2 titled HBoard of Directors.dl And then, 7.2(a)

         lists the -- the board , at least, as of the effective

         date of this Operating Agreement .

                   How often were board meetings held when you

         were the manager of Location Ventures?

              A    Decline to answer .

                           true that Location Ventures ' board

         did not meet on a regular basis?

                   Decline to answer .

                   Were there board meeting minutes for the

         few meetings held by the board of Location Ventures?

                   Decline to answer .

              Q    What access to information did you or

         others at Location Ventures provide to the board in

         the course of overseeing the day-to-day operations of

         the company and its different projects?
                   Dec line to answe'
                                    r.

   22         Q    Did Location Ventures' board have any real

         powers or oversight of the operations of the company

   24    and its different projects?
                   Decline to answer .



                      9 :54
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 59 of 148



                                                                          59

                           as the manager of Location Ventures,

         controlled the day-to-day operations of the company ,

         correct?

    4               Decline to answer .

              Q     And isn't it true that as your      as the

         role of managqr of Location Ventures you did not keep

         its board members fully informed of Location

         Ventures ' business operations , correct?

                    Decline to answer .

              Q     Is it true that you did not keep the board

         members of Location Ventures fully informed of the

         company 's financial condition?

                    Decline to answer .

                       the financial condition of Location

         Ventures' real estate projects?
                    Decline to answer .

              Q     Mr. Kapoor, if I were to ask you any

         further questions concerning the role of Location

         Ventures board of directors, including any lack of

         oversight it had on Location Ventures ' budget,

                                                     or failure

         to disclose and to keep the board fully informed as

         your role as manager, would you continue to assert

   24    your Fifth Amendment rights?

                    Yes,
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 60 of 148



                                                                          60

                                                         I want to

         focus your attention to Subsection (c), which is on
         page 26 . And if you notice      and there 's

         subsections to the Subsection        but Subsection

         (c)(iv) states that HThe Board shall have the sole

         authority to make , and the prior written Approval of

         the Board be required for , al1 decisions of the

         Company, any Project Entity, and any other Company
         subsidiary regarding the approval of any Approved

         Budget or amendment or modificatlon of,'' and then it

         kind of goes on .

                    For 2020, did you or anyone else provide a

         budget for Location Ventures for the board

         approve?

                    Decline to answer .

                    For the year 2021, did you or anyone else

         provide a budget for Location Ventures for the board

         to approve?

                    Decline to answer.

              Q     For the year 2022, did you or anyone else

         provide a budget for Location Ventures to the board

         for it to approve?

                    Decline to answer.

              Q     I know you testified earlier that

         started Location Ventures in 2016. Since             for
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 61 of 148



                                                                          61

         each calendar year through 2023, how many years did

         the Location Ventures have a written budget?

                      Decline to answer .

                      In how many of those years did the board

         approve any written budget on behalf of Location

         Ventures?

              A       Decline to answer .

                      If we can just quickly turn to page 29 of
         the agreement , Article 7.6 titled , 'Icompensation of

         the Manager and Officers Contracting with

         Affiliates .''

                      7.6(a) states that nRishi Kapoor shall be
         entitled to receive an annual salary from the company

         in the amount of 300,000.11 And 7.6(b) states,
         HDaniel Motha shall be entitled to receive an annual

         salary from the company in the amount of 180,000 .''

         It then goes on and states, HThe annual salaries of

         Messrs . Kapoor and Motha may each be increased to up

         to 400,000 annually with board approval, provided

         there can be no increase in annual salary above

         400,000.11

                      Mr . Kapoor , Location Ventures ï board never

         approved an increase in your salary exceeding 350,000

         f.or years 2020, 2021 or 2022, correct?

                      Decline to answer.



                        9 :54      Kap oor ,
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 62 of 148



                                                                          62

              Q    Location Ventures' boafd never approved an

         increase to Daniel Motha 's galary exceeding 350,000

         for years 2020, 2021 or 2022, correct?

    4              Deçline to answer .

              Q    Now, if we could turn to sort of the end of
         this agreement.                              number ,

         but it ends with Bates stamp number 1164 .

         HExhibit B . Approved Budget .'' And then you 'll

         notice on the next page, 1165, is the actual approved

         budget . And at the top it says, ''LV Company

         Operations Budget for the 2021 Year .''

                   Who put together this budget?

              A    Decline to answer .

              Q    Do you know how this budget was put

         together by Location Ventures?

              A    Decline to answer .

                   Do you know the process that Location

         Ventures undertook to put together this budget?

                   Decline to answer .

                   Do you know who from Location Ventures was

         involved in putting together this budget?

                   Decline to answer .

              Q    Do you know what information they relied on

   24    to put together the budget?

                   Decline to answer .
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 63 of 148



                                                                          63

              Q      Did you or other Location Ventures ' members

         have any input on the budget?

                    ' Decline to answer .

                     So for this budget 2021, under the title

         HFixed Costsp'l it lists your name, 'Rishi Kapodr ,'l

         and on the right-hand column it states uAnnual :

         $350,000.04.1
                     9
                          was your salary for the year 2021,

         correct?

                     Decline to answdr .

                     We had just looked at page -- at Article
              the compensation , which listed in this agreement

         that your compensation was $300,000 for 2021.
                     Was the increase to 350,000 approved by the

         board?

                     Decline to answer .

                     Is there any documents or communications

         that reflect this $50,000 increase in your salary for
         2021, from 300,000 to 350,0002

                     Decline to answer .

              Q      In addition to your 2021 salary of

         $350,000, you received other compensation from
         Location Ventures , correct?

                     Decline to answer .

              Q      What other sources of money did you receive


                       9 :54                Rishi
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 64 of 148



                                                                              64

         in 2021?

                      Decline to answer .

                      MR . HOUCHIN : With respect to Location

         Ventures .

                      BY MR . CORTEZ :

                      With respect to Location Ventures.

              A       Decline to answer .

                      In 2021, did you direct fees that were

         charged by Location Ventures and its projects to be
         paid to you as part of your compensation for that

         year?

                      Decline to answer.

                      Was Location Ventures profitable in 2021?

                      Decline to answer.

                      Were any of Location Venturesl projects
         profitable in 2021?

                      Decline to answer .

              Q       In 2021, did you direct distributions from

         Location Ventures and its projects to be paid to you
         as part of your compensation for that year?

                      Decline to answer .

                      Compensation other than your approved

         salary for 2021, as we 're seeing here on Exhibit 4,

         other compensation , had to be approved either by the

         members of Location Ventures or its board of



                                            Rishi          1.20230822 .460473-M ...
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 65 of 148



                                                                          65

         directors; is that correct?

                   Decline to answer .

              Q    Neither Location Ventures members

    4    board ever approved any additional compensation to

         you ; is that correct?

                   Decline to answer .

                   And you never disclosed that you were

         taking more money than what was approved in the

         budget for 2021, which is your $350,000 salary for
         that year ; is that correct?

                   Decline to answer .

              Q        people listed on Bates stamp

         Location Ventures operating budget for 2021, were any

         of these other individuals paid more than their

         stated salaries for 2021?

                   Decline to answer .

              Q    Was DJ Motha paid more money than his

         listed salary of 350,000 for 2021?

                   Decline to answer .

                   Was Vivian Bonet paid more money than her

         $350,000 salary listed for 2021?
                   Decline to answer .

              Q    Were any enkities that any of these

         individuals controlled paid monies outside of what




                      9 :54
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 66 of 148




                   Decline to answer .

              Q      asked you whether the board had approved

         the budgets for Location Ventures for years 2020,

         2021, and 2022 . Was -- did Location Ventures approve

         a budget for 2023?

                   Decline to answer .

              Q        Location Ventures' board approve

         budgets for prior years, 2018 or 20197

                   Decline to answer .

                   Were monies paid to you , in addition to

         what 's listed here for your salary , ever disclosed to

         Location Ventures' members?

                   Decline to answer .

              Q    Were monieà paid to DJ Motha, outside of

         his $350,000 salary listed here, ever disclosed to
         Location Ventures ' members?

                   Decline to answer ..

                   Were monies paid to Vivian Bonet , outside

         of her $350,000 salary, ever disclosed to Location
         Ventures ' members?

                   Decline to answer .

              Q    To your knowledge, any other monies paid

         outside of what is listed here for 2021 for these

         individual respective salaries ever disclosed to

         Location Ventures' members?
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 67 of 148



                                                                          67

                   Decline to answer .

              Q    Since the time of this agreement, again

              represent it 's April 19th , 2021 , had the budget

         changed in subseqqent years from what is presented

         here for the year 2021?

                   Decline to answer .

                        Kapoor, I 'm handing you a document

         which does not have any Bates stamps on it but that

         was produced to us through your counsel. And what

         was represented to us was it 's Location Ventures 2022

         budget . Apologies in advance . The font on this is

         somewhat small to read . But take a moment to review

         the document if you can .

                   MR . MILLER : Does that have an exhibit

         number , Jordan?

                   MR . CORTEZ: Good point . Can you        thank

         you . Can you mark this as Exhibit       please?

                              (SEC Exhibit No. 11 was marked

                                   identification .)
                   BY MR . CORTEZ:

              Q         Kapoor, let me switch. I apologize.

         did not have the court reporter mark this when I

         prov ided you a copy .

                   Mr . Kapoor, do you     do you recognize this

         as the Location Ventures 2022 budget?
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 68 of 148



                                                                          68

                   Decline to answer .

              Q    Okay. Do you see where it states HSalaryy''

         and it says , 'Location Ventures Payroll-Wages ,'' and

         then below it has your name , ''Rishi 'Kapoor . Title :

         CO ,'' and then it provides your monthly salary? M d

         at the very right -hand column , it states your salary

         was 350,000 .

                   So just wanted to confirm that your
         approved salary for year 2022 was 350,000, correct?

                   Decline to answer .

              Q    Similar to 2021, you obtained other forms

         of compensation for 2022 that were significantly

         greater than this $350,000 approved salary, correct?
                   Decline to answer .

                   Location Ventures ' board did not ap#rove

         and was not aware of the additional monies you were

         paid in 2022, correct, outside of your $350,000
         salary?

                   Decline to answer .

                   How much more was paid to you for 2022 in

         addition to your $350,000 salary?
                   Decline to answer .

              Q           it true that you were paid in excess

         of over $1 million in 2022, in addifion to your

         $350,000 salary?
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 69 of 148



                                                                          69

                   Decline to answer .

              Q    And we just looked previously at Exhibit 4,
         and we saw that your approved salary for the year

         the prior year, 2021, was $350,000, correct?
                   Decline to answer .

                   And we asked if you received more money

         than $350,000 in 2021, correct?
                   Decline to answer .

              Q    Isn ït it true that you also took

         morq than $1 million more than your $350,000 salary
         for the year 20217

                   Decline to answer .

                   Who made the decision for you to receive

         more than what was àet forth in the approved annual

         budget for Location Ventures for years 2021 and 2022?

                   Decline to answer .

              Q    Mr . Kapoor, how would you respond to the

         allegation that you directed Location Ventures '

         controller , Jorge Chirinos, to pay you additional

         money above the amount setting forth your annual

         salary for 2021?

                   Decline to answer .

              Q    How would you respond to that same

         allegation for year 20227

                   Decline to answer .



                      9 :54
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 70 of 148



                                                                             70

              Q    We ïre done with this exhibit .

                   Mr . Kapoor,       showing you a document

         which has been previously marked as Exhibit       and

             a Bates stamp FL-4347 Kleyner LVLLC 0004657.

                              (SEC Exhibit No. 5 was marked

                              for identification .)

                   BY MR . CORTEZ :

              Q    This is a one-page summary, Mr. Kapoor,

         certain transactions for which Alex Kleyner provided

         to you sometime in late October or early November

         2022, correct?

                   Decline to answer .

              Q    A lex K1eyner provided you with this

         summary , because he wanted an explanation of these

         transactions listed on this exhibit , correct?

                   Decline to answer .

              Q    And these transactions, all from August of

         2022, according to the date on this exhibit, show

         monies coming in and out of a Location Ventures '

         qccount , correct?

                   Decline to answer .

              Q           notice, the second to last

         transaction dated April 15th, 2022 shows you -- shows

         a transaction of monies going to you , Rishi Kapoor,

         for $1,328,000, correct?


                      9 :54 AM1 Kapoor, Rishi             1.20230822 .460473-M ...
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 71 of 148




                    Decline to answer.

                    This money was fees from one or more

         Location Ventures' project that you directed to be
         paid personally to you , correct?

                    Decline to answer .

                    Also on August 25th , 2022 , there ïs

         transaction to Daniel Motha for 140,000.

                    This was a bonus payment you directed to

         have Location Ventures pay to Daniel Motha, correct?

                    Decline to answer .

                    You never disclosed to Location Ventures '

         members that in 2021 and in 2022 you were paying

         yourself more than $1 million, well over your

         approved salary of $350,000 for b0th years?
                    Decline to answer .

              Q     You never disclosed to Location Ventures

         members that you paid Motha a $140,000 bonus in 2022,
         correct?

                    Decline to answer .

              Q     And isn 't it true that you also increased

         the salaries of other senior level 'employees without

   22    getting board approval or disclosing those increases

         to Location Ventures' members, Correct?

                    Decline to answer .

              Q     Mr. Kapoor, if I were to ask you any .



                      9 :54 AMi Kapoor,           - Vol. 1 .20230822 .460473-M ...
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 72 of 148



                                                                             72

         further questions concerning Location Ventures l

         budgets for years 2018 through 2022, including your

         approved salary for each of those years, how much

         money you directed from Location Ventures to pay to

         yourself, which was above and beyond your approved

         salary, including over $1 million in 2021 and 2022,
         as well as payments made to other Location Ventures'

         employees that were more than their respective

         approved salaries, including Daniel Motha, would you

         continue to assert your Fifth Amendment rights?

                     Yes .

                     MR . CORTEZ: Can we take a five-minute

         break?

                     MR . MILLER : Of course .

                     MR . CORTEZ : So we lre off the record at

         11 :37 a .m .

                         (Whereupon, a break was taken.)
                     BY MR . CORTEZ :

                     Are you ready to go back on the record?

                     Yes ,

                     So we 're back on the record at 11 :43 a .m .

                            Kapoor, during the break did you have

         any substantive discussions with anyone from the

         Commission staff?

                     No .



                           9:54 AMq Kapoor,         - Vol. 1.20230822.460473-M ...
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 73 of 148




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Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 74 of 148



                                                                          74

         members within 12O days after the end of each fiscgl

         year and 45 days after each calendar quarter certain

         financial statements listed in Article 9.3, has

         Location Vèntures timely provided these financial

         statements in accordance with this     with Article

         9.3 for each fiscal year from 2018 through 2022?

              A    Decline to answer .

              Q    Was it not true that Location Ventures

         typically missed these deadlines as set forth in

         Article 9 .3 , with respect to providing the financial

         statements within 12O days and 45-day time periods?

              A    Decline to answer .

                   Who compiled the financial statepents for

         each quarter and year-end for Location Ventures?

                   Decline to answer .

              Q    What information was relied upon

         compiling the financial statements for each quarter

         and for year-end?

              A    Decline to answer .

              Q    Did you have any input into Location

         Ventures ' quarterly or annual financial statements

         that were provided to members?

              A    Decline to answer .

                   Did you review any financial statements

         prior to them being sent to Location Ventures '
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 75 of 148




         members?

                    Decline to answer .

                    Were there ever any incidents where one or

         more of the financial statements needed to be revised

         or amended on behalf of Location Ventures?

                    Decline to answer .

                    Is    true that Location Ventures ï

         financial' statements were never audited by a

         certified public accountant?

                    Decline to answer .

                    Is it true that the financial statements

         for Location Ventures ' subsidiaries and its

         investments, including in each of the projects, were
         never audited by a certified public accountant?

              A     Declink to answer.
              Q           true that Location Ventures board of

         directors never excused the company from hav ing its

         financial statements and those of all of its

         subsidiaries and its investments, including for each

         of the projects, audited by a certified public
         accountant on an annual basis?

                    Decline to answer .

                    Mr . Kapoor, if I were to ask you

         further questions concerning financial statements and

         reports required to be provided to Location Ventures '


                                                -   Vol. 1 .20230822 .460473-M ...
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 76 of 148



                                                                          76

         members as set forth in Article 9 .3 of its Operating

         Agreement , including whether such statements and

         reports were provided on a timely basis to members,

         whether the data and numbers in those reports were

         true and accurate, and whether such financial

         statements and reports were audited by a certified

         public accountant or otherwise complied with U .S .

         GAAP, would you continue to assert your Fifth

         Amendment rights?

                   Decline to answer .

                   Mr . Kapoor, in addition to providing

         excuse me .    addition to being required to provide

         Location Ventures ' financial statements to the

         company 's members, was Location Ventures also

         required to provide financial statements to certain

         financial institutions?

                   Decline to answer .

              Q    Wasn't it true that Location Ventures was

         required to provide financial statements

         Woodforest Bank in connection with a $5 million line
         of credit Location Ventures had with Woodforest?

                   Decline to answer .

                   And Woodforest Bank required that Location

   24    Ventures provide financial statements that complied

         with U .S . Generally Accepted Accounting Principles,



                             AM) Kapoor,
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 77 of 148




         or as 1 :11 refer to going forward simply as

         GAAP,'' correct?

                   Decline to answer .

                        the financial statements Location

         Ventures submitted to Woodforest Bank comply with

         U .S. GAAP?

              A    Decline to answer .

                   EKAMINATION

                   BY MR . HOUCHIN :

              Q    Did you know one way or the other whether

         the financial statements that Location Ventures

         submitted to Woodforest Bank     whether those

         financial statements complied with U .S . GAAP?

                   Decline to answer .

                   EXAMINATION

                   BY MR . CORTEZ :

              Q    Any financial statements that were provided

         to Woodforest Bank , were they reviewed by any outside

         accounting firm or auditing firm prior to being

         submitted to Woodforest Bank?

                   Decline to answer.

              Q    Mr. Kapoor, how would you respond to the

         allegation that only one set of financial statements

         submitted by Location Ventures to Woodforest Bank

         connection with Location Ventures' $5 million line of


                       9:54 AMq Kapoor,           Vol. 1 .20230822 .460473-M ...
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 78 of 148



                                                                          78

            credit complied with U .S . GAAP , and that was only at

            the insistence o
                           'f Greg Brooks , Location Ventures'

        '   former CFO?

    4                 Decline to answer .

                      MR . CORTEZ :     see it 's about 10 until

            noon . We 'd like to break for lunch . And then ,

            don 't anticipate there 's going to be a 1ot in the

            afternoon but we 'll finish up . You won 't be here

            until 5 :00 or 6:00 or anything like that .

                      So why don 't we       how much time do you

            think?

                      MR . HOUCHIN : Are you guys going to grab

            something relatively local?

                      MR . MILLER : Yeah . But give us enough

            time .

                      MR . CORTEZ : Why don lt we come back at



                      MR . HOUCHIN : 1 :00, 1 :05, something like

            that .

                      MR . MILLER : Okay .

                      MR . CORTEZ : So we lll resume at 1:00,

            So we lre going off the record at 11 :51 a .m . for

            lunch .

   24                  (Whereupon, a break was taken, at which

            time



                                      Kapoor ,
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 79 of 148



                                                                          79

                      Mr. Eric Busto exited the videoconference.)

                      MR . CORTEZ: So we are back on the record

         at 1 :05 p .m ., August 22nd .

                      BY MR . CORTEZ:

                Q         Kapoor, did you have any substantive

         discussions with anyone from the Commission staff

         during the break?



                Q     Mr. Kapoor, we were talking before we broke

         for lunch about Location Ventures ' financial

         statements and whether those statements comp lied with

               GAAP , particularly those statements that were

         required to be submitted to Woodforest Bank

         connection with the $5 million line of credit.
                      Do you recall whether any financial

         statements that Location Ventures provided

         Woodforest Bank also disclosed an approx imate

         $14 million loan that Location Ventures had made to
         Urbin , LLC?

                        decline to comment     or decline to

         an sw er .

                Q     ''Decline to answer'' is fine.

                      And do you recall it was -- it was termed

         ''an intercompany loan,'' that $14 million loan from
         Location Ventures to Urbin, LLC?



                        9 :54
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 80 of 148



                                                                          80

                    Decline to answer .

                    Why did Location Ventures lend 14 million

         to Urb in , LLC?

    4               Decline to answer .

                Q   Did Location Ventures get board approval to

         lend $l4 million to Urbin, LLC?
                    Decline to answer .

                Q       Location Ventures disclose to

         members that it was lending $l4 million to Urbin,
         LLC?

                    Decline to answer .

                Q   Was it at your discretion -- or excuse me.

          Let me strike that.        rephrase .

                    Was it at your direction to cause Location

         Ventures to make a $14 million loan to Urbin, LLC?
                    Decline to answer .

                Q   Can you tell us what the terms of that loan

         were?

                A   Decline to answer .

                    Do you know if any investors or members

         Urbin, LLC were aware of this $14 million loan at the
         time it was made from Location Ventures to Urb in ,

         LLC?

                    Decline to answer .

                Q   And as of July of 2023, prior to your



                       9:54     Kapoor,
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 81 of 148



                                                                          81

         removal as manager of Location Ventures , what was the

         remaining balance of this loan?

                   Decline to answer .

                   Mr . Kapoor,     I were to ask you any

         further questions concerning how investor funds from

         Location Ventures ' members were used , including if

         there were any transfers of those monies to Urbin ,

         LLC, any of its projects, you personally or others,
         including an approximately $l4 million loan to Urbin,
         LLC and whether the statements provided to Woodforest

         Bank were true and accurate and complied wiih U.S.

         GAAP , would you continue to assert your Fifth

         Amendment rights?

                   Yes .

              Q    During the time that you were manager of

         Location Ventures, what were the sources of Location

         Ventures ' revenue?

                   Decline to answer .

              Q                true that Locatlon Ventures only
         sources of revenue, aside from investor cap ital or

         loans, is from fees that Location Ventures or one of

         its subsidiaries charges in connection with the

         various projects?
                   Decline to answer .

              Q    Isn't       true some   those fees that have
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 82 of 148



                                                                          82

         been charged are developer fees, project management
         fees, marketing service fees , acquisition fees , loan

         guarantee fees, among other fees that have been

         charged while you were a manager at Location

         Ventures?

                     Decline to answer .

              Q      And the monies out of which those funds

         were paid, were those from investor capital , b0th at

         the project level and at the Location Ventures'
         level?

                     Can you just repeat that?
                     Yeah . The monies out of which Ehese

         different categories of fees were paid , were those

         monies from investor capital at the respective

         projects at the project level, in addition to at the
         Location Ventures ' level?

                     Decline to answer .

              Q      With respect to the timing of when certain

         fees were paid , did you decide when those fees

         were -- should be paid or charged on behalf of

         Location Ventures?

                     Decline to answer .

              Q      Were you the only person that decided the

   24    timing of the payment of these different categories

         of fees on behalf of Location Ventures?
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 83 of 148



                                                                          83

                   Decline to answer .

                   Were there instances in which you directed

         fees to be paid , prior to the time that they should

         have been paid, pursuant to the respective projects'
         operating agreement?

              A    Decline to answer .

                   For example, on August 2022, did you direct

         a two percent closing fee on the 1505 Ponce project
         totaling $640,000 prior to the date that the closing
         occurred , which was in November of 2022?

                   Decline to answer .

              Q            true that you directed Jorge -- Jorge

         Chirinos , controller of Location Ventures, to pay you

         fees directly to you rather than to Location Ventures

         subsidiaries, sponsor , or Location Ventures itself in

         the years 2021 and 20227

                   Decline to answer .

              Q    Have you directed others or otherwise

         controlled payment of fees directly for your benefit

         since 2018?

                   Decline to answer .

              Q    Prior to going on break for lunch, we spoke

         about monies that -- I asked you questions , rather,

   24    about monies taken out and that were directly paid
                                                      '/

         you in the years '20,        and 2022 .



                       9 :54     Kapoor,
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 84 of 148



                                                                          84

                         going to take a step back Gnd ask you ,

         if you know , since 2018 what is the total amount of

         money that has been paid to you directly from

         Location Ventures?

                    Decline to answer .

              Q     Okay .   Is the total amount in the millions

         of dollars?

                    Decline to answer .

              Q     For the budget for Location Ventures for

         2022, there 's a line item for wages .

                    Do you ever recall if that monthly number

         that goes from January to December was significantly

         higher for the month of August of 2022?

                    Decline to answer .

                    Okay . Did you happen, in August of 2022 ,

         to direct any bonuses or other monies to be paid to

         you or others at Location Ventures that were

         categorized as wages on Location Ventures' books and

         records?

                    Decline to answer .

              Q     In 2022 -- strike that.

                    In August of 2022, did you ever disclose

         additional payments made to you or to others at

         Location Ventures to the Location Ventures ' members

         at that time?
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 85 of 148



                                                                          85

                   Decline to answer .

                   And with respect to any payments made to

         you or others, in addition to your salaries for the

         month of August of 2022    did you obtain any

         approvals to make those payments from Location

         Ventures ' board of directors?

                   Decline to answer .

                       Kapoor,     I were to ask you any

         further questions concerning how the sources

         revenue for Location Ventures , including what types

         of fees are charged, and your control over when and

         how fees get paid , sometimes prematurely and other

         Eimes in excess of what is allowed in the projects
         respective operating agreements, including fees that

         you directed Chirinos and others to pay you

         personally , which totaled in the millions of dollars

         and which was not disclosed to any investors, would

         you continue to assert your Fifth Amendment rights?

                   Yes,

                   Mr . Kapoor, isn lt it true that there were

         different investment opportunities at Location

         Ventures' real estate projects versus at Location
         Ventures itself?

              A    Decline to answer .

              Q    For example, location -- investment at the
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 86 of 148



                                                                          86

         Location Ventures ' level was essentially an equity

         investment made by members whose interest was

         determined on a pro rata basis in consideration of

         other members , correct?

                   Decline to answer .

              Q    The investments in the respectiv: projects,
         or as I've been describing it Hat the project level,''
         was broken up into what the sponsor invested into the

         project versus what other investors would invest into
         a particular project, correct?
                   Decline to answer .

                   So, for example, you could have a project
         for which the sponsor contributed 20 percent equity ,

         and then the investors contributed , say , 80 percent

         of the remaining equity , correct?

                   Decline to answer .

              Q    And for each of the Location Ventures '

         projects, there was a sponsor, .
                                        which was a Location
         Ventures ' subsidiary , who acted as the manager for

         that particular project; is that correct?
                   Decline to answer .

                   And very generally speaking , for each

         project, once the project was completed and there
         wou ld be a TCO or temporary certificate of occupancy
                               /

         for that project, a1l liabilities would get paid off
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 87 of 148



                                                                          87

         at that point, including any outstanding loans,

         correct, for

                   Decline to answer .

                   Once all the liabilities got paid off and a

         TCO was provided for that particular project, then
         would the investors get their respective principals

         back that they initially put        plus a percentage of

         interest on that principal?

                   Decline to answer .

                   And sometimes         principal , on top of

         their initial equity contribution, would be referbed

         to as the ''hurdlei'l   that correct?

                   Decline to answer .

              Q    And then, after that was paid, any

         additional monies left over would be split between

         the investors and the sponsor , correct?

                   Decline to answer .
                                                      I
              Q         for example, if there was $500,000
         left , sometimes 250 would go to the 80 percent of

         investors and 250 would go to the sponsor, correct?

                   Decline to answer .

              Q    And in the example I gave you, even though

         the sponsor m ight have only put 'initially 20 percent

   24    equity , once the sponsor would get 250,000, because

         that was the sponsor's ''promotes' in other words,
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 88 of 148



                                                                          88

         that 's how the sponsor made money in each of the

         deals for the projects, correct?
                    Decline to answer .

                    The money that was left over after the

         respective investment principals were paid back and

         the percentage on top of that , this money that we lre

         talking about that was split between the investors

         and the sponsors, that was called     sometimes

         referred to as ''the waterfalli''   that correct?

                    Decline to answer .

              Q     For the specific projects, can you tell us
         how investment profits were generated for     at the

         project level?
                    Decline to answer .

              Q     You solicited investors for the various

         Location Venturesl projects, correct?
                    Decline to answer .

              Q     You communicated with investors for the

         projects via in-person meetings, correct?
                    Decline to answer .

              Q     You also communicated with investors for

         the Location Ventures' projects via telephone calls,
         correct?

                    Decline to answer .

              Q     You also communicated with investors for
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 89 of 148



                                                                          89

         the Location Ventures' projects via email, correct?
              A     Decline to answer .

              Q     You also communicated with investors for

         the Location Ventures' projects via text messages,
         Correct?

                    Decline to answer .

              Q     You provided investors or prospective

         investors for the Location Ventures' projects certain
         documents for each of the projects, correct?
                    Decline to answer .
                              l

                    You would provide an Operating Agreement to

         prospective investors or investors for each of the

         projects, correct?
                    Decline to answer .

              Q     You would also provide a pro forma budget

         for each of the projects to investors or prospective
         investors, correct?

                    Decline to answer .

              Q     On occasion, you would provide marketing

         materials or investment brochures to investors or

         prospective investors for each of the projects
         Location Ventures, correct?

              A     Decline to answer .

                    And these documents, the operating budget ,

         the pro forma        sorry -- the Operating Agreement,



                      9 :54        Kapoor,
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 90 of 148



                                                                          90

         pro forma budget, and marketing materials or

         investment brochures for a given project, you
         typically provided those documents either via email

         or in person , correct?

              A      Decline to answer .

                     With respect to the pro forma budgets for

         Location Ventures' projects, who at Location Ventures
         was responsible for putting those pro forma budgets

         together?

                     Decline to answer .

              Q      How were those budgets compiled?

              A      Decline to answer .

              Q      And you had a role in putting these budgets

         together , correct?

                     Decline to answer .

                     Now , how did you or others at Location

         Ventures verify the accuracy of these pro forma

         budgets?

              A      Decline to answer .

              Q      Mr. Kapoor, isnlt'it true that there were

         times when you and others at Location Ventures

         changed certain numbers or line items related to cost

         and expenses on the pro forma budgets before

         providing them to investors to make the projects
         appear more profitable?
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 91 of 148



                                                                          91

              A      Decline to answer .

                     Isn 't    true that you and others

         Location Ventures knew that certain pro forma budgets

             certain of the projects were not accurate with
         respect to expenses, revenues, profitab ility , and

         timeline for completion , correct?

              A      Decline to answer .

                     Do you know how many investors are in each

            the Location Ventures' projects, at least prior
         your removal in July of 2023 as manager of Locatâon

         Ventures?

              A      Decline to answer .

              Q      Do you know how mudh money you have raised

         from investors       1et me rephrase that .

                     Do you know how much money you and others

         have raised from investors who have invested in the

         Location Venturesï projects?
                     Decline to answer .

              Q      Mr. Kapoor,     I were to ask you any

         further questions concerning Location Ventures

         projects, including how you and others solicited
         investors for these projects, including what
         documents you provided to investors, what

         representations you and others made to investors, the

         accuracy of the pro forma budgets prov ided
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 92 of 148



                                                                          92

         investors, and how investor money was used for each

         of the projects, including what type of fees were
         charged per project, your control over when and how
         fees got paid, sometimes prematurely and other times

         in excess of what is allowed for the projects based
         on the respective operating agreements, would you

         continue to assert your Fifth Amendment rights?

                   Yes , sir .

                                 (SEC Exhibit No. 12 was marked

                                 for identification.)

                   MR . CORTEZ:        court reporter is handing

         you what has been marked as Exhib it 12, which is

         Bates stamped FL -4347 Kleyner LVLLC 0000225 and the

         last page ends

                   BY MR. CORTEZ:
                   Mr . Kapoor, this is the Amended and

         Restated Limited Liability Company Agreement of 551

         Bayshore Partners,         effective as of June 1st ,

         2022 .

                   Mr . Kapoor, who primarily was responsible

         for drafting this agreement?

   22              Decline to answer .

              Q                                         Location

   24    Ventures and 55l Bayshore Partners have a chance

         rev iew and negotiate any part of this agreement?
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 93 of 148



                                                                          93

                   Decline to answer .

                   The       under ''Recitals'' on the first page

         of this agreement, the second whereas clause says,

    4    HWhereas, Sponsor and Kleyner Inyestor entered into

         that certain Liability Company Agreement of the

         Company , dated effective as of January 15th ,

                   And then , the next whereas says, 'The

         Manager wishes to cause the Company        admit MICL

         Investor as an additional Member as more particularly

         set forth herein .u

                   Do you know, other than admitting MICL as

         ah investor into 55l Bayshore , are there any other

         changes to         agreement Versus the original one

         dated Janu.ary 15th, 2021?

                   Decline       ansWer .

                   And the 551 Bayshore Partners , LLC pertains

         to a p iece of real property located in Fort

         Lauderdale, Florida , cor/ect?

                      Decline to answer .

                      If you can , go to the page which is Bates

         stamp number ending 271, please . You 'll see that

         this is Exhibit A to this agreement , titled , HMembers

         Capital Contributions, Capital Commitments and

         Percentage Interest of the Members .u And it sort

         continues a little bit on to the top of the next
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 94 of 148



                                                                          94

         page , Bates stamp ending 272 .

                      this the current list of members for 551

         Bayshore , including their cap ital contributions and

         respective percentage interest, as listed here in

         Exhibit A?

                   Decline to answer .

              Q       you know if thereïs been any changes to

         the list of members for 55l Bayshore or their capital

         contributions, as set forth here in Exhibit A?

                   Decline to answer .

                   Okay . Now , if you can turn to earlier in

         the agreement, it 's page 14 of the agreement at Bates

         stamp number ending 238 . I 'd like to direct your

         attention to ''Article 5. Distributions and

         Allocations.'
                     ' And Article 5 .1, titled

         ''Distributions,'' has a number of subsections that

         provide a schedule of how available cash shall be

         distributed to members for the 55l Bayshore project.
                   Without going subsection by subsection, can

         you confirm if this schedule is consistent with what

         I asked you earlier , which is sort of the ways in

   22    which members get paid the principal, plus a certain

         percentage on top , plus profit allocations to the

         members and the sponsors thereafter upon completion

         of a project?
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 95 of 148



                                                                          95

                    Decline to answer .

                    And there have not been any distributions

         at all pursuant to Article 5.l of this agreement to

         date , correct?

                    Decline to answer .

              Q     Now, if you can turn to page 32 of the

         agreement .       Bates stamp number ending

         like to direct your attention to Article 8 .3, titled

         ''Fees and Agreements with Members and A ffiliates .n

                    This Article discusses the different

         categories of fees that may be charged, including

         specific amounts of fees to be charged for this

         project,      Bayshore, correct?
                    Decline to answer .

              Q     With respect to these fees in the category,

         ''Feesz'' listed in Article 8.3, where does the money

         come from to pay those fees for this project?
                    Decline to answer .

              Q     Were the fees charged    excuse me. Did

         the money to pay these fees come from members '

         investment funds or capital contributions to this

   22    project?
                    Decline to answer .

                    To date, the property at 55l Bayshore --

         there 's been no closing on 'the property as of today ,
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 96 of 148



                                                                          96

         correct?

                    Decline to answer .

              Q        there an option to close on the property

         for which extension fees have been paid to keep that

         option available for 55l Bayshore?

                    Decline to answer .

              Q     Development fees have been paid on this

         project, correct?
                    Decline to answer .

              Q     Marketing fees have been paid on this

         project?
                    Decline to answer .

              Q     Where -- and this is for all of the

         different categories of fees listed in Article 8 .3 .

                    What account do those fees get paid to?

                    Decline to anpwer .

                    Were you the person that initiated when the

         fees were paid?

                    Decline to answer .

                    You were the person that initiated the

         amount of fees to be paid on a periodic basis?

                    Decline to answer .

              Q     For    with respect to 551 Bayshore, do you

   24    know approximately the total amount of fees that have

         been paid to date?
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 97 of 148



                                                                          97

              A    Decline to answer .

              Q    Do you know if the total amount of fees

         paid to date exceed the various amounts listed here

         in Article 8 .3 of the agreement?

              A    Decline to answer.

              Q    When fees were paid for 551 Bayshore, did

         you or others disclose to the members of 55l Bayshore

         that these fees were being paid?

              A    Decline to answer.

              Q    Have there been any fees that have been

         paid that are not listed here in Article 8 .3?

              A    Decline to answer.

                   I think you mentioned there have been

         extension fees paid , correct?

                   Decline to answer.

              Q    And extension fees, I can represent

         are not listed in Article 8.3 .

                   These same investors or members that we

         looked at on the schedule, those are the same

         investors for the 1505 Ponce project, correct?
                   Decline to answer.

                   And are you aware that Location       the

         sponsor of Location Ventures, its interest was

         recently sold in connection with the 1505 Ponce

         project, correct?
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 98 of 148



                                                                          98

               A    Decline to answer .

               Q    And that interest was split amongst MICL on

         the one hand , and Alex Kleyner and Diana Ulis on the

         other hand, correct?

                    Decline to answer .

               Q    Mr. Kapoor,    I were to ask you any

         further questions concerning Location Ventures '

         projects, including specifically 551 Bayshore or 1505
         Ponce and how fees werd charged for either of those

         projects, including what types of fees were charged,
         the control over when and how fees got paid ,

         sometimes prematurely and other times in excess of

         what is allowed for 55l Bayshore and the other

         projects based on the respective operating
         agreements , would you continue to assert your Fifth

        'Amendment rights?



               Q        Kapoor,     like to turn now

         know we 've been speaking a lot about Loeation

         Ventures and its projects. I'd like to turn,
         specifically , now to ask you some questions

         coycerning Urbin, LLC and its projects.           again,
         just as I think I stated earlier on the record,
         jubt refer to Urbin, LLC as Hurbin,'l     that makes

         sen se .
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 99 of 148



                                                                          99

                     How does Urbin, as a company , differ from

         Location Ventures?

                     Decline to answer .

                     Urbin has its own business with its own set

         of investors, correct?

                     lecline to answer .

              Q      Location Ventures is an investor in Urbin z

         LLC, correct?

                     Decline to answer .

                     And Location Ventures has an approximately

         40 percent ownership interest in Urbin , correct?

                     Decline to answer .

                     And isn 't it true that Urbin did not and

         currently does not have its own separate employees?

                     Decline to answer .

                     M d    and while you rkere the manager at

         Location Ventures, Urbin didn 't have a separate group

         of management from that of Location Venturesr

         correct?

                     Decline to answer .

   21                While you were the manager of Location

         Ventures,                 that you also controlled the

         opëration of Urbin, LLC and its projects?
   24                Decline to answer .

                     An8 isn 't it also true that Location
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 100 of 148



                                                                          100

          Ventures ' employees also worked on Urbin matters?

               A    Decline to answer .

                    That Location Ventures employees performed

     4    work for Urbin, LLC and the Urbin projects, correct?
                    Decline to answer .

               Q    And is it true that there are currently

          only three Urbin projects, which are: Urbin Coconut
     8    Grove , Urbin Miami Beach , b0th Phase l and 2, and

          Urbin Coral Gables, correct?

                    Decline to answer .

               Q    And none of those projects are completed to
    12    date , correct?

                    Decline to answer .

                    Actually , work has stopped both on Urbin

          M iami Beach as well as Urbin Coconut Grove, correct?

                    Decline to answer .
                                                      L
               Q    And currently, Urbin Coral Gables was and

          has been in a preplanning phase , correct?

               A    Decline to answer .

    20              Are the investments in the Urbin projects
          set up in a similar way to the investments in the

    22    Location Ventures projects?
                    Decline to answer .

                               (SEC Exhibit No. 13 was marked

                                   identification.)
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 101 of 148



                                                                          101

                    BY MR . CORTEZ :

               Q    Mr . Kapoor, you ïve been handed what has

         been marked as Exhibit 13.      It 's Bates stamped

         LVO001001O and it goes to 89.

                    Oh actually, I'm sorry . I think I gave you

          the wrong document.

                    This is 1505.

               Q    I apologize .      gave you the wrong exhibit.

           I apologize . Too many agreements as exhibits.

         got them confused .

                    So I previously handed you the wrong

         exhibit, Mr . Kapoor . So let me, if I could , restart .

                    So now I 'm handing you what is the correct

          exhibit, which has been marked Exhibit l3 . This

          correct exhibit that I wanted to show you , Exhib it

              is Bates stamped LV000l0800 and goes to 843 .

          This is the Amended and Restated Operating Agreement

          of Urbin Coconut Grove Partners,             has an

          effective as of January 1st , 2022 .

                    Mr. Kapoor, who was primarily responsible

          for drafting this agreement?

                    Decline to answer .

               Q    Did you or anyone on behalf of Urbin have a

   24     chance to review and negotiate any part of this

          agreement?



                                    Kapoor,
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 102 of 148



                                                                         1O2

                A        Decline to answer .

                Q        If you could turn to the page that has the

         Bates stamp ending 832, please . And this is Exhibit

         A to the agreement Schedule of Members as of the

         effective date that provides their name and addresses

         and then their initial capital contribution ,

         membership units , and percentage interests.

                         Are these the current .members of Urbin

         Coconut Grove that 's listed here in Exhibit A ?

                         THE WITNESS: Can I just have a second to
          ask my attorneys?

                         MR . MILLER : Can we step

                         MR . CORTEZ : Do you want to go Off the

          record fOr a Second?

                         MR . MILLER : Yep .

                         MR. UORTEZ: So welll go off the record at
          1 :45 p .m .

                         (Whereupon, a break was taken.)
                         MR . CORTEZ: So we ïre back on the record

          1:47 p .m .

                         BY MR . CORTEZ :

                Q              Kapoor, did you have any substantive

          discussions with anyone from the Commission staff

          during the break?

                         No.
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 103 of 148



                                                                         103

                   Okay . So before I asked you -- with

         respect to the Urbin Coconut Grove Partners Operating

         Agreement, we were looking at Exhibit A , the Schedule

            Members as of the effective date .

                   I just asked you if you could confirm that
         these are the current members or still the current

         members of Coconut      of Urbin Coconut Grove?

              A    Decline to answer .

                   Have there been any additions to this list

         of members to Urbin Coconut Grove?

                   Decline to answer.

              Q    The members that #ou see here, that
         lists for each their initial capital contribution as

         well as their membership units, have those amounts

         changed for these members since the time of this
                      r
                      /
         agreement?

              A    Decline to answer .

              Q       If you could turn to the page with Bates

         stamp number ending 812 .       like to direct your

         attention to ''Article B. Distributions .n

                   And it states in Article

         ''Distributions. Subject to the repayment of
         Member Loans in accordance with Section 4 .2, the

         Members shall be entitled to Distributions of

         Distributable Cash Flow and net proceeds from the
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 104 of 148



                                                                         104

         liquidation and winding up of the Company , in

         accordance with the following provisions .''

                     And so , Section A talks about ''Non -

         Liquidating Distributions.'' And the second sentence

         says, ''All Distributable Cash Flow shall be

         distributed to the Class A and Class B Members,- pro

         rata, based on their then respective Percentage

          Interests .'l

                     Had there been any distributions made to

         either class        non -liquidating distributions, have

         those been made to either Class A or Class B members ,

         to your knowledge?

                     Decline to answer .

               Q          you could, turn to the page that

         Bates stamped number ending 817, please . And I 'd

         like to refer you

          uCompensation of the Managers and Officers

          Contracting with Affiliates.''

                     Article 7 .5 lists certain fees payable to

         Urbin , LLC as the sponsor or its affiliates . As you

         can see,         lists developer fees of $2,750',000 paid
         pro rata monthly over 24 months .         lists an

          acquisition fee of 400,000 paid at closing .        lists

         marketing fees of $282,000, a loan guarantor fee on
          any recourse loan for acquisition , construction ,
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 105 of 148



                                                                          105

          and/or permanent financing not to exceed three
         percent of the guaranteed amount, and a property

         management fee of four percent of gross revenue .

                    Has Urbin, LLC, as the sponsor of the Urbin

          Coconut Grove project, charged fees consistent with
         Article 7.5?

                    Decline to answer .

               Q        addition to these fees that I just
          summarized for you that are detailed in Article

          there were other fees that were paid by Urbin Coconut

          Grove that are not listed in this article, correct?

                    Decline to answer .
                                     l

                    For example, Urbin Coconut Grove has paid

          over $1 million in loan extension fees, correct?
                    Decline to answer .

                    And over the time that these extension fees

          were paid , neither you nor anyone on behalf of Urbin

          Coconut Grove disclosed these payments to

         members, correct?

                    Decline to answer .

                    The approximately $14 million loan that
          Location Ventures provided to Urbin , LLC that we

          discussed earlier, part of that money went to Urbin

          Coconut Grove , correqt?

   25               Decline to answer .
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 106 of 148



                                                                          106

                      Do you know when Urbin , LLC started paying

          back that $14 million loan to Location Ventures?
                      Decline to answer.

                      Do you know how much of the principal

          amount of that $l4 million has been paid back to

          date?

                      Decline to answer .

     8                Do you know what sources of funds or money

     9    were used by Urbin, LLC to partially repay this

          $14 million loan back to Location Ventures?
                      Decline to answer .

    12                Did Urbin , LLC use any monies

          investor capital contributions or monies provided to

          investors from one or more of the Urbin projects?
    15                Decline to answer .

    16                In 2022 , Urbin Coconut Grove received

    17    customer sales deposits from the Chicago Title Escrow

    18    Company, correet?

    19                Decline to answer .

    20                And isn 't it true that you signed a release

    21    form to get those deposits released , which you

    22    represènted were going to be used for allowable

    23    construction costs, correct?

    24            A   Decàine to answer .

    25            Q   And out of those customer sales deposits,
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 107 of 148



                                                                         107

         which were released from Chicago Title Escrow

         Company, you directed over one million of those

         customer deposits to be used for the 1505 Ponce

         project, correct?
              A     Decline to answer .

              Q    And isn't it true that out of those

         customer deposit receipts you used more than one

         million of those for costs other than construction

          costs related to Urbin Coconut Grove?

                    Decline to answer .

              Q     And at the time you used the customer sales

         deposits or condominium buyer deposits for non-urbin

          Coconut Grove costs , you knew using those funds for

          those purposes was improper , correct?

                    Decline to answer .

                    And you knew this because Greg Brooks

          refused to sign the release himself, and that is why

          you signed the authorization to release the funds

          from the Chicago Title Escrow Company , correct?

                    Decline to answer .

                    Mr . Kapoor , you 've also personally been

          paid fees from the Urbin projects, correct?
                    Decline to answer .

    24              For example, Urbin Coconut Grove paid you

          $120,000 in November 2022 and $100,000 in December of
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 108 of 148



                                                                         l08

         2022 for loan guarantee fees; is that correct?

                     Decline to answer .

                 Q   And these loan guarantee fees did not go to

         the sponsor Urbin , LLC, but instead , were directly

         paid to you, correct?

                 A   Decline to answer .
             l

                 Q   Mr . Kapoor , similar to certain of the pro

         forma budgets for the Location Ventures

                     THE COURT REPORTER :      sorry . Certain

         other?

                     MR . CORTEZ: Certain of the -- 1 111 start

          again .

                     BY MR . CORTEZ:

                 Q   Similar to the pro forma budgets for

          certain of the Location Ventures' projects, you and
          others knew that the pro forma budgets for the Urbin

         projects were not accurate with respect to expenses,
          revenues , profitability , and timeline for completion ,

          correct?

                     Decline to answer .

                     EXAMINATION

                        MR. HOUCHIN :

                 Q   At the time thoseepro forma budgets were

          given to investors or prospective investors, did you

          know the information contained in those pro forma
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 109 of 148



                                                                         109

         budgets were inaccurate?

                    Decline to answer .

                    EXAMINATION

                    BY MR . CORTEZ :

                    Again, going back to the Coconut Grove

         Urbin Coconut Grove project. At the time you were --
         you or others were soliciting investors to invest in

          the Urbin Coconut Grove project, had a guaranteed
         maximum price contract been entered into?

                    Decline to answer .

               Q    Mr . Kapoor, how would you respond to the

          allegation that the amount of the guaranteed maximum

         price contract communicated to prospective investors

          was actually less than the amount that had been

          agreed to with the contractor?

                    Decline to answer .

                    When presenting the Urbin Coconut Grove

          project to prospective investors, including to Cliff
          Losh , Eduardo Muller, and Helene Lindenfeld , did you

          tell them that obtaining construction financing would

          not be a problem or that obtaining construction

          finance was imminent at the time you were soliciting

          their investments?

                    Decline to answer .

                    And at that time did you also represent
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 110 of 148




         that Urbin Coconut Grovç had applied for and obtained

             necessary permits for the project to be developed
         and constructed?

                   Decline to answer.

                    Mr . Kapoor, how would you respond

         allegation that at the time you represented to

         Mr . Losh , Mr . Muller, or Ms . Lindenfeld that Urbin

          Coconut Grove had app lied for and obtained the

         necessary permits for the project to be constvucted
          and built , you knew that that representation was

          false?

                    Decline to answer .

                    Isn 't it a fact that at that time Urb in

          Coconut Grove had not obtained -- had not applied for

          or obtained the permits necessary to obtain

          construction financing?

                    Decline to answer .

               Q    And is it true that Urbin Coconut Grove had

          not obtained the permits necessary for the project to
          be developed, built, or constructed?

                    Decline to answer .

               Q    Winmar Construction was the general

          contractor for Location Ventures and/or the Urbin

          projects, correct?
    25              Decline to answer .
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 111 of 148



                                                                          111

               Q     Isn ït it true that you entered into an

         agreement with Winmar to have either Location

         Ventures, Urbin and/or the respective projects pay
         Winmar employees or workers directly rather than

          Winmar pay ing them itself , correct?

                     I 'm sorry . Can you say that again?

               Q     Isn ît it true that you entered

          agreement with Winmar to have either Location

          Ventures, Urbin and/or any of
                                      3
                                        their respective
          projects pay Winmar employees directly rather than
          Winmar paying them -- their employees itself?

                     Decline to answer .

               Q     And this arrangement was not disclosed to

          Location Vèntures or Urbin members or investors,

          correct?

                     Decline to answer .

               Q     Mr . Kapoor, if I were to ask you any

          further questions concerning Urbin , LLC ,

          projècts, including specifically Urbin Coconut Grove,
    20    Urbin M iami Beach Phase 1 and Phase 2, and Urbin

          Coral Gables, and how fees were charged for each of

    22    these three projects, including what types of fees
          were charged, your control over when and how fees get

    24    paid, sometimes prematurely and other times in excess

    25    of what is allowed for these projects based on the
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 112 of 148




         respective operating agreements, and investor money

         being used to pay back other investors, and the loan

          from Location Ventures, and the lack of permits

         obtained for Urbin Coconut Grove and Urbin Miami

         Beach , would you continue to assert your Fifth

         Amendment rights?

                     Yes,

               Q     Welre finished with that exhibit.

                     In mid-luly of 2022 , Location Ventures

          started using a third-party payroll company named

          Regis to prov ide payroll services to Location

          Venùures' employees, correct?
                     Decline to answer .

               Q     And prior to Regis prov iding these payroll

          services to Location Ventures in mid-luly of 2022,

          Location Ventures handled payroll for its employees

          internally, correct?

                     Decline to answer .

               Q     Location Ventures used a bank account

          the name of Location Ventures Resources, LLC for its

    21    payroll, correct?

                     Deèline to answer .

    23         Q     Prior to the company using Regis, who at

    24    Location Ventures was responsible for handling

    25    payroll?
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 113 of 148




                     Decline to answer .

              Q          you have any involvement?

                     Decline to answer .

                     With respect to those individuals that

         worked àt          Location Ventures, there were

         certain employees that were treated as independent

          contractors, correct?

                         sorry . Can you say that one more time?

              Q      With respect to the individuals that worked

          for -- provided work for Location Ventures, certain
          of tho:e people were treated as independent
          contractors, correct?

                     Decline to answer .

               Q     And those employees that were treated as
          independent contractors were considered the more

          senior level employees at Location Ventures,

          sometimes referred to within the company as the ï1C-

          suite employees,'' correct?

               A     Decline to answer .

                     And then the rest of the people working

          Location Ventures were treated as W -2 employees,

    22    correct?

                     Decline to answer .

    24         Q     Prior to using Regis, Location Ventures
                        1
          deducted federal payroll taxes out of employees'
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 114 of 148



                                                                         ll4

         paychecks , correct?

                   Decline to answer .

              Q    And prior to using Regis, Location Ventures

         deducted Florida payroll taxes out of employees '

         paychecks , correct?

                   Decline to answer .

                   Desp ite deducting federal payroll taxes out

            employees ' paychecks, Location Ventures never

         remitted these payroll taxes to the IRS for years

         2017 through 2012 --(through July 2022 prior to Regis
         coming -- prior to the company using Regis?

                   Decline to answer .

              Q    And despite deducting Florida payroll taxes

             of employees ' paychecks , Location Ventures never

         rem itted Florida payroll taxes to the Florida 's

         Department of Revenue for years 2017 through 2022,

         prior to the company using Regis?

                   Decline to answer .

              Q    This money that was deducted from

         emp loyees ' paychecks during this time was used for

         nontax related purposes, correct?

                   Decline to answer .

                   And the total amount of mbney owed

         IRS and Florida is approximately l .4 million , not

         including interest or any potential penalties that
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 115 of 148




         either agehcy may assess, correct?

               A         Decline to answer.

               Q             Kapoor,        I were to ask you any

         further questions concerning payroll taxes for

         Location Ventures ' employees, including the amounts

         that it deducted from employees' payroll checks from

         2017 through July 2022, the time prior to Regis '

         engagement as a third party payroll provider , and how

         much money was remitted to the IRS and/or the State
         of Florida , and what you or others did with the money

          deducted from employees' payroll checks but not

         remitted to the IRS or State of Florida , would you

          consider to assert your Fifth Amendment rights?



                         MR . CORTEZ:       would like to take a five -

          minute break ,         that 's okay?

                         MR . MILLER :   Sure .

                         MR . CORTEZ:       don 't think we have much

          left,

                         So we rre off the record at 2 :06.

                         (Whereupon, a break was taken.)
                         MR . CORTEZ : So we lre back on the record at

          2 :15 p .m .

                         BY MR . CORTEZ :

                Q        Mr. Kapoor, did you have any substantive
    Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 116 of 148
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i

                                                                             116

        1    discussion: with anyone from the Commission staff

        2    during the break?

        3         A           No .

        4         Q           All right. I just had a couple more
        5    questions , and then, I think John had a few .

        6                'Going back to the various fees we discussed

        7    with respect to any extension fees that were paid
                                                                                           l

         8    for -- to extend closing dates/'or extension fees

         9    to -- that were paid to extend loan payment dates,

       10    were those fees re.corded in the books and records for

        11    Location Ventures, Urbin and/or any of the respective

       12    projects?
        13        A           Decline to answer .

        14         Q          And to the extent that those fees were

        15    recorded at the project level, did those fees then
        16    get consol
                      1 idated onto the books and records either at

        17    Location Ventures or for Urbin , LLC?

        18         A          Decline to answer .
                       ...*

        19                    EXAMINATION

        20                    BY MR . HOUCHIN :

        21         Q          Mr. Kapoor, who had ultimate authority

        22    regarding the approval of the content of the pro

        23    forma budgets for Location Ventures that were given

        24    to prospective investors?

        25         A          Decline to answer .


                                                    h
               (8/22/2023 9:54 AMJ Kapoor, Rishi - Vol. 1.20230822.460473-M...
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 117 of 148




                    Was that you?

                    Decline to answer .

                    Who had ultimate authority with respect to

          the content of the pro forma budgets,        respect

          the individual projects that were given to
         prospective investors?

              A     Decline to answer .

               Q    Was that you?

                    Decline to answer .

                    Who had ultimate authority to approve the

          content of Location Ventures ' annual budget?

               A    Decline to answer .

               Q    Was that you?

    14              Decline to answer .

    15         Q    Who had ultimate authority to approve the

          content of each of the respective Location Ventures

          or Urbin project level annual budgets?
                    Decline to answer .

               Q    Was that you?

                    Decline to answer .

    21              When investors would pose questions with

          respect to Location Ventures ' investments , either at

          the parent level or at the project level, or with
    24    respect to Urbin or an Urbin project level, who was
          tasked with responding to or answering those
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 118 of 148




         questions?

                    Decline to answer .

               Q    Did you play any role in responding or

          answering to those questions from investors?

                    Decline to answer .

               Q    Did you screen or edit proposed responses
                                           )
          to investors ' questions?

                          sorry . Can you say that again?

                      Sure . Did you screen or edit any proposed

          responses to the investors that submitted questions

          with respect to their investments?

                      Decline to answer .

                      Okay . Thank you .

                      EXAMINATION

                      BY MR . CORTEZ :

    16                A few more questions . We asked you earlier

          about people being hirèd or otherwise paid,

    18    entities being paid to assist Location Ventures

    19    and/or Urbin in soliciting investors for their

    20    various projects or for their respective, you know,
    21    parent company Urbin , LLC and ,
                                         Location Ventures .

    22                   it true that you , on behalf of Urbin ,

    23    LLC , entered into        well, strike that .

    24                Is it true that you, on behalf of Urbin ,

               made monthly payments to Mayor Francis Suarez
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 119 of 148



                                                                         l19

         for him to assist in finding and/or soliciting
         prospective investors for Urbin , LLC and its

         projects?
                      Do you mind just restating?
                      Yes . Is it true that you , on behalf of

         Urbin, LLC and its projects, paid Mayor Francis
         Suarez to introduce prospective investors for Urbin ,

          LLC and/or its projects?
                      Decline to answer .

                      Okay . Is it true that you hired and paid

          other       excuse me . Not hired .

                             true that you paid other people or

          entities to assist with soliciting investments

          related to Location Ventures and its projects?
                       Decline to answer .

                       Since you were removed as manager on July
           1
          14th , 2022 from Location Ventures, have you had any

          role in business operations since then of Location

          Ventures?

                       Decline to answer .

                       Do you have any role in the business

          operations of Urbin, LLC?
                               l
                       Decline to answer .

                  Q    Have you been in communications with those

          that are still working at Location Ventures and
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 120 of 148



                                                                         120

         overseeing the business operations of the company?

                       Dec line to an'swer .

               Q       Have you been in communication with those

         that are working at Location Ventures, LLC that are

         working on Urbin-related matters?

                       Decline to answer .

                       Have you been in communication with Vivian

         Bonet in her role as overseeing the business

         operations of Urbin, LLC and its projects?
                       Decline to answer .

                       Mr . Kapoor, have you spoken with anyone

         other than your counsel regarding this investigation?

                            sorry . Can you say that one more time?

               Q       Have you spoken with anyone other

          take it again .

                       Have you spoken with anyône, other than

         your counsel and your wife, regardinp this

          investigation?

                       MR . MILLER :           allow him to answer the

   20     question yes

                       BY MR. CORTEZ :

               Q       Do you want me to repeat the question?

                       MR . MILLER : Do you need him to repeat it?

    24                 THE WITNESS : Please .

                   .   BY MR . CORTEZ :
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 121 of 148




                         Have you spoken with anyone , other than

         your counsel or your wife, regarding this

         investigation ?

                         Yes .

                         And who have you spoken to?

                         MR . MILLER :      a little bit concerned

         aboût priv ilege issues here . You want to give us a

         minute to confer with Ross?

                         MR . CORTEZ : Sure . So we Ill go off the

         record at 2:22 p .m .

                         (Whereupon, a break was taken.)
                         MR . CORTEZ : So wefre back on the record at

          2 :25 p .m .

                         BY MR. CORTEZ :

                Q        Mr. Kapoor, did you have any substantive

          discussions with anyone from the Commission staff

          during the break?



                         Prior to the break I asked you , other than

          your counsel and your wife , have you spoken with

          anyone regarding this investigation . You answered ,

          '1Yes ,ïl and I asked # I
                                  'Who? 1
                                        :

                         And then , 1 111 1et you answer from there .

                         Yep . So we had a meeting with our general

    25    counsel and team members once, that I can remember ,
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 122 of 148



                                                                          122

         where we talked about the investigation .

               Q    'lGeneral counsel'' being Romny (sic) Kapoor?

                    ROW '
               Q    And other employees at Location Ventures?

                    Yes .    select group of them .

               Q    Do you remember who they were? Just by

          name only , if you can list them .

                        MILLER : You can answer that .

                    THE WITNESS:       recall it was DJ, Claudia,

         V ivian , Jorge , Angel, Frank , Joanna .    can 't think

          if there was somebody else that was there, but, you

          know, just members of our leadership.
                    BY MR . CORTEZ :

               Q    So just -- wien you say HDJ,H DJ Motha?
                    Yep .

               Q    Jorge Chirinos?

                    Yes .

    18         Q    Vivian Bonet? Claudia Mezerhane,.;

                    Yeah .

               Q    Frank Astor?

                    Yep .

               Q    Angel Garcia?

                    Yep .

    24         Q    Anyone else?

                    MR . HOUCHIN : Joanne .
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 123 of 148



                                                                          i23

                      BY MR . CORTEZ :

                      Oh . Joanne Davilla?

                      Yep .

                      EXAMINATION

                      BY MR . HOUCHIN :

                  Q   Do you recall approximately when that

          meeting took place?

                      MR . MILLER : You can answer that .

     9                THE WITNESS : It 's -- it îs been -- months

          have blended together .' So excuse me , but some montt
                                                               hus

          ago .

                      BY MR . HOUCHIN :

                      Just wondering to put some context to

                      Yeah . Couple of months ago .

    15            Q   Okay . Thank you .

    16                EXAMINATION

    17                BY MR . CORTEZ :

    18            Q   Have you spoken with anyone, other than

    19    your counsel or your wife , regarding your appearance

    20    here today?

    21                MR . MILLER : You can answer that.

    22                THE WITNESS : My counsel or my wife?    Yeah .

    23            just trying to think. I want to answer
    24    properly . Yes . Yeah .

    25                BY MR . CORTEZ :
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 124 of 148



                                                                          124

                    And who are those people?

                    THE WITNESS:      can answer?

                    MR. MILLER: (Nod in the positive.)

                    THE WITMESS: Judge Fine knew I was going
          to be here today.        just thinking.   think
            didn 't discuss it with anybody else.     think just
          Judge Fine, and I can 't remember anybody else .

                    BY MR . CORTEZ:

                    And do you know anyone else who has been

          subpoenaed or has testified?

                    I 'm sorry .   want to correct myself.

          talk to DJ regularly . So he knew that I was going to

          be here today .

                    So Judge Fine and DJ Motha

                    Yeah .

               Q       knew that you were testifying here

          today?

                    Yeah .

               Q    And anyone else that you can recall?

               A    I can ït -- I can ït remember accurately , but

    21    I'm pretty sure it was just the two of them.
    22              Okay . And do you know anyone else who has

    23    been subpoenaed or have testified in this

    24    investigation?

    25                 subpoenaed and testified?    Or break
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 125 of 148



                                                                         125

         up?

                              let me break it up .

                    Do you know anyone who has been subpoenaed

          in this inyestigation?
                    MR . MILLER : You can answer that .

                    BY MR . CORTEZ :

               Q    And if so, you can just list the names.
                    Yeah . DJ , Vivian , Jorge, and Angel .

          That 's all I know that have received subpoenas .

               e    And what about anyone that has testified ih

          this investigation?

                     I 'm unaware .

                     Okay .

                     MR . CORTEZ: Did you have any further

          questions?

    16               MR. HOUCHIN: (Shake in the negative.)

    17               BY MR . CORTEZ :

    18                    Mr . Kapoor, we have no further

    19    questions at this time . However , in the future we

    20    may wish to call you again to testify in this matter.

    21         this is necessary , we bll contact your counsel .

    22               Mr . Kapoor , do you wish to clarify any

    23    statement you have made today ?

                       Not that I can think of .

                Q    And do you wish to add anything to more
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 126 of 148



                                                                            126

         comp letely respond to any statements you have made

         here today?

                         No .

                         MR . CORTEZ:       Miller , Mr . Linzer , do you

         w ish to ask Mr . Kapoor any clarifying questions?

                         MR . MILLER : Just give a minute to confqr .

                         MR . CORTEZ : Okay . So off the record at



                         (Whereupon, a break was taken.)
                         MR . CORTEZ : So we lre back on the record at

          2 :33 p .m .

                         BY MR . CORTEZ :

                                Kapoor, did you have any substantive

          discussions with anyone from the Commission staff

          during the break?

    16                   No .

    17                   MR . CORTEZ: Mr . Miller , Mr . Linzer, prior

    18    to going on break we asked if you wish to ask

    19         Kapoor any clarifying questions?

    20                   MR . MILLER : Mr . Kapoor has two things he ld

    21    like to clarify from prior answers . So go ahead .

    22                   THE WITNESS :      forgot that Ray Gonzalez

    23    was at that senior meeting that I talked about . And '

    24    then ,    forgot            Claudia had also received a

          subpoena that I knew about then .
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 127 of 148



                                                                         127

                    MR . CORTEZ: Okay .

                    THE WITNESS:

                    MR . MILLER : Nothing further .

                    MR . CORTEZ : Nothing further?

                         right. Well, we have nothing further

         either . So we thank you for your time and for coming

          in this     today to Brickell. And if we do have any

          follow -up , we fll reach out to your counsel .

                     So with that we are off the record at

          2 :34 p .m ., Tuesday, August 22, 2023 .

                     (Whereupon, at 2:34 p.m., the examination

          was concluded.)
                                     *




    22



    24
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 128 of 148



                                                                         12 8

                             PROOFREADER 'S CERTIFICATE



          In The Matter of:      LOCATION VENTURES, LLC

         Witness :               Rishi Kapoor

          File No .              FL-O4347-A

          Date :                 Tuesday , August 22 , 2023

          Location :             Miami, Florida



     9                 This is to certify that 1, Carol E . Amato ,

          (the undersigned), do hereby certify that the foregoing

          transcript is a compàete, true, and accurate

          transcription of al1 matters contained on the recorded

          proceedings of the investigative testimony .




                                              9/5/2023
    17    Carol E . Amato                     Date

    18

    19

    20

    21

    22

    23

    24
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 129 of 148




                                     REPORTER 'S CERTIFICATE



                 STATE OF FLORIDA

                 COUNTY OF BROWARD


             6                  KELLY A . PRICE, Certified Reporter, certify

                 that         authorized to and did stenographically report
             8          foregoing proceedings and that the transcript is

             9 true and complete record of my stenographic notes.



                              Dated August                    2023.



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                                                                 NQi
            17

            18




            21
    Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 130 of 148

                                               TranscriptW ord Index
'
    1& -300,0001
                   &             1134                        2,750,000                   2022
                                   73:8                         104:21                     3:12 54:10 56:20 57:6,12
    &                            1161                        2:06                          57:17 60:20 61:24 62:3
        2:17                       46:2,3                       115:20                     66:4 67:10,25 68:9,12,17
                  0              1162                        2:15                          68:20,24 69:15,24 70:11,18
    0000225                        46:5                         115:23                     70:237, 1:6,12,17 72:2,6
      3:18 92:13                 1163                        2:22                          74:6 83:7,10,16,25 84:10
    0001101                        46:5                         121:1o                     84:13,15,21,22 8s:4 g2:19
      3:1145:6                   1164                        2:25                          1o1:19 106:16 107:25
    0004657                        62:7                        121:j3                      108:1 112:g,15 114:10,10
      3:14 70:4                  1165                        2:31                          114:46 115:7 119:17
    04347                          62:9 65:12                  126:8                     2023
      1:4 6:6 128:5              1174                        2:33                          1:134:3 29:16,24 30:6,16
                  1                45:7                        126:11                      56:8 61:166:580:2591:10
    j                            12                          2:34                          127:10 128:6 129:11
      1:8 3:7 6:20,21,25 7:6       3:15 54:8 92:9,12            127:10,11                21
        36.1619,23,2337:13,17
          % I
                                 120                         20                             83:24
                                                                                                /'

        68.2469:1071:1372:6
        100:8 1os:14 111:20
                                   73:1274:1,11
                                 120,000
                                                               4.
                                                                9:783:
                                                              200
                                                                     2586:1387:23        221:13 51:3 127:10 128:6
    1 a28 00c                       107:25                      2:18 5:13                  129:11
     # 70:  l
            25                   129                          2002                       22nd
    1 122                           1:8                         15:19                      4:3 48:17 79:3
       3:21                      13                           2006                       23
    j4                              3:1933:6 100:24 101:3,14    16:5                       51:16,17
       114:24                       101:16                    2009                       238
    1:00                         14                             16:6,14 17:4               94:13
       78:17,18,21                  56:8 79:18,24 80:2,6,9,15 2010                       24
    j:cs                            80:2181:994:12 105:21       18:14,15                   55:22 104:22
       78:18,21 79:3               .106:2,5,10                2013                       25
    j:4s                         140,000                        19:19                      58:4
       102:17                       ?1:Z,1Z                   2014                       250
    1:47                        14th                            19:1ù                       87:19,20
       102:20                     119:17                     2015                        250,000
    jc                          1505                           19:21                       87:24
       3:8 7:13,14,1829:1932:2,6 36:2,3 83:8 97:20,24 98:8   2016                        256
       78:s                       101:7 107:3                  19:2121:12 31:5,13 60:
                                                                                    25     95:7
    10:48                       15th                           60:25                     25th
       48:4g                      70:23 93:6,14              2017                          71:6
    jcc                         1662                           21:1231:5 114:10,16 115:7 26
       a:jg                       3:77:2,4                   2018                          60:3
    1c0 nnn                     180,000                        66:872:2 74:6 83:
                                                                               2084:2 271
         $'-'*''2s
       1o7:     *-
                                  61:16                      2019                          93..
                                                                                               21
    11                          19                             66:8                      272
       3:12 67:17,18              49:3                       202                           94:1
    11:n0                       1950                           1:25                      282,000
        48                          1:112:10                  20i0                          104:
                                                                                               24
     11:37:17                     1984                          56:14 57:6,12,17 60:12    28th
       .
       /2:16                        J1:14                       61.
                                                                  .24 62:3 66:3             29..16,24 30:6,16
     11:4a                        19th                        2021                        29
       7z:z1                        45:947:2 67:3               4s:947:2 56:17 s7:1,12,17 61:8
     11:s1                        1st                           60:1661:24 62:3,1163:4,8                3
       .
       7a:22                        92:18 101:19                63:13,19,21 64:1,8,13,16 30c
     1119                                      2                64:18,23 65:9,13,15,18,21 92:14
       49:4                       2                             65:25 66:4,2367:3,5 68:11 300 :00
                                                                                             ,
     1122                           36:19,20 37:2,2 100:8       69:4,7,11,15,2171:12 72:6 61:   14 63:13 1:
                                                                                                        ,
       51:3                         111:20 113:21               ?3:5 83:16 93:6,14

                                (8/22/20239:54AM)Kapoor,Rishi-Vol.1.20230822.460473-M80
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 131 of 148


1305-agency)
305                         50,000                      801                              acted
  2:12,20 5:14                 63:18                      1:112:10                         86:19
31st                        .
                            500,000                     812                              action
  54:10                        87:18                      103:19                           28:151:8
32                          515                         817                              actions
  95:6                         35:16                      104:15                           51:15
33131                       551                         832                              actual
  1:12 2:11,19                 3:1636:6,7 92:17,24 93:12 102:3                             57:1,5 62:9
34                             93:1694:2,8,1895:13,24 8325 '                             add
  73:7                         96:5,23 97:6,798:8,13      35:20,22                         9:16 125:25
350,000                                    6            843                              addition
  61:23 62:2 63:14,19,22                                  101:16                           9:1727:7 63:2166:10
  65:9,18,2166:15,19 68:7,9 6 .                         89                                 68:21,24 76:11,12 82:15
  68:13,17,21,25 69:4,7,10     3.7 11:14                  101:4                            85:3 105:8
  71:14                     6.1.22
                                .                         '           9                  additional
                               3.17
350,000.04.                 6,                          g.a                                38:1852:15,19 65:468:16
  63:7                        -                                                            69:19 84:23 87:1593:9
                               51:5,6,6                   73:10 74:3,6,10 76:1
              4                                                                          additionally
                              6:b0                          9/5/2023                       73:19
4                               78:9                           128:16                    additions
  3:945:1,2,22 48:24 51:3     619                           9:54                           103:9
  55:22 64:23 69:2 73:4         37:20,21                       1:174:3                   address
4.19.21                       640,000                       92                             5:10 13 11:18,21,24 14:3
                                                                                                ,
  3:10                          83:9                          3:15                         14..15,17,21,25 15:5 21:16
4.2                           67                            982-6300                     addresses
   103:23                       3:12                          2:12                         102:5
40                                             7                           a             adm it
  99:11                       7                             a-m .                          93:8
400,000                         3..8 55:23                    1..174:3 48..14,
                                                                             ,
                                                                             1772:16,21 adm itting
   61:19,21104:23             7.1                             78:22                        93:11
404                             55..25 56.
                                           .2,10            abbreviation                 advance
   14:10                      7.2                             28:12                        67:1173:2
4347                            58..5,5 60. .1              accepted                     adverse
   3:11,14,18 45:6 70:4 92:13 7.5                             76:25                        27:25
449-4931                        56:12,14,17,20 57. .18,23   access                       advertise
   14:10                        104. .16,19 105:6,9           58:17                        40:19
45                            7.6                           account                      advertising
   3:9 73:13 74:2,11            61. .9,12,14 63:12             14..19,2070:20 96:15        18:8
462-6028                      70                               112:19                    advice
   5:14                         3:13                        accountant                     26:228:14
462-6029                      7233                             2..74:13 73:     .
                                                                           23 75.9,14,21
                                                                                       . advise
     2:20                         11:19                       76.
                                                                .7                          13:12j6.
                                                                                                   .131.14
467-9200                      75                            accounting                   advised
  1:25                          51:13 55:5                    76:25 77:19                   13:9
4700                                         a              accounts                     advising
  2:18                                                        15:10 32:1,4                  13:20
              s               8                             accuracy                     affiliates
 5                              35:12                         90:17 91:25                   61:11 95:9 104:18,20
   3:4,13 49:6,2170:3,5 76:20 8.3  .        .               accurate                     affirm atively
   77:25 79:14 94:14 103:20      95.8,16 97.4,11              76.
                                                                .5 81.1191..4 108.
                                                                                 .17        8:23
 5-1                          8.3.
                                 96:14 97:17                  128:11                     afternoon
   49:1394:15 95:3 103:21 80                                accurately                      78:8
 5.1-                            86.                          124:20                     agency
                                    .14 87:
                                          19
   49:6                                                     acquisition                     18:1,11,1322:6 25:17
 5:00                         80035.      .                   82:2 104:23,25                115:1
                                    .13 37.
                                          25
   78:9

                           (8/22/20239:54AM)Kapoor,Rishi-Vol.1.20230822.460473-M80
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 132 of 148


Iagency's -assistl
agency's                       amount                       answer(cont.)                 approval(cont.)
   18:5                          53:3 61:14,16 69:2084:2,6 89:2,6,10,14,18,23 90.     .5,10 55:656:12 57:24 60:6,9
ago                              96:21,24 97:2 105: 2 106:5 90:12,15,1991:1*,7,12,18         61:19 71:22 80:5 116:22
   123:11,14                     109:12,14 114:23               92:22 93:1,15,19 94:6,10 approvals
agree                          amounts                          95:1,5,14,18,23 96:2,6,9,12 85:5
   28:12                         38:15,19 47:5 95:12 97:3       96:16,19,22 97:1,5,9,12,15 approve
agreed                           103:14 115:5                   97:2198:1,5 99:3,6,9,12,15 60:14,18,22 61:566:4,7
   109:15                      angel                            99:20,24 100:2,5,10,13,16 68:15 117:10,15
agreement                        122:10,22 125:8                100:19,23 101:22 102:1 approved
   3:10,16,19 40:345:8,11,13 annual                             103:8,11,17 104:13 105:7      56:11,13,16,19 57:3,11,13
   45:17,21,22 46:15,18,21,23 40:5 61:13,15,17,20 63:6          105:12,15, 20,25 106:3,7,11 57:1760:9 61:23 62:1,8,9
   47:148:2549:4 51:7,12,16 69:14,20 73:2474:2175:21 106:15,19,24 107:5,10,15                 63:1464: 22,24 65:4,8 66:2
    51:17 52:19 54:11,22,25      117:11,17                      107:20,23 108:2, 6,20 109:2 68:9,13 69:3,14 71:14 72:3
    58:4,761:9 62:6 63:12 67:2 annually                         109:10,16,24 110:4,12,17      72:5,9
    73:6,776:2 83:5 89:11,25     61:19                          110:21,25 111:12,16        approxim ate
    92:17,21,25 93:3,5,13,22 answer                             112:13,18,22 113:1,3,13,19 79:17
    94:12,12 95:3,797:4          8:16 9:13,19 10:813:10,15 113:23 114:2,6,12,18,22 approximately
    101:17,21,25 102:4 103:3     26:3,5,8,21,2427:13,13,15 115:2 116:13,18,25 117:2,7 18:13,14 19:16 32:2,533:6
    103:16 111:2,8               27:16,19,24 28:4,18 29:1       117:9,12,14,18,20 118:2,5 81:9 96:24 99:10 105:21
agreem ents                      29:10,13, 2030:131:1,   3,16 118:12 119:9,15,20,23           114:24 123:6
    40:14 85:14 92:6 95:9        31:20,2332:3,7,9,11,14,17 120:2,6,10,19 121:23 122:8 april
    98:15 101:9 112:1            32:20,2433:4,8,12,16,   20     123:8, 21,23 124:2 125:5      45:947:2 67:3 70:23
ahead                            33:23 34: 2,15,18,21,24      answ ered                    arrangem ent
    8:16 126:21                  35:2,8,11,15,19,23 36. .1,5,9 121:21                         111:13
 akin                            36:13,17,21,25 37:4,7,11 answering                        adicle
    16:21                        37:15,19,23 38:2,4,7,9,13      9:25 117: 25 118:4            49:6,6,13,2151:5,6 55:23
 alex                             38:16,2039:8,11,15,19,22 answers                            55:2556:2,10 58: 4 60:1
    22:23 23:1146:16,18 53:9 40:1,4,7,12,17,22,25 41:2,4 126:21                               61:9 63:11 73:974:3,5,10
    53:1354:9,17, 23 55:9,13     41:6,9,12,16,19,22,25 42:3 anticipate                        76:194:14,15 95:3,8,10,16
    70:9,13 98:3                 42:7,21,24 43:2,5,9,13,17       78:7                         96:14 97:4,11,17 103:20, 21
 allegation                       43:20,2344:1,1145:12,14 anybody                             104:16,19 105:6,9,11
    89:18,24 77:23 109:12         45:1846:14,17,20,24 47:3       124:6,7                   aside
    110:6                         47:7,11,15,18,22 48:1       apologies                       81:20
 allocations                      49:22,25 50:10,14,18 52:3      67:11                      asked
    94:15,23                      52:6,9,12.21,24 53:2,5,11 apologize                         8:18 10:1126:7 66:2 692.-6
 allow                            53:16,20,24 54:2,6,13,18       67:21101:8,9                 83:23 94:21103:1,5 118:16
    120:19                        54:20 55:2 56:6,9,15,18,21 appear                           121:19,22 126:18
 allowable                        57:4,7,14,19 58:10,13,16       90:25                      asking
    106:22                        58:21,25 59:4,9,13,16       appearance                       10:18 22:25
 allowed                         60:15,19,23d1:3,7,2562:4 123:19                           assert
   85:13 92:5 98:13 111:25       62:13,16,19,22,25 63:3,10 appearances                   13:2021:1526:14,19 27:5
 amato                           63:16,20,24 64:2,7,12,14     2:1                        27:11,1830:9,19 34:9 39:3
   128:9,17                      64:17,21 65:2,6,11,16,19 appearing                      42:16 44:23 45:23 48:7
 am ended                        65:2266:1,6,9,13,17,21       7:25                       50:24 55:11 58:159:23
   3:9,15,19 45:8 48:24 75:5     67:1,668:1,10,14,19,22     applied                      72:10 76:8 81:12 85:18
   92:16 101:17                  69.
                                   .1,5,8,12,16,22,2570:12 110:1,8,14                    92:7 98:15 112:5 115:13 '
 am endm ent                     70:16,21 71:1,5,10,15,19 applies                      asserting
   13:10,14,21 14:3 21:16        71:24 74-.7,12,15,19,23      5:23                       26:9 28:9,23
   26:6,9,22,25 27:1,24 28:9     75:2,6,10,15,22 76:10,17 apply                        asserts
   28:15,19,24,25 30:10,19       76:22 77:3,7,14,2178:4       28:20                      14:2
   34:10 39:342:1644:23          79:21,22 80:1,4,7,11,16,19 appoint                    assess
   45:24 48:8 50:25 55:12        80:2481:3,18,24 82:6,17      56:3                        115:1
   58:1 59:24 60:10 72:10        82:22 83:1,6,11,17,2184:5 appreciate                  assets
   76:9 81:13 85:18 92:7         84:8,14,2085:1,7,24 86:5     19:14 73:2                 33:10,1834:6 51:21
   98:16 112:6 115:13            86:11,16,2187:3,9,13,17 approval                      assist
                                 87:21 88:3,10,14,17,20,24    51:10 52:14,1853:8,13,18    118:18 119:1,13

                            (8/22/2023 9:54 AMqKapoor,Rishi-Vol.1.20230822.460473-M80
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 133 of 148


Iassistant-cash)
assistant                        backw ards                                                 brow ard
   2:6 4:11                        25:21                          2:21                         129:4
assisted                         balance                                                    budget
   33:25                            73:16 81. '2                  56:12 57:13,23 58:5,6,8,11 3:12 40:5 55:25 ,56:11,13
associated                       bank                             58:14,15,18,22 59:7,10,19 56:16,19 57:1,3,5,16,17,22
   14:12 44:9                       32:1,4 76:20,23 77:5,12,18    59:2260:5,7,13,17,21 61:4 59:20 60:10,13,17,21 61:2
assum e                             77:20,24 79:13,17 81:11       61:19,22 62:163:15 64:25     61:562:8,10,11,12,14,18
   8:17 10:10                       112:19                        65:4 66:2,7 68:15 71:22      62:21,2463:2,4 65:9,13,25
astor                            bankruptcy                       73:2075:1680:5 85:6          66:567:3,11,25 69:1584:9
   122:20                           51:23                                                      89:15,2490:1 117:11
atlanta                          bar                              65:20 66:18 120:8 122:18 budgets
   11:16                            17:8                                                       40:15 57:11 66:3,872:2
attend                           basèd                            71:8,17                      90:6,8,11,13,18,23 91:3,25
   16:1                             20:23 26:5,2127:24 28:19                                   108:8,14,16,23 109:1
attended                            92:5 98:14 104:   7 111:25    84:16                        116:23 117:4,17
   15:24                         basis                                                      built
attending                           58:12 73:24 75:   21 76:3     33:1553:4 84:18 116:10,16 110:10,20
   4:10                             86:3 96:21                                              business
attention                        bates                            11:15                        12:4,6,8,9,10,25 15:1,6
   60:2 94:14 95:8 103:20           45:546:2 49:451:3 62:7                                     16:17 17:3 18:5 30:23,25
attorneys                           65:1267:8 70:473:792:13       49:5 51:4                    32:1038:22 40:19 59:8
   102:11                           93:20 94:1,12 95:7 101:3                                   99:4 119:18,21 120:1,8
audited                             101:16 102:3 103:18           53:23                     businesses
   73:23 75:8,14,20 76:6            104:15                                                      14:12 18:620:13
auditing                         bayshore                         2:185:13 11:19            busto
   77:19                            3:16 36:6,8 92:18,24 93:12                                 2:64:1126:4,14,18 79:1
august                              93:16 94.  .3,8,18 95:13,24   9:2 48:12,13,15,21,23     buy
   1:134:3 48:17 70:17 71:6         96:5,23 97:6,7 98:8,13        72:13,17, 2278:6,24 79:7      53:2554:5
   79:383:784:13,15,22 85:4 beach                                 83:22 102:18,24 115:16,21 buyer
   127:10 128:6 129:11              36:15,16,19,20 100'   :
                                                          8,15    116:2 121:11,17,19 124: 25 107:12
 authority                           111:20 112:5                  125:2 126:9,15,18                           c
   27:7 56:160:6 116:2,   1      behalf                                                     calendar
   117:3,10,15                      2:3,1441:1043:7,11,15         37:20,21                     61:173:14,14 14.:2
 authorization                      45:1547:1348:7 53:1                                     call
    107:18                           54:1461:5 75:582:20,25                                     125:20
 authorize                           92:23 101:23 105:17                                    called
   9:1                               118:22,24 119:5               2:15 5:11 28:7 73:1          4..21 24.
                                                                                                          .25 88..8
 authorized                       believe                                                    calls
   27:3 129:7                        21:12 27:1631:4               1:112:10 127:7               41. .8 88.
                                                                                                           .22
 available                        beneficial                                                 capacity
    6:1594:1796'   .5                23:23 24:3,10,23              6:2                          5:16
 ave                              benefit             '                                      capital
    1:11 2:10                        8:6 83:19                                                  32:19,2133:1,2,     6,13,18,24
 aw are                           better                                                        34:6,8 41:15 42:2,18 43:7
   22:17 27:23 50:11 68:16           9:24                          40:9 89:20 90:2              43:11 14 44:8,17 46:9
                                                                                                        ,
    80:21 97:22                   beyond                                                        81:20 82:8,14 93:23,23
                 b                   72:5                          79:9                         94.  .3,
                                                                                                       8 95. .21 102..6 103.
                                                                                                                           .13
 b                                bidh                                                          106:13
  ack
    9                                11:13                         86:8                      care
     :821:8,13 31:1138:15,18 bi
    43:2148:16 72:19,2 1 73:4 scayne                                                            29:17,25
    78                               2..
                                        185..
                                             13                    20.'9                     carol
       :16 79:2 84:187:788:5 bit
    1                                                                                            128:  9,17
    102
     12:19 106:2,5,10 109:5           18:9 50:1 56:25 93:25        78:2 107:16               case
    126  :
         2  115:
               22   116:6 121:12     1 21:6
         :
         1 0                      bl                                                             10:17
 b                                  ended                          23:11                     cash
  ackgr
    11 ound                           123:10
       :1221:18                                                                                  3322,2 49:9,14 50:7 73:17

                              (8/22/20239:54AMJKapoor,Rishi-Vol.1.20230822.460473-M80
 Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 134 of 148


 Icash -continue)
 cash(cont-)                  clarify                      commitments                   concerned
    94:17 103:25 104:5            8:1526:20 125:22 126:21      93:23                        121:6
 categories                    clarifying                    com m itted                  concerning
    82:13,24 95:1196:14           9:15.126:5,19                27:17                        7:8 16:20 22:6 30:22 34:4
 categorized                   class                         communicate                    38:22 3922440:15 42:9,13
    84:18                         17:123:24 104:6,6,10,11      40:23 41:1,3,5,7             42:14 44:16 45:20 48:3
 category                         104:11                     communicated                   50:17,20,22 55:4 57:21
    95:15                      classes                         88:18,21,25 89:3 109:13      59:1872:175:24
 cause                            17:3                       com m unication                91:20 98:7,22 111:18
    73:1180:14 93:8            claudia                          120:3,7                   concluded
 cell                             122:9,18 126:24            com m unications                127:12
    14:8,9                     clause                          29:15,22 30:5,8,15,18      condition
 cedain                           93:3                         42:12 63:17 119:24            59:12,14,21
    6:7 10:1522:1852:25 53:6 clear                           com panies                   condominium
    53:14 54:5 55:870:974:2       10:4,12,19 12:1522:19,19 23:2524:13,21,22 25:16,25 107:12
    76:1582:1889:8 90:22          29:5                       com pany                     conduct
J 91:3,4 93:5 94:22 -  f04:19 client                            3:16 18:17 19:2,2420:7,14 30:25
    108:7,9,11,15 113:6,10        13:20 21:14                   23:20 24:4,5,11,19,2425:6 conducted
 cedificate                    clients                          25:15 34:1341:15,21,24       22:2
    86:24 128:1 129:1             18:7 19:2520:3,7,8,13         43:8,1249:1151:8,19,21 confer
 certified                     cliff                         . 51:24 53:2258:20,23 59:2      121:8 126:6
    73:23 75:9,14,20 76:6         109:18                        60:8,861:13,16 62:10      confirm
    129:6                      close                            73:11,20,2575:1792:17        68:8 94:20 103:5
 certify                          96:3                          93:5,6,899:1104:1 106:18 confused
    128:9,10 129:6             closing                          107:2,19 'f12:10,23 113:17 101:10
 cfo                              83:8,9 95:25 104:23 116:8     114:11,17 118:21120:1 connection
  ' 78: 3                      coconut                       com pany's                      13:722:14 51:9 76:20
 chance                           3:20 23:5,9,9 36:10,12 54:7 48:6 59:12 76:14               77:2579:14 81:22 97:24
    45:16 92:24 101:24            54:15 55:8 100:7,15 101:18 com pared                    consider
 change                           102:9 103:2,7,7,10 105:5      57:2,5                       115:13
    9:13,18 19:8,12,1625:19       105:10,13,18,24 106:16 com pel                          consideration
    43:15                          107:9,13,24 109:5,6,8,17     27:4,7                       86:3
 changed                          110:1,8,14,18 111:19 112:4 com pelled                   considered
    67:4 90:22 103:15          college                          27:15                        113:15
  changes                          15:24 16:120:17,24        com pepsation                consistent
    45:22 46:2547:4 93:13      colum n                          61:9 63:12,13,22 64:10,20    94:20 105:5
     94:7                         46:8 63:668:6                 64:22,24 65:468:12 104:17 consolidated
  changing                     colum ns                      com piled                       116:16
     19:8                         46:8                          74:1390:11                constitute
  charged                      com bined                     com piling;                     6:10
     21:23 64:9 82:1,4,20 85:11 32:2                            74:17                     constructed
     92:3 95:11,12,19 98:9,10 com bining                     com plete                       110:3,9,20
     105:5 111:21,23               18:19,20                      9:24 11:5 128:11 129:9    construction
  charges                      com ing                       com pleted                      104:25 106:23 107:8
     81:22                         70:19 114:11 127:  6          35:10,14,18,22 39:186:23    109:20,21 110:16,22
  checks                       com m ent                         100:11                    contact
     115:6,11                      79:20                     com pletely                     125:21
  cheryl                        commercial                       126:1                     contained
     35:21,22                      12:4,25                    completion                      108:25 128:12
  chicago                       com m ission                     91:6 94:24 108:18         content
     106:17 107:1,19               1:1,9 2:3,8 4:6,8,16 6:5   com plied                       18:8 116:22 117:4,11,16
  chirinos                         8:1122:348:2072:24 79:6 76:7,24 77:13 78:179:11 context
     69:19 83:13 85:15 122:16      102:23 116:1 121:16           81:11                        55:17 123:13
  civil                            126:14                     com ply                      continue
     6:1128:1                   com m ission's                   77:5                         30:9,19 34:9 39:342:16
                                   7:1,4                                                      44:2345:2348:7 50:24

                             (8/22/20239:54 AMjKapoor,Ri
                                                       shi-Vol.1.20230822.460473-M80
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 135 of 148


Icontinue-declinel
continue(cont-)                 correci(cont-)                   crime                            decisions
  55:1158:159:23 72:10            70:11,15,20,2571:4,9,18         27:17                            51:560:7
  76:8 81:12 85:18 92:7           71:23 77:286:4,10,15,20 crim inal                              declaration
  98:15 112:5                     87:2,12,16,2088:2,9,16,19 6:1121:21,23                           26:5
continues                         88:23 89:1,5,9,13,17,22       crystal                          declination.
  49:793:25                       90:4,14 91:693:1895:4,13 10i12                                   26:8
continuing                        96:1,897:14,20,25 98:4        current                          decline
  60:1                            99:5,8,11,19 100:4,9,12,15 11.     '17,23 46:12 48:3 50:13 '13:1426:3,24 29:1,10,13
contract                          100:18 101:13,15 105:11         55:10 94:2 102:8 103:6,6         29:2030:131:1,16,20,23
  109:9,13                        105:14,19,24 106:18,23 currently                                 3223,7,9,11,14,17,20,24
contracting                       107:4,14,19,22 108:1,5,19       10:2524:22 25:2132:13            33:4,8,12,16,20,23 34:2,15
  61:10 104:18                    110:24 114:5,15 112:12,17 35:9,2536:4,8,12,16,20,24 34-             .18,21,24 35:2,8,11,15
contractor                        112:21113:7,12,18,22            37:3,5,10,14,17,22 47:    24     35:19,  23 36:1,5,9,13,17,21
  109:15 110:23                    114:1,5,21 115:1 124:11        53:499.   .14 100:6,17           36:25 37:4,7,11,15,19,23
contractors                     cortez                          custom er                          38..2, 4,7,9,13,16,20 39:8,11
  113:7,12,15                     2:44:2,7,24 5:8,15,19,23         106:17,25 107:3,7,11            39:15,19,22 40:1,4,7,12,17
contrary                           6:1,20,23 7:12,16 13:17                       d                 40:22,2541:2,4,6,9,12,16
  51:7                             14:1,5 26:7,12 27..2 28:7.
                                                            ,21                                    41:19,22,2542:3,7,21,24
contributed                       29:4,7 31:6,1744:1445:4 daniel      .                   .g       43:2,5,9,13,17,20,23 44:1
  42:19 86:13,14                   48:13,16,18 55:2157:10         61.1562:2 71:7,9 72.             44:1145:12,14,1846:14,17
contribution                       64:567:16,20 70:7 72:12 dare                                    46:20,24 47.   .3,7,11,15,18
  32:19,2233:2,6,11,13,18          72:15,1877:1678:5,16,21        22: 24                           47:22h.   8:149:22,2550:10
  87:11102:6 103:13                79:2,4 92:11,15 101:1        data.                              50:14,18 52:3,6,9,12,21,24
contributions                      102..13,16,19,21 108:11,13 76.4                                 53:2,5,11,16,20,24 54:2,6
   33:10 46:993:23 94:3,9          109:4 115:15,18,22,24        date.       .      .      .        54:13,18,20 55:2,1956:6,9
   95:21106:13                     118:15 120:21,25 121:9,12 1.13 11.1.       3 46:.4,7 47.2 58:7 56:15,18,2157.       .4,7,14,19
control                            121:14 122:13 123:1,17,25 70:1883.         995.4,2496:25 58:10,j3,16,21,:5sg:4,g
   54:24 56:1 85:11 92:3           124:8 125:6,14,17 126:4,7 97:   1063.  100:12 102:5 103:4
                                                                        .6 1
                                                                               . j
                                                                            28.6,1
                                                                                                   59:13,16 60:15,19,23 61:3
   98:11 111:23                    126:10,12,17 127:1,4                                            61:7,25 62:4,13,16,19,22
controlled                      cost                            dated               .              62: 2563:3,10,16,20,24
   54:12 59:2 65:24 83:19          90:22                           3:10,17,2170.23 93:6,14 ' 64:2,7,12,14,17,21 65:2,6
   99:22                        costs                              129:11                           65:11,16,19,22 66:1,6,9,13
controller                         63:5 106: 23 107:8,9,13      dat es .                            66:17,21 67:1,6 68:1,10,14
   69:19 83:13                  counsel                            116.8,  9                        68:19,22 69:1,5,8,12,16,22
conversations                      2:4,54:7,9 5:6,8,17 9:7,14 davilla.                              69:25 70:12,16,2171.       .1,5 .
   9:6                             13:6,8 21:1526:2,19 29:18       123.  2                          71:10,15,19,24 74:7,12,15
convicted                          29:2567:9 120:12,17 121:2 day                 .                  74..19,23 75.  .2,6,10,15,22
   21:21                           121:20,25 122:2 123:19,22 58:j9,19 59.2,         2 74:11         76:10,17,22 77:3,7,14,21
copy                               125:21127:  8                 days                               78:479:20,20,22 80:1,4,7
   6:13 7-.1,3,24 45:749:1      counseled                           73:12,1374:1,2,11               80:11,16,19,2481:3,18,24
   67:23                           21:15                         deadl .ines                        82:6,17,  2283:1,6,11,17,21
coral                            county                             74.
                                                                 deaj s9                            84:5,8,14,20 85:1,7,24 86:5
   37:8,10 100: 9,.17 111:21       129:4                               .                            86:11,16,21 87:3,      9,13,17
corporate                        couple                             88.
                                                                    ut2                             87:2188:3,10,14,17,20,24
   24:6                             14:2 51:2 116:4 123:14       de .                               89:2,6,10,14,18,23 90:5,10
 corporation                     course                             41:.23 43:7,11,15 52: .4,
                                                                                           4 8,
                                                                                             a 11 90.  .12,15,1991.,     j,7,jz,.!a
   24:4                             6:169:12,20 16:20,24 17:1 52.      .15,20,23 53:6 54. ,         92. .22 93:1,15,19 94.    .6,10
 corporations                 -
                                   31:2558:19 72:14                 55.7,7                          95:1,5,14,18.   ,23 96:2,6,9,12
    16:21                        courses                         december              25         , 96:16,19,22 97:1,5,9,12,15
 correct                            16:17,18                        54:1084:12 107:                 97. .2198. .1,5 99.  .3,6,9,12,15
    5:24,25 16:15 17:5,6 20:1,9 court                            deci de                            99:20,24 100:     2,5,10,13,16
   24:1425:9 26:1138:153:1 8:7,199:1,422:8,10,14                    82:19                            100:19,23 101:22 102:1
    53:10,15,19 55:156:.14,17 35:14 37:24 38:8,10,15,18 deci          de
                                                                    aza zad                          103:8,11,17 104:13 105:7
    56:20 57:13,18 59:3,8           67:22 92:11,108:9                   '                            105:12,15,20,25 106:3,7,11
    61:24 62:363:9,23 65:1,5 credit                              decision                            106:15,19,24 107:5,10,15
    65:10 68:9,13,1769:4,7          76:2178:179:14                  69:13                            107:20,23 108:2,6,20 109:2

                               (8/22/20239:54AM)Kapoor,Rishi-Vol.1.20230822.460473-M80
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 136 of 148


Idecline-encumbering)
 decline(cont.)                 detailed                         disclose(cont.)                 drafted
  109:10,16,24 110:4,12,17      105:9                         84:22 97:7                    45:20
  110:21,25 111:12,16        determ ine                    disclosed                     drafting
  112:13,18,22 113:1,3,13,19 6:6 28:2                         57:1565:7 66:11,15,19,24 45:11 92:21 101:21
  113:23 114:2.6,12,18,22 determ ined                         71:11,16 79:17 85:17       duly
  115:2 116:13,18,25 117:2,7 86:3                             105:18 111:13                 4:21
  117:9,12,14,18,20 118:2,5 determines                     disclosing                    duration
   118:12 119:9,15,20,23        49:16                         71:22                         11:8
'  120:2,6,10                developed                     discovery                     duties
declines                        6:9 110:2,20                  18:7                          55:24
  28:18                      developer                     discretion                                         e
declining                       20:16 50:582:1 104:21         52:22 80:12                earlier
   26:21                     developers                    discuss                          60. .24 94.
                                                                                                          .11,2198.   .23
dedicated                       18:10 19:2520:9               124:6                         105.   .23 11
                                                                                                             .
                                                                                                           8.16
   17:1                      developm ent                  discussed                     early
deducted                        19:11,23 20:8,12,20 35:25     40:21105:23 116:6              13..4,   11 70..10
   113: 25 114:4,19 115:6,11    36:4,8,12,16,20,24 37:3 discusses                        earn
deducting                       39:196:7                      95:10                         25. .2
   114:7,13                  deviate                       discussing                    earneg
dee                             56:1157:1                     48:24                          50..3
   2:7 4:12                  deviated                      discussions                   easier
defendant                        56:14,17,20 57:18,23         48:2072:23 79:6 102:23        28. .22
   22:18,2123:13             deviation                         116:1121:16 126:14        eastern
defined                          57:25                     distributable                     4..3
   51'.11,13 52:18            deviations                      49:9,14 103:25 104:5       edit
degree                           57:11                     distributed                       118.   .6,9
   16:8 17:5                  diana                            49:15 50:8 94:18 104:6     eduardo
 degrees                         22:23 23:1146:16,19 53:9 distributions                      jog.jg
   16:7,10                       53:13 54:9,17,23 55:9 98:3 38:*1139:1643:18 44:22                  '
                                                                                          effective
 departm ent                  died                             49:6,7,9,13,20,23 50:12,17 45.    .9 46.
                                                                                                         .4,7 47. .1 58. .6 92. .18
   114:16                        19:11                         50:20,23,23 64:18 94:14,16 93.    .6 101.
                                                                                                           .
                                                                                                           j g  jc2..5 jca.  .4
 departm ents                 differ                           95:2 103:20,22,24 104:4,9 efficient
   34:25                         99:1                          104:10                        28. .8
 deposed                      different                     diversified                   eight
   22-.13                        19:946:7 51:14 58:20,24       1:24                          19.  .18
 deposit                         82:13,2485:2195:10 96:14 division                        ejther
    107:7                     difficult                        4:14                          13.  .1 64.
                                                                                                         .24 90. .3 98. .9
 deposition                      19:20                      divisions                         104.   .jc,jj jjj..z,8 jjs.     .j
    22:15                     direct                           34:25                          116..16 117.    .22 127.  .6
 deposits                        34:22 51:18 54:764:8,18 dixie                            electronic
    106:17,21,2d 107:3,12,12 83:7 84:16 94:13 95:8             35:13 37:25                   29..9
 describe                           103:19                        dj                               email
   17:22 18:4 34:12,16 39:5 directed                        65:1766:14 122:9,14,14                   14..15,17,21,25 .
                                                                                                                     !5.
                                                                                                                       .4 4,
                                                                                                                           j.
                                                                                                                            .a
 describing                    7:19 69:18 71:3,8 72:4 83:2 124:12,14 125:8                           46..19,22 89..190.
                                                                                                                      .3
   86:7                        83:12,1885:15 107:2        docum ent                                em ajjed
 description               ,
                             di
                              rection                       44.
                                                              .2545:549:2 67:7,13                    40..13
    3:66:3                          80:14                            70:21(i1:6                    employees
 desire                          directly                     docum ents                             a2.16ay.  .jg 7j.2j72. .z
   9:17                             23:23'24:3,10 83:14,19,24   6:15 10:15 29:9,11,15,22               '
                                                                                                     99.
                                                                                                       .14 100. .1,3 111.4,10,11
 despite                            84:3 108:4 111:4,10         30:4,8,15,1742:1163:17               112. .12,16 113..6,14,16,18
   114:7,13                      director                       89:9,24 90:3 91:23                   113. .21,25 114..4,8,,
                                                                                                                          14,gtl
 destroyed                          2:6 4:1223:19             doing                                  jj5. .5 6,jj j22..4
   29:2130:7,17                  directors                     ' 27:6,20                           em ploym 'ent
 detail                             58:559:19 65:1 75:17 85:6 dollars                                j7.22
   19:5                          disclose                        84:7 85:16                        encum' berjng
                                    54:24 57:24 59:22 80:8                                           51..20



                               (8/22/2023 9:54 AM)Kapoor,Rishi-Vol.1.20230822.460473-M80
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 137 of 148


Iends -forgetl
 ends                              example(cont.)                     extension(cont.)                   financial(cont.
                                                                                                                       '
                                                                                                                       )
  45:6 49:4 62:7 73:7 92:14     86:12 87:18,  22 105:13        116:7,8                                         74:4,10,13,17,21,24 75:4,8
enforcement                     107:24                     extent                                              75:11,18,24 76:5,13,15,16
  4:14                        exceed                           28:8 116:14                                     76:19,24 77:4,11,13,17,23
engagement                      97:3 105:1                                           .f'h                      79:10,15
   115:8                      exceeding                    f uook                                         financing
entailed                         61:2362:2                   ace .ya                                           105:1 109:20 110:16
   18:5                       excess                       f 15..                                         finding
entered                          68..23 85:1392:5 98:12      aci
                                                               54 lit
                                                                    .ate                                     '119:1
                                                                    .9,    16
   33:14 54:11,22 93:4 109:9 111:24                        f                                              fine
   111:1,7 118:23             exchange                       act .              c.ja                           79:  22 124:4,7,14
enti ties                        1:1,9 2:3,8 4:5,86:5 22:3 f 57.16 11 .                                   finish
                                                             acts
   54:12,23 65:23 118:18         42:1                          6.                                              78:8
   119:13                     excuse                       f .9                                            finished
entitled                         28:24 29:2333:2 39:20       ai57
                                                                lur.e           .                              112:8
                                                                     .24 59.     21,  21
   1:16 49:,861:13,15 73:10      73:14 76:12 80:12 95:19 f
                                                             ai20
                                                                r.
                                                                                                           firm
   103:24                        119:11 123:10                                  .                              18:2077:19,19
entity                        excused                       f .20 29.4                                     firm ,s
   12:10 41:10,14 47:16 52:10 73:2075:17                     alse
                                                                110.                                           5:9,10
   60:8 73:18,23              execute                       f jjy.11                                       first
equity                           46:16                       am .                     .                        4:215:2 17:2320:2,10 24:7
   23:24 33:1141:20 43:7,11 executed                           20.15,23 54.16                                  30:1193.     .2
   43:1586:1,13,15 87:11,24 47:1                            feder      al
                                                                6.8,10 22.        .5,8113.  .25 114.   .7 fiscal
                                                                  .                                                 .       .
equivalent                    execution                                                   '                    73.   13 74.  1,6
                                                            fee83                               a          f ive
   40:10                         46:23                                .
                                                                      .8 104. ,
                                                                                .za24 lcs-     .
eric                          exercise                                                                         23:23 28:13 72:12 115:15
   2:64:118:1126:7 79:1          18:19                      fees50.                           . . fixed
                                                                      .3,  5,6,6,6,7,7 64.8 71.2
 escrow                       exhi
                                 '
                                    bit                         81.   .21,25 82:1,2,2,2,3,3,13                 63:5
    106:17 107:1,19              6:20,21,25 7:6,13,14,18        82.   .19,
                                                                                         .
                                                                             19,25 83.3,14,19              f l
                                                                                                                  .
 esq                             29:1945:1,2,2146:3,6,22        85.11,12,14 92.          .2,4 95.  .9,11 1.        4,jz :, ..jjj,
                                                                                                                                jga.
                                                                                                                                   .jj,.
                                                                                                                                       j4,ja
   2:4,5,6,15,16                 47:6 48:24 51:355:22 62:8            .
                                                                      .                               .         6:6 45:5 70:4 92:13 128.   .5
                                                                 95.12,15,16,17,19,20 96.4
 essentially                     6/:2367:14,17,1869:2           96.   .7,
                                                                                                           florida
   86:1                          70:1,3,5,15,1873:4 92:9,12           . 10,14,15,18,21,24         .             4:6 15:2117:11,1320:4
                                                                97.    2,6,8,10,    .j14,
                                                                                      g, 16
                                                                                        zj ,
                                                                                           r498. .
                                                                                                 j9,
                                                                                                  c5.10
                                                                                                      .
                                                                                                      5, 8      93. .
                                                                                                                      18 114:4,13,15,24
 estate                          93:22 94:5,9 100:24 101:3       98.  .44jc4.      .
    18:9 19:10,23,25 20:4,7,8    101:8,12,14,14,15,15 102:3              .                   .          .       115:10,12 128:7 129:3
    20:12,16,19,2135:3,5 ' 102:9 1j3..3 112..8                   1
                                                                 1008 5. .10,  14, .16107.   22 108.  .1 florida.        s
                                                                         .3 111.    2 1,22,23    116. 6,7 114.         .
   38:24,25 59:1585:22         exhibits                          116.                                                   15
                                                                           8,10,14,15
 event                           3:673:3 101:9              fifth .                                         flow
    19:8,2149:17               exited                                  .                 . .j6                  49:9,14 103:25 104:5
                                                                 13.10,14,21 14.321.
 events                          79:1                            26:5,9,21,2527:1,24 28:9 flow s
                                                                                                                     .     .
    9:23,25 10:1,16            expectation                       28.                              .             50.   773.  17
                                                                       .13,  15,19,24,24 30.9,19
 evidence                        50:11                           34:10 39:3 42:16 44':23                    focus
    27:4                       expenses                          45.2448.        .7 50. .24 55.  .12            18:1160:2
 exactly                          90:2391:5 108:17               58.. .                 .        .          follow
    18:24,25                   experience                        81..159.24      . 72.1.0 76.    .8             50.  .2 127. .8
                                                                       .12 85.     18  92.7  98.  1 5
 exam                            20:11,12,23,24                  112.               .                       follow ing
                                                                          .5 115.    13                              .11104.  .2
    17:8                       experiment                                                                       49.
 exam ination                     24:25                      file1. .                 .                     follows
    3:3 4:23 6:1644:3,13 55:15 explain                       fil .4 6.6 128.5                                   4. .22
    55:20 56:225729 77:8,15       8:8                           ed
                                                                 31.                                        font
    108:21 109:3 116:19        explanation                   fili .10                                           67:11
    118:14 123:4,16 127:11        70:14                          ng.
                                                                 51                                         foregoing
                                                                       .23
 exam ined                     extend                                                                           128:10 129:8
    4:22                          116:8,9                    finance
                                                                 16.              .                          forget
                                                                       .9 1  09-22                                    .
 exam ple                      extension                     fi                                                  10.9                         .
                                                               nancial
    24:4 50:5 54:783:7 85:25      96: 4 97:14,16 105:14,16       59.    .12,
                                                                                          .
                                                                              14,21 73.15,21 74.3       .

                                 (8/22/20239:54AM)Kapoor,Ri
                                                          shi-Vol.1.20230822.460473-M80
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 138 of 148


Iforgot-improperl
forgot                        gables                      graduated                    head
    126:22,24                   37:9,10 100:9,17 111: 21    16:5,14 17:4,21              8:21
form                          gained                      graduat  i
                                                                   on                  hear
   3:7 7:2,4 24:6 106:21        20:11                       17:7                         8:3,23 19:13 26:22
form a                        garcia                      granting                     hearing
   89:15,25 90:1,6,8,17,23      122: 22                     27:8                          1:16
    91:3,25 108:8,14,16,23,25 gathering                   greater                      held
    116:23 117:4                73:2                        68:13                        23:19,2524:4,11,22 25:6
form al                       general                     greg                           25:1558:8,15
    6:13,18                     11:12 21:17 110:22 121:24 78:2 107:16                  helene
form at                         122:2                     gross                           109:19
    29:9,12                   generally                     105:3                      helping
form er                         76:25 86:22               grounds                         18:7
    24:18 78:3                generated                     27:13                      high
form s                          39:21 88:12               group                           15:18,20
    68:11                     georgia                       25:199:17 122:5            higher
fort                            11:16 15:22,23            grove                          84:13
    93:17                     gestures                      3:20 23:5,936:11,12,22,23 highw ay
forth                          '8:20                        37:1,2 54:8,15 55:8 100:8     37:25
    51:9 69:14,20 74:9 76:1   getting                       100:15 101:18 102:9 103:2 hire
    93:10 94:9                  14:23 71:22                 103:7,10 105:5,11,13,18,24 47:16
 forw ard                     give                          106:16 107:9,13,24 109:5,6 hired
    28:7,22 35:6,14,18,21       11:4 27:4 78:14 121:7       109:8,17 110:1,8,14,18        13:5 118:17 119:10,11
    50:24 77:1                  126:6                       111:19 112:4               historically
 four                         given                       grow n                          32:13
    105:3                       13:10 87:2 90:2 108:24      20:15                      hold
 fram e                         116:23 117:5              guarantee                       ,
                                                                                          17:1824:23
    19:17,19                  global                        50:6 82:3 108:1,3          hom e
 francis                        54:10,22                  guaranteed                      14:6,7
    118:25 119:6              gm ail                        52:25 105:2 109:8,12       houchin
 frank                          14:20 15:4                guarantor                       2:54:8 44:455:16 56:23
    122:10,20                 gm ail-com .                  104:  24                      64:377:9 78:12,18 108:22
 front                          14:22                     guess                           116:20 122:25123:5,12
    49:1                      go                            20:3                          125:16
 full                           8:16 9:1,3,8 15:20 18:22 guys                          housekeeping
    4:25 5:9 11:5               46:1 48:14 72:19 87:19,20   78:12                         8:5
 fully                          93:20 102:13,16 108:3                   h              hundred
    17:3 59:7,11,22              121:9 126:21             h                               10:5
                                                           al
                                                            57f                        hurdle
 funds                        goes                              :2                        87:12
    32:25 42:22 44:6,8,18 81:5 46:5 49:12,16 60:11 61:17 halpern
    82:7 95:21 106:8 107:13,18 73:16 84:12 101:4,16         54'.15,16                                 i
 further                      going                       hand                         identification
    27:15 30:3,13 34:4 38:22    8:8,25 9:4,21 13:3 25:20    4:1846:8 63:6 68:698:3,4      6:22 7:1545:367:19 70:6
    42:9 44:16 45:19 48:3       28:7,22 35:5,6,13,18,21 handed                            92:10 100:25
    50:20 55:4 57:21 59:18      50:23 55:19 58:3 70:24       101:2,11                  identified
    72:1 75:24 81:5 85:9 91:20 77:1 78:7,12,22 83:22 84:1 handing                         3:6
    98:7 111:18 115:4 125:14    94:19 106:2: 109:5 116:6    6:24 7:1767:7 92. .11      identify                    '
    125:18 127:3,4,5             124:4,12 126:18             101:13                       5:8
 future $                     gonzalez                    handled                      ii
    50:12 125:19                 126:22                      112:16                       51:18,25
 fuzzy                        good                        handling                     im m inent
    10:12                       67:16                        112:24                       109:22
                g             grab                        happen                       im m unity
                                 78:12                      84:15                         27:8
 gaap                         graduate
    76:8 77:2,6,13 78:1 79:12    15                       happened                     im proper
    81:12                          :18 16:3                  9:22,22 19:5                 107:14

                          (8/22/20239:54AM2Kapoor,Rishi-Vol.1.20230822.
                                                                      460473-M80
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 139 of 148


Iinaccurate -keep!
inaccurate                     inference                   investigation               iterations
  109:1                           28:1                        5:206:4,9,14 13:7 120:12    21:5
inactive                       influence                      120:18 121:3,21 122:1    iv
  19:3,6                          11:1                        124:24 125:4,11             60:5
incidents                      inform                      investigative                                     j
  75:3                            57:24                       13:4 128:13                    januaœ
include                        inform ation .              ihvesting                          84.
                                                                                                .jg ga.
                                                                                                      .6,
                                                                                                        j4 jcj.jg
  13:1824:13,1873:15             7:2,442:1450:15,2158:17       39:2440:1542:2,4              jd                        ,
includes                         62:2374:16 108:25         investment                             17.
                                                                                                    .5
  25:8                         informed                        20:1638:1939:6,9,20,21 joanna
including                        59:7,11,22                    40:9,20 42:15 85:21,25             122.
                                                                                                     .10
  30:4,1434:5,738:2440:20 initial                              86:288.
                                                                     .5,1289:2090:2          joanne
  42:10 44:18 48:6 51:8 54:4     32:18,21 33:146:9 56:3        95:21                              122.
                                                                                                     .25 1
                                                                                                            .2
                                                                                                          23.
  55:6,857:2259:1972:2,6,9 87:11102:6103:13                investments                       job
  73:18,22 75:13,19 76:2       initially                       41:17 42:9,13 51:24 73:18          17.
                                                                                                    .23
  81:6,9 85:10,14 87:1 91:21     34:6 87:7,23             , 73:22 75:13,19 86:6 100:20john
   91:22 92:294:395:1198:8 initiated                            100:21 109:23117:22               2.   .8 8.
                                                                                                   .5 4.
                                                                                                           .11 116.
                                                                                                                  .5
   98:10109:18111:19,22          96:17,20                       118:11119:13                 jordan
   114:25 115:5                input                       investor                        2..
                                                                                             4 4..6 48..11 67.
                                                                                                             .15
incom e                          63:2.74:20                  42:22 44:8,17,18 81:5,20
                                                                                      . j
  25:23                        insistence                               .
                                                              82:8,14 92.   .
                                                                         193.4,9,12 99.7 or69
                                                                                           ge.
                                                                                              .19 83.
                                                                                                     .12,12 122..10,16
incorrectly                      78:2                         106:13 112:1                 125. .8
   23:6                        instagram                      investors                      judge
 increase                        15:13                          23:5,9 38:11,14,17 39:13          27.     .3 124.
                                                                                                    .25 28.
                                                                                                                .4,7,14
   61:20,2362:2 63:14,18       instances                        39:17,23,24 40:2,5,10,11 july
 increased                       52:154:355:4 83:2              40:14,14,
                                                                        23,24 41:11,.14,18        56.
                                                                                                    .8 80.
                                                                                                          .25 91.       .9,15
                                                                                                                 .10 112.
   61:18 71:20                 institutions                     42:1,
                                                                    4,11,14,18,25 43:4,6          114..10 115.
                                                                                                              .      .
                                                                                                               7 119.16
 increases                       76:16                     ' 43:10,22,2544:17,
                                                                             2246:13june
   71:22                       intention                        47:5,8,13,17,19,24 48:4,5         29.
                                                                                                    .16,
                                                                                                            .5,16 92.
                                                                                                       24 30.       .18
 incrim inate                     27:6                          54:1,5 55:980:20 85:17
  '27.1428:4                   intercompany                     86:9,1487:6,16,2088:7,15 JUG
     .                                                                                      :.
                                                                                             /.:5 za..a
 incrim ination                   79:24                         88:18,21,25 89:3,7,
                                                                                  8,12,12
      .
       6 18 28:10,16,25        interest                         89:16,17,20,2190:24 91:8                k
   27.  ,
 incur                            20:2124:2341:20,2343:25       91.
                                                                  .14,16,22,23,24 92:1    kapoor
   52:23 54:8 55:7,7              46:10 53:9,14,19,22 54:10     97:18,20 99:5 106:14        1:7 3:4 4:20 5:2,5,16 6:17
 incurred                         54:22 86:2 87:893:24 94:4     108:24,24 109:7,13,18       7:17,19 11:1113:5,9 14:2
   52:2,5,8,11                    97:23 98:2 99:11 114:25       111:14 112:2 116:24 117:6 15:1723:1826:9,13,14,19
 incurrence                    interests                        117:21 118:4,7,10,19 119:2 27:328:9,12,17 29:8 30:2
   51:18                          102:7 104:8                   119:7                       30:21 31:24 34:3 38:21
 indebtedness                  interject                      invoke                              39:542:844:2,15.2545:7
   51:19 52:2                      13:3 28:20                    13:9,14 26:131:15                45:10 46:12,1548:2,19
 independent                   internal                       involved                            50:19 54:14 55:3 56:3
    113:6,11,15                    73:15                        20:4 62:21                        57:20 59:17 61:12,18,22
 indicate                      internally                     involvement                         63:5 67:7,21,24 68:4 69:17
    8:22                           112:17                        113:2                            70:2,8,24 71:25 72:22 73:6
 indirectly                    interrupting                   irs                                 75:23 76:1177:22 79:5,9
    23:2324:3,10                   44:5                          114:9,24 115:9,12                81:4 85:8,20 90:20 91:19
 individual                    introduce                      issued                              92-
                                                                                                    .16,20 98:6,18 101:2,12
    52:1166:24 117:5               119:7                         29:17,24 30:6                    101:20 102:22 107:21
 individually                   intrpduced                    issues                              108:7 109:11110:5 111:17
    13:6 23:15,16                  47:9                          121:7                            115:3,25 116:21 120:11
 individuals                    invest                        item                                 121:15 122:2 125:18,22
    65:14,24 113:4,9              34:6 86:9 109:7                84:10                          126:5,13,19,20 128:4
 infer                          invested                      item s                          keep
    28:3                          39:13,17 43:447:586:8          90:22                          29:8,11 30:3,14 58:359:6
                                  91:16                                                         59:10,22 96:4

                           (8/22/20239:54AM)Kapoor,Rishi-Vol.1.20230822.
                                                                       460473-M80
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 140 of 148


Ikelly -manager!
kelly                            lend                             IIc(cont-)                       location(cont-)
    129:6                            80:2,6                          37:13,17,2139:7 45:6,9           81:1,6,16,16,19,21 82:4,9
kept                           Iending                               79:19,2580:3,6,10,15,21          82:16,21,25 83:13,14,15
    3222,5                           80:9                            80:23 81:8,10 92:1893:16 84:4,9,17,18,24,24 85:5,10
kind                           Ievel                                 98:22,24 99:8,23 100:4           85:21,22,25 86:1,17,18 .
    60..11                           71:2182:9,10,15,1686:1,7 101:18 104:20 105:4,22                  88:16,22 89:1,4,8,22 90:7,7
king                                 88:13 113:16 116:15             106:1,9,12 108:4 111:18          90:16,2191:3,9,10,17,20
    2:17 5:12                         117:17,23,23,24                112:20 116:17 118:21,23          92:2397:22,2398:7,19
kleyner                         Iiabilities                          118:25 119:2,6,8,22 120:4        99. .2,7,10,17,18,21,25
    3:11,14,18 22: 2323:11           86:2587:4                       120:9 128:3                      100:3,22 105:22 106:2,10
    45:6 46:16,19 53:9,13 54:9 Iiability                          loan                                108:8,15 110:23 111:2,8,14
    54:17,23 55:9,14 70:4,9,13 3:1524:5 92:17 93:5                   50:679:18,24,24 80:15,17         112:3,9,11,15,16,19,20,24
    92:13 93:4 98:3             licensed                             80:21 81:2,9 82:2 104:24         113:5,10,16,  21,24 114:3,  8
knew                                  17:12,15                       104:25 105:14,21106:    2,10 114:14 115:5 116211,17,23
    91:3 107:13,16 108:16       Iicenses                             108:1,3 112:2 116:9              117:11,16,22 118:18,21
    110:10 124:4,12,16 126: 25 17:18,19                           loans                               119:14,17,18,25 120:4
know                            Iife                                 52:2553:3 54:14 55:10            122:4 128:3,7
    8:14,21 9:4 17:22 24:1            19:7,9 55:14                   81:2187:1103:23               Iocation-ventures.
    25:18 38:3,549:152:4,10 Iim ited                              Iocal                               14:16
    53:3 60:24 62:14,17,20,23 3:1524:5 92:17                         18:6,9 78:13                  long
    73:177. .10 80:20 84:291:8 lindenfeld                         Iocated                             11:  20 56:4
    91:13,15 93:1194:7 96:24 109:19 110:7                            4:4 37:24 93:17               Iooked
    97:2 98:19 106:1,4,8         Iine                              Iocation                           63:11 69:297:19
     108:25 118:20 122:12             32:10 76: 20 77125 79:14       1:55:216:5 12:12,13,16,16 looking
     124:9,22 125:3,9                 84:10 90:22                    13:1,13,18,22 14:12,24,25        25:21103:3
 know ledge                      Iinkedin                            17:24 21:2,5,11,19 24:14 los
     66:22 104:12                     15:15                          25:8,13,20,  24 30:22,24          11:19
 kslaw-com                       Iinzer                              31:2,8,12,19,22,2532:19 Iosh
     2:21                             2:16 5:11,24 126: 4,17         32:2333:3,7,11,14,19,21           109:19 110:7
 kum ar                          Iiquidating                         34:1,5,7,9,12,16,19 35:1,3 Iot
     5:2                              49:1351:  23 104:4,10           35:2437:25 38:23,24 39:6         78:798:19
                 I                liquidation                         39:7,10,14,18,21,2540:3,6 Iunch
                 '                    49:10 50:13 104:1               40:11,16,19 41:11,13,17,20 78:6,        23 79:1083:22
 Iack                             Iist                                41:2342:2,4,5,10,15,19,23 Iv
     59:19 112:3                      22:2025:2246:9 94:2 8           42:2543:  4,6,10,16,19,22        3..1137:16 45:662.   .10
                                                             ,
 Iane                                  103:9 122:7 125:7              43:24,25 44:6,7,7,9,10,18 Iv00010010
     35:21,22                     listed                              44:19,20,2145:8,15,20            101:   4
 Iate                                 46:2247:5,8,20,2351:15          46:13 47..9,13,16,20,25       Iv00010800
     70:10                             63:1265' .
                                                 12,18,21,25 66:11 48:4,5,25 49:19,20,24 50:4 3:21 101:16
 lauderdale                    .       66:15,23 70:15 74:394:4        50:8,16,2151:14 52:2,4,8 Ivllc
     93:18                             95:16 96:1497:3 11,17          52:11,13,17,23 53:1,4,7,9        3:14,18 70:4 92:13
                                                        ,
 Iaw                                   102:9 105:11                   53:14,18,2154:11,19,21,25                     m       '
     16:5,11,16,17 17:3,12,15 Iists                                   55: 6,
                                                                           1 1 56: 1,4,
                                                                                      8, 13,16,19
     17:21,23 18:120:17,24                                                                          m ain
     24:25                             46:7 58:6 63:5 103:13          57:12,13,15,22,25 58:9,11        18:11
  laws                                 104:19,21,22,23                58:15,18,22 59:1,6,7,11,14 m aintained
     6:8,11                        Iittle                             59:18,20 60:13,17,21,25          32:1
                                       19:4 50:156:2493:25            61:2,5,22 62:1,15,17,20
  lawsuit                              121:6                          63:1,23 64:3,6,9,13,15,19      ma jority
     23:4,8,10,10                                                                                      51.  .10,1152:14,18 53:a,ja
  law suits                        lived                              64: 25 65: 3,13 66:
                                                                                       .  3,4,
                                                                                             7,12
                                                                                                .      53:17 55:5
     22:18,20 23:12                    11:20                          66:16,19,2567.10,25 68.3 m anagem ent
  leadership                       llc .                              68:.15 69:15,1870: . 19 71:3      16:950:6 82:199.   .18 105:3
                                       1.53:11,17,20 5:22 6:6         71.9,11,16,2372.1,4,773:5
      122:12                            12:13,16,20,23 13:1,13        74:4,8,14,20,2575:5,7,12 m anager                   .2534:14
  led                                                                                                  25:5,14,19,2431.
      19:10                            23:1032:8,12,15,18,22          75:16,2576:13,14,18,21,23 34:17,20,2ja5.          .j44. :7
  left                                 33:5,9,14 34:835:13,17,21 77:4,11,24,25 78:2 79:10               4g:j5,jg 5:. .,
                                                                                                                      j6 51 :g 5z:j,5
                                       36:3 7,11,15,19,23 37:2,9      79:16,18,25 80:2,5,8,14,22 55:24 56:3,4,10 57:2j 58:g
     46:887:15,19 88:4 115:19               ,


                               (8/22/20239:54AM!Kapoor,Rishi-Vol.1.20230822.460473-M80
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 141 of 148


Imanager-noteë
 manager(cont-)                member(cont-)                  miller(cont-)                  motha's
  59:1,6,23 61:10 73:11 81:1 103:23                             126:17,20 127:3               62:2
  81:15 82:4 86:19 91:10      m embers                       million                        mother
  93:8 99:16,21119:16            4:1338:11,14,17 43:19,21 32:2,6 33:6 54:868:24               19:7
managers                         44:2246:4,6,8,12,22,25         69:10 71:1372:6 76:20       muller
  104:17                         47:6,20,21,23,24 48:4 49:8 77:25 79:14,18,24 80:2,6,9 109:19 110.           .7
manager's                        49:15,21,24 50. .9,17,20,22 80.   .15,21 81:9 105:14,21 multiple
  56:1                           53:18,2154:25 56:2,7           106:2,5,10 107: 2,8 114:24    55:14
m arch                           57:16,25 59:7,1163:1        m illions                                         n
  11:14                          64:2565:3 66212,16,20,25 84:6 85:16                        name
mark                             71:12,17,23 73:12 74:1,  22 m ind                            4..6,  11,25 5:1,  3,3,4,9,9
  2:74:12 8:1167:17,22           75:176:1,3,14 80:9,20 81:6 7:12 48:1173:2 119:4               18..17,  2163:5 68.  .4 102. .5
marked                           84:2486:2,4 93:22,24 94:2 minor                               112:20 122.    .7
                                                                                                                        '
  6:21,25 7:14,1829:1845:1 94:8,18,22!24 95:9,20 97:7 21:20                                 named
  45:2,2167:18 70:3,592:9        97:18 102:4,8 103:4,6,7,10 m inute                            22..1  8,2123:6,13 112.    .j()
  92:12 100:24 101:3,14          103:12,15,24 104:6,11          7:2023:2 72:12 115:16       nam es
m arketing                       105:19 111:14 121:25           121:8 126:6                    125:7
   18:1,4,8,11,13 19:1,24 20:6 122:12                        minutes                        near
   20:14 24:1825:1640:8       m em bership                      58:14                          50:12
   50:5 82:289:19 90:196:10 42:5 46:10 102:7 103:14 m issed                                 necessarily
   104:24                     m em ories                        74:9                           21. .18 25: 21
m arkïng                         10:2,12                     m odification                  necessary
   7:12                        m em ory                         60:10                          110.  .2,9,15,19 125.  .21
m arti                           9:25 1.
                                         0:
                                          1 0                m  odi fy                      need
   54:15                       m entioned                       9:13,18                        27:12 120.   .23
materials                        8:25 16:11 19:22 20:6,18 mom                               needed
   40:8,1542:1189:20 90:1        97:13                          19:13                          75:4
m atter                        m erely                       m om ent                       negative
   1:3,166:5,14 125:20 128:3 27:12                              67:12                          125:16
m atters                       m essages                     m oney                         negotiate
   8:6 13:8 15:122:6 51:9        89:4                           25:2 31:18,2132:6,25           45:16 92.   .25 101:  24
   100:1 120:5 128:12          m essaging                       33:18,25 34:543:3,21         neither
m axim um                        41:5                           44:16,20 53:25 63:25 65:8      65:3 105:j.    y
   109:9,12                    m essrs                           65:17,20 69:6,20 71:2 72:4 net
 m ayor                           61:18                          84:388:1,4, 6 91:13,15 92:1 49:9 jcarzs
   118:25 119:6                m ezerhane                        95:16,20 105:23 106:8       networks
 mean                             122:18                         112:1114:19,23 115:9,10        18:7
   15:731:9                    m iam i                       m onies                         njne
 meaning                          1:10,12 2:9,11,19 4:4,6,14 38:18 65:24 66:10,14,18,     22 19.    .18
   39:6                           16:2,4,12 17:536:14,16,18 68:16 70:19,24 81:782:7 nod
 means                            36:20 100:  8,15 111:20        82:12,14 83:23,24 84:16        124:3
   28:2                           112:4 128:7                    87..15 106:12,13            nods
 m edia                       'm icl                          m ontana                        .8.,21
    15:9                          93:8,1198:2                    37:16,17                    non
 m edication                   m id                           m onth                            49:1355:9 104:3,10 107:12
    10:25                         112:9,15                       84:13 85:4                  noncash
 meet                          m iddle                        m onthly                          aarjc
    58:12                         5:3                            68:5 84:11,104:
                                                                             .
                                                                                 22 118:25 nontax
 m eeting                      m iller                        m onths                           114:21
    58:14 121:24 123:7 126:23 2:15 5:11,11,15,18,21,25           49:18 104:22 123:9,10,14 nonverbal
 meetings                         13:3,17,23 26:1,11,20       mortgaging                        8.aj
    58:8,15 88:19                 28:1729:6 31:3,1448:11          51:20                           '
                                                                                             noo n
 m em ber                         67:14 72:14 78:14,20        m otha                            78:6
    25:5,15 28:1143:2446:10 102:12,15 115:17 120:19               61:15,18 65:1766:14 71:7 notes
    51:5,10,11,14 52:14,18         120:23 121:6 122:8 123:8       71:9,17 72:9 122:14 124:14 51..18 129:9
    53:8,12,17 55:5 93:9          123:21124:3 125:5 126:4,6

                             (8/22/20239:54AM)Kapoor,Rishi-Vol.:.20230822.460473-M80
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 142 of 148


Inotice-perfectlyl
notice                        okay(cont-)                       owed                         parties
 ,
   l:17 7:g 54:4,j7 58:4 gt):a 2. g:a g8:.g,a: zgga ac:2j         jj4..ra                      yp.a
   62:9 70:22                    31,
                                   .ja aa..ga4gj: agzs          owned                        partners
notwithstandjng                  44.j: 46:y4y:jc,ra sv.     .a    yg.
                                                                    .r4.                       3:16,20 23:10 31:1335:13
   51:6                          68':
                                    2 73: 1 78:  20 84: 6,15    owner                          a5.17 ae. a 7 jj jsaz.g
   70210 83:10 107:25            94:1J
                                 jjgi jc103:
                                         jra.1.y1sj5:16oo
                                                   joa.  jjarja w---.
                                                                  za.
                                                                    .za. a4.
                                                                           .a'1c               92.J18,24'ga.
                                                                                                          '.,
                                                                                                            jg ,
                                                                                                               j()j:18.
novem   ber
number                                             '--'.-.u     uwuurx                         jcagg
   5:10,14 6:6 14:6 8,9 46:2 once125:$3 126:7 J2.   z:j             'jz
                                                                  a2.                        padnership
                                                                OWnership                      :4.5
   84:1,
       193:21g4.-!3,-16g5;7 onjine
   49:4 51:3 62:6,7 67..15                   '
                                 86:ga87:4g4.jgj.     .g5      . 24:2399:11    p
                                                                                             pa22.
                                                                                               rt;.212a:1a 5gJ1c jjz..j()
   103219 104:15                 aq :
                                    ,jc                                                          11s.a
   14: 11,                    open                              p-m.                                  .
num   bers13 76.
               .4 90:22          14-1:                            7g.
                                                                    .a ,jcg.
                                                                           ..
                                                                            !.
                                                                             ?,:c j,j5.
                                                                                      .
                                                                                      ,a       passed
               o               opening                            121:10,13 126:11 127:10        19:7,15
oath                             6:12 7:2                         127:11                       patriots
                                                                                                 32:8,12,15,18,22 33:1,5,g
    11:8                        operate                       page
                                                                45:6 46: 2,3,5,5 4::3,5, 7       33:14,17, 22 34:7
'
    16:
  obtain7  31:21 32:
                   6  33:17     Operat
                                  56..1ing                      51 :
                                                                   3,5 ,
                                                                       1 5,15, 17,22 55..22    Pat ri
                                                                                                    ot's
    54:14 55:585:4 110:15         3.
                                   *9,1940:2,14 45:8, 21        55:22 58:3,4 60:361:862:6 32:10
  obtained                 ,      48:2552:19 58. .765:43        62:9 63:4-170:8 73:7 92.   .14 PaV
    34:6 52:14,, 18 53:8,J2,17    ?3:5 76:183:585:14 89:1-   1 93:2, 20 94:1,12 95:6 102:2 41:13 55:8 69:19 71.       .: 72.
                                                                                                                           .4
    68:11 110:1,8,14,15,19        89:24,25 92:6 98:14 1:).
                                                         j:.I7 103:16 104:14                     83:1385:15 95:17,20 111:3
                                                                                                  111:10 112:2
    1ai
  obt 12:
        ni4ng                     103:
                                oper at2 .
                                         112.
                                       ion    .1              pages
                                                                1.'
                                                                  8 51:2                       pàyable
    109. .20,21                   73:17 99:23                 Paid                                104:19
  obviously                     operations                      38:15,1843:2164:10,19 gaychecks
    9:23 13:4 21:14               34:16 38:2358:19,23 s9:g 65:14,17,20,24 66:10,14,/8 114:1,5,8,14,20
  occasion                        59:862. .11 119:18,zz 1zn:1 :6:2268:17,20,23 71:4,17 Paying
    89:19                         120:9                         82:8,.13,19,20 83:3,4,24          Z1:12 106:1111:5,11
  occupancy                     opportunities                   84:3,1685:12 86:25 87:4 Payment
    86:24                         39:10 40. .2042:1585:21       87:14 88:592:4 94:22 96:4 54:9,17 71:882:24 83:19
  occurred                     .opportunity                     96:7,10,15,18,21,25 97:a,6 116:9
    55:18 83:.  10                6:177:5 9:1539:6              9?:8,11,14 98:11 104:   21,23 PaVm ents
  october                       option                          ,105:,
                                                                     10,13,17 ' jo6.
                                                                                   .s 4c,z:g2 72:784:23 85:2,5 105:18
     J0:,
     '   10                       96:3,5                        107:24 108:   5 111:24 116.  .7 118:  25
                                                                116:9 1, 18:-j7,48 .
                                                                                   1,
                                                                                    1g..6,.Ic payroll
    21:
  off   21,24
     ense                         6213,14,18,18 54:8,16
                                order                           119:12                            68:3 112:10,11,14,16,21,25
  offer                         orduna                        pallas                              113:25 .114:4,7,9,43,.
                                                                                                                       15
     9:14                         35:14 37:  2438:8,,
                                                    1:.j4 17 24:    25                            115:4,6,8,11
  office                        original               ' ' paper                                penalties
     1:102:9 4:4,5,15             93:13                         29:12                             114:25
  officer                       outside                       parent                            people
   23:19                           13:22 65:24 66:14,48,23        11Z:23 118:21                 4:9 31213 65:12 113:11,20
 o/icers                      68:17 77:18                part                        118:17 119:12 124:1
   4:15 8:1161:10 104..17   outstanding                    17:2 22:14 24:730:12    Percent
 oh                           55:1087..1                   45:1764:10,20 73:4jg2:a5 10:523224 51;13 55:5
   101:5 123:2              overall                        101:24 105:23             56:12,14.17,20 57:2,18,23
 okay                         43:14                      padial                      83:8 86:13,1487:19,23
   5:15,23 6:2,20,
                 24 7:11,23 Overseeing                     54216                     99:11 105:2,3
   8:19;11 10:23 11:7,11.23   58:19 120:1,8              Padially                  Percentage
                                                           53222 106:9               33:2139:1246:10 87:7
    15:9,14,
    12:18,  17,20 17:7,
                      21          35:
          24 13:16,17 14:j' overseen 12,16,20 36:
                                                2,6,10,
                                                      14 Pzdi ctl
                                                                lar                  88:693:2494:4,23 102:7
    18.
      .12 19:4,19,22 20:10..18 36:18,22 37:1,8,12.16 20    86:10,20 87:5             104:7
                             18 oversight          ' '   padicularly               perfectly
    24.
      .2,
    21:8,13 25:4,
         1322: 1,18
                 13,26.
                    17.
                    ,  13,
                      2a..24
                          g-,     58:23 59220              ?9:12 93:9                10:4


                              (8/22/20239:54AM)Kapoor,Rishi-Vol.1.20230822.460473-M80
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 143 of 148


Ipedormed -providingl
perform ed                  pose                         prior(cont-)                   projects
  100:3                       117:21                       126:17,21                      35:3,5,7,9,24 37:5 38:25,25
periodic                    positive                     érivately                        39:240:2044:1050:5
  96:21                       124:3                         24:4,1125:6,15                53:14 54:4,4 55:7 58:20,24
periods                     potentlal                    privilege                        59:1564:9,15,19 75:13,20
  74:11                       114:25                        27:5,12,18,25 28:20,25         81:8,23 82:15 83:4 85:13
perm anent                  potentially                     121:7                         85. .22 86:6,18 88:2,11,16
  105:1                       18:20                      pro                               88:19,2289:1,4,8,9,13,16
perm its                    powerpoint                      86:3 89:15,25 90:1,6,8,17      89:2190:7,24 91:4,9,17,21
  110:2,9,15,19 112:3         40:9                          90:23 91:3,25 104:6,22         91:22 92:2,598:8,10,14,20
perm itted                  pow ers                         108:7,14,16,23,25 116:22       98:22 99: 23 100:4,7,11,20
                              55:24 58:23                   117:4                          100:22 106:14 107:22
person                        practiie                   problem                           108:15,17 110:24 111:3,10
   23:1441:1,10 47:17 82:23      17:12,15                   109:21                         111:19,22,25 116:12 117:5
   88:19 90:496:17,20         predevelopm ent            procedural                        118:20 119:3,6,8,14 120: 9
personàl                         37:6                       8:6                         prom ote
   5:16 14:19 15:1,5,8        prem aturely               procedures                        87:25
                                 85:12 92:4 98:12 111:24    8:8                         proofreader's
èersonally                                               proceeding                        128:1
   22:25 23:1,3,6 52:25 71:4  prepl anning
   81:8 85:16 107:21             100:18                     4:16 22:2,11,14             properly
pertains                      present                    proceedings                       123:24
   i3:16                         8:12                       6:3(128:13 129:8            propedies
phase                         presentations              proceeds                          12:1,5,25
   36:19 37:12,16 100:8,18       40:9,10                    49:10 103: 25               property
   111:20,20                  presented                  process                           35:12,16, 20 36:2,6,10,14
phone                            39:17 42:1167:4            13:529:14 62:17                36:18,22 37:1,12,2538:3,5
   5:13 14:8,9 41:7           presenting                 produce                           38:12 93:17 95:24, 2596:3
piece                            109:17                      18:8                          105:2
   93:17                      pretty                     produced                       proposed
pinos                            16:19,25 124:21            29:14 30:7,1667:9              118:6,9
    11:19                     pr event                   producing                      prosecution
place                            11:2                       29:15                          27:9
    1:9 73:3 123:7            previous                    professional                  prospective
placed                           9:13,18                     17:18,19                      39: 2440:10,13,24 41:11,14
   53:6 54:3                  previously                  professionals                    89:7,12,16,21 108:  24
plan                             6:257:2131:445:169:2        18:10                         109:13,18 116:24 117:6
    50:13                        70:3 101:11              profile                           119:2,7
 planning                     price                          15:15                      provide
    37:6,10,14,18,22 39:1         109:9,13 129:6          profit                           6:2 11:13 19: 4 25:2233:24
 plans                        prim arily                     94:23                         39:23 40:2,5,846:15,18,21
    50:23                        92:20101:20              profitability                     50:16 58:1860:12,17,21
 play                          principal                     91:5 108:18                   73:1276:12,15,19,24 89:11
    118:3                        38:15,19 87:8,10 94:22   profitable                        89:15,19 94:17 112:11
 please                           106:4                      38:8 64:13,16 90:25         provided
    4:18,25 5:8 8:14,24 17:22 principally                 profits                           6:13 7:3 34:8 42:14 44:17
    46:2 67:1793:21 102:3         45:10                      39:21 88:12                    61:19 67:23 70:9,1374:4
    104:15 120:24              principals                  project                        74:2275:2576:377:17
 pledging                         46:1187:688:5              23:5 37:8,16,20,24 38:8,10 79:16 81:10 87:5 89:7 90:3
    51:19                      principles                    38:15,18 60:871:3 73:18       91:23,25 105:22 106:13
 plus                             76:25                      73:22 82:1,9,15 83:8 86:7,9   113:10
    87:794:22,23               prior                         86:10,12,20,23,23,25  87:2  pr
                                                                                          ovi der
 point                            6:12 7:2 8:
                                            25 21:5 34:20    87:5 88:13 90:2 92:3 94:18    115:8
    15:7 48:12 67:16 87:1         45:23 60:6 66:869:4 74:25 94:2595:13,17,22 96:8,11 provides
 ponce                            77:1980:2583:3,9,22 91:9 97:20,25 105:5 107:4 109:6 68:5 102:5
    36:2,3 83:897:20,24 98:9      112:14,23 113:24 114:3,10 109:8,18 110:2,9,19 116:15 providing
    107:3                         114:11,17 115:7 121:19     117:17,23,24                  73:2574:1076:1190:24

                          (8/22/20239:54AM)Kapoor,Rishi-Vol.1.20230822.460473-M80
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 144 of 148


Eproviding -representing)
 providing (cont-)        quite                                 record (cont-)                   relating
  112:14                           18:9                         72:15,19,2178:22 79:2              23:8
provision                                     r                 98:23 102:14,16,19 115:20 relatively
  51:7                                                           115:22 1.    21:10,12 126:7,10 78:13
provisions                  raise .      .                       127:9 129:9                    release
  6:8 49:11 104:2              4.18 41.14                   recorded                                106:20 107:17,18
public                      raised  .      .        .            116:10,15 128:12               released
  73:23 75:9,14,20 76:7        43.3,7 44.16,20 91.13,16 records                                     106:21107:1
                            rata           .
                                           y,zz                 29:  9,   11 30:4,14 33:15      r elied
publ
  23i cly                       86. .a jc4.
                                          .
     :19,25                                                      84:19 116:10,16                    62:23 74:16
purchase                    rata.e%....                      recourse                           rem aining
  53:1854:11,22                 k5U,1Z                           104:25                             81:2 86:15
purpose                     ray .                            redeem ed                          rem em ber
   30:24 44:845:13              126.22                           43:24                              10:9 16:18,25 17:323:17
purposes                    reach.          .                redlands                               121:25 122:6 124:7,20
  4:16 107:14 114:21            48.12 127.8                      37:12,13                       rem itted
pursuant                    reached                          refer                                  114:9,15 115:9,12
   1:17 7:2554:10 83:4 95:3     47:12                            12:16,22 35:6,13,17,21         rem oval
pursue                      read                                 36:3,7,11,15,19,23 37:2,9          34:20 81:191:10
   19:10                         7:5 67:12                       37:13,17,2155:23 73:9          rem oved
put                         ready                                77:198:24 104:16                   119:16
   62:12,14,18,24 87:7,23        72:19                       reference                          repay
   123:13                   real .                               51:23                              106:9
putting                          18.9 19:10,23,25 20:4,7,8 references                           repaym ent
   62:2190:8,13                  20:12,16,19,2135:3,5            55:25                              103:22
                                 38:24,25 58: 22 59:15 85:22 referred                           repeat
              q                  g3:17                            12:19 87:1188:9 113:17            8:24 24:726:1630:11
quarter                     reason                           referring                              82:11 120:     22,23
  73:14 74:2,14,17               9:3 11:4 19:12                   12:10,20 32:5                 rephrase
quarterly                   reasonable                       reflect                                56:2480:1391:14
  74:21                          49:16                            63:18                          report
question                     reasons                         refreshes                              73:15 129:7
  8:4,12,13,15,17,18,24 10:1 52:7,7                               10:16                          reporter
  10:3,11,19,23 13:24,24     recall                          refuse                                 8:7,19 9.  .1,4 67:22 92:11
  20:5 24:8 25:4,2027:10,16 10:9 18:23,24,24 23:12                27. .12, 23                       108.  .9 129. .6
  27:2428:18,2329:130:12 79:15,23 84:11 122:9 123:6 refused                                      reporter.s
  31:3 44:5 50:2 52:16           124:19                           107:17                             129. .1
   120:20,22                 receipts                         regarding                          reporting
questioned                       107:7                            60:9 116:22 120:12 17              1:24 73:10
   10:17                     receive                              121:221 123:19 ,               repods
                                                                           ,
questions                        42:1,5 61:13,15 63:25        regional                              34. .22 75. .25 76..3,4,6
   7:88:13 9:15,2111:12          69:13                            1..10 2:   6,94:4,12,14        represent
   13:10,13,15,18,21 14:2    received                         regis                                  5:19,21 13:6 26:8 51:12
   21:9,18 27:15,19 28:4,10      7:2163:22 69:6 106:16            112:11,14,23 113:24 114:3 67:3 97:16 109.          ' .25
                                                                                                                  .
   30:3,13,22 31:15 34:4         125:9 126:  24                   114:10 11,17 115.    .7        r epr  esent  at i on
                                                                             ,
   38:22 42:9 44:16 45:19    recitals                         regular                                110:10
   48:3 49:2 50:20 55:456:24 93:2                                 58.  .12                       representations
   57:21 59:1872:175:24      recognize                        regularly                              42. .12 50. .2191..24
   81:583:23 85:9 91:20 98:7 67:24                                124:12                         representative
   98:21111:18 115:4 116:5 recollection                       regulation                             28:14
   117:21,118:1,4,7,10,16         10:10,16                         16, .23   1 .
                                                                              7.
                                                                               2                  repr  esented
   125:15,19 126:5,19        recollections                     relate                                5..5 39:13 67.  .10 106:22
 quick                            10:2,20                          13. .25                           110:6
   44:5                       record                           related                            representing
 quickly                          4:2 5:16:12,24 7:2 8:20,25 73:16 90.         .
                                                                               22 107..9 114.
                                                                                            .21      5..12,16
   61:8                           9:2,3,5,7,8 12:15 22:19          119
                                  26:4,18,2329:4 48:14,16                :14 120:5

                              (8/22/20239:54AM1Kapoor,Rishi-Vol.1.20230822.460473-M80
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 145 of 148


(repurchase-social)
 repurchase                    return                     salary(cont.)                 series
   53:8,13                      39:1373:4                    68:18,21,25 69:3,10,21       8:12
repurchased                  revenue                         71:14 72:3,6               service
   53:23                        81:17,20 85:10 105:3       sale                           82:2
request                          114:16                      38:12                      services
   29:16,23 30:5             revenues                      sales                          1:24 112:11,15
required                         91:5 108:18                 106:17,25 107:11           session
   60:7 75:25 76:12,15,19,23 review                        saw                            11:9
   79:13                         6:18 7:6,20 45:16 67:12     69:3                       set
requirem ents                    74:24 92:25 101:24        says                           30:2539:12 51:9 69:14
   73:10                     review ed                       28:18 46:3,6 49:5,14,17      74:9 76:1 77:23 93:1094:9
residential                      77:18                       51:6 62:10 68:373:10,19      99:4 100:21
   11:17,24 12:1             review ing                      93:3,7 104:5               setting
resources                        10:15                     schedule                       69:20
   112:20                    revised                         39:1646:4,6,2547:6,8,21 seven
 respect                         75:4                         47:24 94:17,20 97:19 102:4 57:2
   13:8,12,21 25:1947:4       right                           103:3                     shake
   51:2553:6 64:3,6 73:25        4:10,18 13:10,2121:16     school                          125:16
   74:10 82:18 85:2 90:6 91:5 23:17 26:15,19,25 28:10,24 15:18,20 16:6,11,16 17:21 sheet
   95:1596:23 103:2 108:17       29:8 46:9 63:6 68:6 116:4    17:23 18:120:17,24 24:25 73:16
    113:4,9 116:7 117:3,4,22     127:5                        25:2                      show
    117:24 118:11             rights                       scope                          27:1770:18101:15
 respective                      13:14 14:326:1028:14         13:22                     show ed
    24:16 25:11,14 66:24 72:8 30:10,1934:10 39:3 42:16 screen                             29:18
  82:14 83:485:14 86:687:6       44:2345:24 48:8 50:25       118:6,9                    shoWing
   88:5 92:694:4 98:14 104:7 55:12,2458:159:24 72:10 sec                                     44:2570: 2
   111:3,9 112:1 116:11          76:981:13 85:18 92:7          4:156:217:14 13:7 28:1 shows
   117:16 118:20                 98:16 112:6 115:13            45:267:18 70:5 92:9           70:23,23
respond                       rise
                                 hi                            100:24                     sic
   69:17,23 77:22 109:11         1:73:4 4: 205:2 7:19 56:3 second                            122:2
   110:5 126:1                   61:12 63:568:4 70:24          3:921:1345.  .748:24 70:22 sign
responding                       128:4                         93:3 102:10,14 104:4          46:16 107:17
   117:25 118:3               rkapoor                        section                      signed
response                         14:16                         103:23 104:3                  106:20 107:18
   8:22                       role                           securities                   significantly
responses                        25:1957:2159:6,18,23          1:1,9 2:3,8 4:5,7 6:4,8       68:12 84:12
   8:21118:6,10                  90:13 118:3 119:18,21         16:23 17:122:2,6 23:24     sim ilar
responsible                      120:8                       seeing                          25:4 68:11 100:21
   29:2345:1090:8 92:20       rom ny                           64:23                      sim ilarly
   101:20 112:24                 122:2                       seek                            12:22
 responsive                   rom y                            41:18,20,23                sim plicity
   10:3,11,19 29:16,23 30:5,8 122:3                          select                          35:7
   30:15,18                   ross                              122:5                     sim ply
 rest                            2:16 5:11 121:8             self                            35:6 77:1
    113:20                    roughly                          27:5,18 28:10,15,25        sir
 restart                         11:22                       senior                          5:7 6:19 7:10 11:25 12:21
    1O1:12                                   s                 2:4,5,7 4:7,9,13 71:21         15:25 16:13 20:25 25:10
 restate                                                        113:16 126:23                34:1139:4 42:1748:9 51:1
   20:5                        sake.                         sense                            59:25 72:2085:19 92:8
 restated                        35.7                           98:25                         112:7 115:14
                               salaries ,js 66. .:4 y,î.z.
                                                         j sent                            sit
    3:9,15,19 45:8 48:24 92:17 61.  .y7 6s.
    101:17                          . ..                        74:25                         17:8
 restating                       72.9 85.3                   sentence                      sm all
    119:4                      salar.
                                    y               . .           .19 104.
                                                                73.       .4                  67..12
                                 61.13,16,20,23  62.
                                              :a 6s. 2 63.8
                                                    .g,j8,zy separate    '                 social
 resume
    78:21                        63..
                                    .,j8,r,
                                          !64.
                                             .
                                                .               99:14,17                      15:9
                                  66.11,15,19 68.2,5,6,9,13
                           (8/22/20239:54AM)Kapoor,Ri
                           ,                        shi-Vol.1.20230822.460473-M80
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 146 of 148


(sold -termsl
sold                (          sponsor's                        stewart                         super(cont-)
  37:2538:3,6 39:2 97:24         87:25                            36:22,23 37:1,2                 53:1755:5
sole                           staff                            stopped                         supplem ental
  52:22 60:5                     4:139:122:228:1148:20             100:14                         6:14,18 7:1,4
solicit                           72:2479:6102:23 116:1         stradigys                       sure
  41:11,14 47:1T                  121:16 126:14                    18:21,23                       10:5 16:1920:628:17
solicited                      staffing                         strike                            48:13 115:17 118:9 121:9
  48:5 88:15 91:21                24:24 25:1,17                    80:13 84:21 118:
                                                                                  23              124:21
soliciting                     stage                            structure                       susceptible
   109:7,22 118:19 119:1,13       13:1137:6,6,22                   43:15                          50:8
somebody                       stages                           structured                      sw ear
   122:11                         37:10,14,18 39:2                 34:13,17 38:2342:10            4:17
som ew hat                     stam p                           suarez                          sw itch
   67:12                          46:2 49:4 51:3 62:7 65:12        118:25 119:7                   67: 21
sorry                        70:473:793:2194:1,13               subject                         sworn
     / 19:13,20 21:15 23:2. 95:7 102:3 103:19
  8:3,
     .                                                             103:22                          4:22
  26:16 30:1144:5 89:25    stamped                              subjects                                       t
   101*
      :5 108:9 111:6 113:8     45:592:13 101:3,16 104:15 13:25                              taken
   118:8 120:13 124:11      stam ps                         subm itted                          48. .1  5 51.8 72..1778.  .
                                                                                                                          24
sort                           67:8                            77:5,12,20,24 79:13 118:10 83.       .24 102:
                                                                                                                       .
                                                                                                               18 115.21
  20:321:9 62:5 93:24 94:21 standard                        subpoena                            121:11 126:9
sources                        4:3 10:23                       3:8 7:18,24 29:17, 24 30:6,9 talk
   25:23 31:2132:25 63:25 start                                30:16,18 126:  25                124:12
   81:16,20 85:9 106:8         18: 12 21: 11 31:2,7,
                                                   9,1 1,18 subpoenaed                      t alked
south                          31:2234:8 108:11                124:10,23,25 125:3               25:17 122:1 126.      .23

   5:13                     started                         subpoenas                       talking
spalding                       17:24, 25 18:1,9 21:2 24:24 125:9                                19:17 79:9 88.     .7
   2:17 5:12                   34:460:25 106:1112:10 subsection                             tajks
spe                         starting                           51:18, 2560:2,4, 4 94:19,19 55:23 104:3
   37:21                       17: 23 33:2 5                subsect   ions                  tasked
speak                       state                              51:22 60: 4 94:16                 117.   .25
   8:5                         4:25 5:9 6:10 17:8,10,13,16 subsequent                        taxes
speaking                       22:6,10 27:1249:12 115:   9     17:7 67: 4                        113:25 114:4,7,9,13,15
   86:22 98:19                 1 15:12  129:3               subsi  diar i
                                                                        es                       jj5.    4
specific                    st ated                            24: 16 25: 11 ,
                                                                             14 50:4 53:7    t          '
                                                                                               co
   10:4,19 50:7 88:1195:12     65:1598:23                      73:22 75:12,19 81:22 83:15 86.        .24 87:  5
specifically                statem ent                      subsidiary                       team
   98:8,21 111:19              125:23                          51:24 60:9 86:19                  121:25
specify                     st atem  ents                    subst ance                      t elephone
   12:10                       9: 16 73:17, 21 74:3,5,11,13    11 :1 14:24                       5 .
                                                                                                   .10 14.
                                                                                                            .6,8,ja aa:2z
spell                          74: 17, 21,24 75:4,8,11,18    subst ant ially                 t ejj
   4:25                        75:24 76. .2,6,13,15,19,24 . 51:21                                9..3,  11,17 10:1 12.  .721.
                                                                                                                            .10
split                          77:4,11,13,17,23 79:11,11 substantive                             39..9 42:18 55:17 80:17
   87:1588:7 98:2.             79:12,16 81:10 126:1            9:6 48:1972:23 79:5               88:11 109:20
spoke                       st ates                             102:22  115: 25 121:15       t elling
   83:22                        1:14:56:449:856:i,10            126:13                           55:ja
 spoken                         60:561:12,14,17 63:6 68:  2 suite                             tem porary
    120:11,14,16 121:1,5,20    68:6 103:21                      1:112:10,18 113:18               86.  .24

    123:18                   stat us                         summar    i
                                                                       z ed                   tenur     e
 sponsor                        55:1 0                          9:8 105: 9                       44   .
                                                                                                      .7

   43:1586:8,13,1887:16,20 stenographic                      sum m ary                        term
    87-
      .23,24 88:193:4 97:23     129:9                           3:13 70:8,14                     51.   .12
    104:20 105:4 108:4       stenographically                sunbiz                           term ed
 sponsors                       129:7                           31:10                            yg.àa
    88:8 94:24               step                            super                            t '
                                                                                               erm s
                                31:1184:1102:12                 51:10,11 52:14,18 53:x
                                                                                       8,12      39:9 80:17

                              (8/22/20239:54AM)Kapoor,Rishi-Vol.1.20230822.460473-M80
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 147 of 148


Itestified -ventures!
testified                        timing                            true(cont-
                                                                            )                       university
    4:22 22:1,5,8,10 60:24           82:18,24                        119:5,10,12 128:11 129:9         16:2,4,12 17:5
     124:10, 23,25 125:10        title                           trust                              urbin
testify                              63:4 68:4 106:17 107:1,19 22:24 54:16                            3:20 12:12,19,20,22,23
     125:20                      titled '                        truthful                             13:2,19,22 14:13,24 21:19
testifying                           51:558:5 61:9 93:22 94:15 27:16                                  23:5,9 24:14 25:9,13,25
     11:2 124:16                     95:8 104:16                 truthfully -                         36:10,11,14,15,18,     20 37:8
testim ony                       today                               11:2                             37:9 38:25 54:4,7,15 55:8,9
     4:10 6:16 8:10 9:12,14,20       5:6,177:258:9,12 9:20       try                                  79:19,2580:3,6,9,15,21,22
     10:18 11:5,8 27..4,8 128:13 11:2,595:25 123:20 124:5 8:15                                        81:7,9 98:22,24,2499:1,4,7
text                                 124:13,17 125:23 126:2 trying                                     99:11,13,17,23 100:1,4,4,7
     41:589:4                        127:7                           15:2 19:20 22:22 123:23           100:7,8,9,14,15,17,    20
thank                            top               .,            tuesday                               101:18,23 102:8 103:2,7,10
     44:12 57:867:16 118:13          62:1087:1088:6 93:25            1:13 127:10 128:6                 104:20 105:4,    4,10,13,17,22
     123:15 127:6                    94:23                       turn                                  105:23 106:1,9,12,14,16
 therishikapoor                  total                               30:2246:    5 49:3 51:261:8       107:9,12,  22,24 108:4,16
     14:22                           44:20 53:384:2,6 96:24          62:573:6 94:1195:698:18 109:6,8,17 110:1,T,13,18
 things                              97:2 114:23                     98:20 102:2 1U3:18 104:14 110:23 111:3,9,14,18,19,             20
     9:21 13:1128:8 126:20       totaled                          type                                 111:20 112:4,4 116:11,17
 think                       '       85:16                           41:1750:7 92:2                    117:17,24,24 118:19,21,22
     8:6 13:23 14:14 15:2,15,16 totaling                          types                                118:24 119:2,6,7,22 120:5
      16:14 17:20 19:2321:7          83:9                            85:1O98:10 111:22                 120:9
     22:12,16,22 23:3,6 25:3      track                           typically                         use
     28:17 31:14 78:1197:13          43:6                            74:990:3                          15:531:1844:6 106:12
   '98:23 101:5 115:18 116:5 tracked                                                 u              utilize
      122:10 123:23 124:5,6          43:10                                                             14:13
                                                                  u.%.
      125:24                      traffic                            4:7 76:7,25 77:1,6,13 78:1                       v
 thinking                             21:20                          79:12 81.   .11                valencia
      124:5                       transaction                     ulis                                 35. .17, 18
 third                                3:13 70:23,2471:7              22..2323:
                                                                                         .        .
                                                                                  1146.16,19 53.9 variety
      47:12 112:10 115:8          transactions                       53:1454:9,17,za 55..jc            j,:6 ja:6
 threatened                           70:9,15,17                     98.. 3                         var  ious
      s5:14                       transcript                      ultim ate                            50..3 81.za88:j5ggra
  threats                             128:11129:8                     116. .21 117:  3,10,15           116:6 118:20
      55:18                       transcription                    ujjjm ately                       venture
  three                               128:12                          19..8                            35. .24 53:18
      49:17 100:7 105:1 111:22 transfers                           unaw are                          ventures
  tim e                               81:7                            125:12                            1:5 5: 226..6 12. .12,13,16,17
      4:39:11,16,18,23 13:15 transition                            undergra<                            ja..j,$a,jg,22 j4:j2,24,2s
      14:4 17:25 18:5 19:16,19        20:19                           16..
                                                                           5,8                          17..24 21:3,6,11,19 24:14
      19:23 20:2,10 21:1725:24 transitioned                        undersigned                         25:8,13,20,24 30.    .za,24.
      34:13,17, 22 35:143:15          21: 2                           128:10                            31..2,8,12,19,22 32.  .1,19,23
      49:19 52:5 54:21 67:2        traum atic                      understand                           33:3,7,11,14,19,21 34:1,5,7
       74:11 78:10,15,25 80:22        19:12                           8:13,14,17,    9:9 10:6,13,21     34:9,13,16,20 35:1,438:1
      81:15 83:3 84:25 103:15 treated                                 11:7 21:14 27:21 28:5             38:23,24 39:6,7,10,14,18
       105:16 107:11108:23             113:6,11,14,21              understanding                        39..21,2540:3,6,11,16,19
       109:6,22,25 110:6,13 113:8 trial                               27. .11
                                                                                                        4j. .jj,ja,ja,2o,za 4:.  .2,5,6
       114:20 115:7 120:13            25:1                         undedook                             42..10,15,19,2a,2543:4,6
       125:19 127:6                true                               62..18                            43:jc,j6,j:,    22,:4,25 44:6
  tim eline                            31:2440:13,18 52:13,17 united                                    44. .7,g,,
                                                                                                                 1cj,ja,jgjzcjzj4s.   .
                                                                                                                                      g
       91:6 108:18                     58:11 59:5,10 68:23 69:9       1.
                                                                       .
                                                                        14.  .5 6..4 32..8,12,15,18     45:16,20 46:13 47.    .10,14,j6
   tim ely                             71:20 74:8 75:7,11,16 76.
                                                               .5 32.     .22 33:  1,5,9,14,17,22       47. .20,2548.  .4,6,zs <s:g()
       74:4 76:3                       76:18 81:11,19,2583:12         34:7                              49:20,24 50:4,8,16,21
  times                                85:20 90:20 91:299:13,22 units                                   51:14 52.  .2,4,8,11,13,j. i,za
       49:1555:6,14 85:13 90:21 99:25 100:6 106:20 107:6              42. .5 46.
                                                                                .10 102.  .7 103:14     53.  .j,
                                                                                                               4,7,jc,j5,zj54:jj,jg
       92:4 98:12 111:24               110:18 111:1,7 118:22,24                                         54:21,25 55:7,11 56:2,5,8

                                (8/22/20239:54AM)Kapoor,Rishi-Vol.1.
                                                                   20230822.
                                                                           460473-M80
Case 1:23-cv-24903-JB Document 6-5 Entered on FLSD Docket 12/27/2023 Page 148 of 148


Nentures-youngl
ventures(cont)                   voted                             woodforest
  56:13,16,19 57:12,13,16,22 56:7                                       76:20,21,23 77:5,12,18,20
  57:25 58:9,11,15,18, 22     votes                                     77:2479:13,17 81:10
  59:1,6,8,11,15,19,20 60:13 51:14                                   w ords
  60:17,21,25 61:2,6,22 62:1                        w                   27:14 87:25
  62:15,18,20 63:1,23 64:4,6                                         work
  64:9,13,15,19,25 65:3,13 W ages     . .                               18:9 100:4,14 113.    .10
  66:3,4,7,12,16,20,25 67:10 68.3 84.10,18                           worked
  67:2568:3,1569:15,18        w ant .                                   18:6 20:16 100:1 113:5,9
                                 7,20 9:       2 21:826:22 56:24
  70:1971:3,9,11,'i6,2372:1 60:1102:13120.               .22 121:  7 wor  kers
   72:4,7 73:574:4,8,14, 21,25 123.                 .                   111:4
                                          ,23 1  24.11
   75:5,7,12,16,25 76:13,14                                          working
   76:18,21,24 77:5,11,24,25 w ant.    ed              .                113:20 119:25 120:4,5
                                  19.9,16,22 20.19 50:2 68:8
   78:2 79:10,16,18, 25 80:2,5 70                .      .            w orld
   80:8,15,22 81:1,6,16,17,19         :14 73.4 101.15                   20:4,12
   81:2182:5,9,16,21,25       want19i  .ng                           w ritten
   83:13,14,1584:4,9,17,18           t.s10                              60:6 61:2,5
                              W an
   84:24,24 85:6,10,22,23         26.  .20
                                                                     wr ong
   86:1,17,1988:16,22 89:1,4           rfajj                            101:6,8,11
                              wate
   89:8, 22 90:7,7,17,2191:3,9 88.     .9                               .              y
   91:11,17,20 92:24 97:23 ways                                      yeah
   98:7,20 99:2,7,10,17,18,22 94:21                                     8..3 15:3 18:3,16 24.   .155.
                                                                                                    .19
   100:1,3,22 105:22 106:2,10 webex                                     78..14 82.  .12 122..19 123:14
   101:8,15 110:23 111:3,9,14 2..74:10                                   123:22,24 124:15,18 125.     .8
   112:3,9,12,15,16,19,20,24 w ebsites                               year
   113:5,10,16,21,24 114:3,8      40:18                                  15:17,19 16:3 18.   .12,22
   114:14 115:5 116:11,17,23 went                                       21. . 10  25:1   .
                                                                                       60.16, 20 61:1
   117:11,16,22 118:18,  21       16.   . 1 1  18:19  48:23  105: 23     62.. 1 1 63:8 64:1 1,20 65:10
   119:14,17,19,25 120:4       We.Ve                                    6. y.
                                                                            .5 6a. .a 6g:a,4,jj,z4
   122:4 128:3                    98.   .19                              73. .13,14 74:2,6,14,18
verbally                       w hatsoever                           years
   8:23                           10..11                                 11:22 19.  .18 57:12,17,22
Verify                         w ho11y                                   61:$,4,24 62:a 66:3,8 67.   .4
   90:17                          53:22                                  69:15 71:14 72:2,3 83:16
versions                       w ife                                     83:25 114:9,16,
    45:23                         23.   .11 1   20..17 121. .2,20     yep
Versus                             123:19,22                             102.  .15 121..24 122:15,21
    85:22 86:993:13            w inding                                  122:23 123:3 127:2
vi                                49.    .10 104:   1                 young                              '
    51:22                      winmar                                    19:1.1
videoconference                    110:22 111..      2,4,5,8,10,11
    79:1                       w ish
Alillll                            27.   .11,  17 125. .20,22,25
    35:17,18                       126:5,18
violation                      wishes
    21:20                          93:8
violations                     w ithheld
    6:7,10                         29:2130:7,17
virsocom                       w itness
     18:18,22                      1:7 2.          .3 4:17,21 5.
                                              .14 3.
                                                                 .12
 vivian                            10:24 13..16 26:2,16,24
    65:2066:18 120:7 122210        31.    .4, 16 102:10 120.   .24
     122:18 125:8                   122.    .9 1
                                                    .
                                                 23.9,22 124:2,  4 .
 voluntarily                        126.    .22 1 27:2 128:4
    27: 20                     w ondering
                                    123:13
                                (8/22/20239:54AM)Kapoor,Rishi-Vol.1.20230822.460473-M80
